              18-22552-rdd                  Doc 24             Filed 05/30/18 Entered 05/30/18 16:13:44                                                   Main Document
                                                                             Pg 1 of 383
 Fill in this information to identify your case:

 Debtor 1                   Michael P. D'Alessio
                            First Name                           Middle Name                          Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  SOUTHERN DISTRICT OF NEW YORK

 Case number           18-22552
 (if known)                                                                                                                                                       Check if this is an
                                                                                                                                                                  amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                 Your assets
                                                                                                                                                                 Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $                      0.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $              23,350.00

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $              23,350.00

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                 Your liabilities
                                                                                                                                                                 Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                    $          1,265,857.73

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                          $                7,200.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                            $       163,733,051.02


                                                                                                                                     Your total liabilities $          165,006,108.75


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................             $                      0.00

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $              10,926.00

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
             No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

           Yes
 7.     What kind of debt do you have?

                Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

            Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
            the court with your other schedules.
 Official Form 106Sum           Summary of Your Assets and Liabilities and Certain Statistical Information                        page 1 of 2
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           18-22552-rdd                 Doc 24            Filed 05/30/18 Entered 05/30/18 16:13:44                         Main Document
                                                                        Pg 2 of 383
 Debtor 1      Michael P. D'Alessio                                                       Case number (if known) 18-22552

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                              $             0.00


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                   $              7,200.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $                  0.00

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $                  0.00

       9d. Student loans. (Copy line 6f.)                                                                 $                  0.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $                  0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$                  0.00


       9g. Total. Add lines 9a through 9f.                                                           $                 7,200.00




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                   page 2 of 2
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                                                                        Pg 3 of 383
 Fill in this information to identify your case and this filing:

 Debtor 1                   Michael P. D'Alessio
                            First Name                      Middle Name                     Last Name

 Debtor 2
 (Spouse, if filing)        First Name                      Middle Name                     Last Name


 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number           18-22552                                                                                                                       Check if this is an
                                                                                                                                                      amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                          12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.
        Yes. Where is the property?

 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes


4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

        No
        Yes



 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>                  $0.00


 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                               Current value of the
                                                                                                                                                 portion you own?
                                                                                                                                                 Do not deduct secured
                                                                                                                                                 claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     No
         Yes. Describe.....

                                         Furniture, linens and kitchenware                                                                                  $12,500.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
      No
       Yes. Describe.....
Official Form 106A/B                                                      Schedule A/B: Property                                                                    page 1
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 Debtor 1       Michael P. D'Alessio                                                                Case number (if known)     18-22552


                                    4 TV's, 2 computers,2 printer and 1 cell phone                                                               $3,800.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
        No
        Yes. Describe.....

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
     No
        Yes. Describe.....

                                    Golf clubs and tennis racquet                                                                                  $600.00


10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
      No
        Yes. Describe.....

                                    Kahr - 40 Caliber - model D40
                                    Seecamp - 32 Caliber - model LWC
                                    Glock 9mm - model 19
                                    Ruger - 22 Caliber - model 182
                                    SW - 357 Caliber - model 340PD
                                    Seecamp - 32 Caliber - model LWS                                                                             Unknown


11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
        Yes. Describe.....

                                    Everyday clothes, suits and shoes                                                                              $500.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
      No
        Yes. Describe.....

                                    3 watches - Stainless Steel Blancpain, Stainless Steel Cartier,
                                    Stainless Steel Rolex                                                                                        Unknown


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
        No
        Yes. Describe.....

14. Any other personal and household items you did not already list, including any health aids you did not list
        No
        Yes. Give specific information.....


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                     $17,400.00


 Part 4: Describe Your Financial Assets
Do you own or have any legal or equitable interest in any of the following?                                                        Current value of the
Official Form 106A/B                                   Schedule A/B: Property                                                                        page 2
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 Debtor 1          Michael P. D'Alessio                                                                                       Case number (if known)   18-22552
                                                                                                                                                         portion you own?
                                                                                                                                                         Do not deduct secured
                                                                                                                                                         claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
        No
        Yes................................................................................................................

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
               institutions. If you have multiple accounts with the same institution, list each.
        No
        Yes........................                                                               Institution name:

18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
        No
        Yes..................                           Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
      No
        Yes. Give specific information about them...................
                                   Name of entity:                                                                             % of ownership:

                                                  See attached.                                                                                  %                           $0.00


20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
        No
        Yes. Give specific information about them
                                    Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
        No
        Yes. List each account separately.
                                Type of account:                                                  Institution name:

22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
      No
      Yes. .....................                              Institution name or individual:


                                                                                                  Townhouse Company II LLC                                             $5,950.00


23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
        No
        Yes.............              Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
        No
        Yes.............              Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
        No
        Yes. Give specific information about them...



Official Form 106A/B                                                                       Schedule A/B: Property                                                            page 3
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 Debtor 1        Michael P. D'Alessio                                                                                            Case number (if known)        18-22552
26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
        No
        Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
        No
        Yes. Give specific information about them...

 Money or property owed to you?                                                                                                                                  Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.

28. Tax refunds owed to you
        No
        Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
        No
        Yes. Give specific information......


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
        No
        Yes. Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
        No
        Yes. Name the insurance company of each policy and list its value.
                                 Company name:                                                                        Beneficiary:                                Surrender or refund
                                                                                                                                                                  value:

32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
        No
        Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
        No
        Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
        No
        Yes. Describe each claim.........

35. Any financial assets you did not already list
        No
        Yes. Give specific information..


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................              $5,950.00


 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.



Official Form 106A/B                                                           Schedule A/B: Property                                                                                page 4
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 Debtor 1         Michael P. D'Alessio                                                                                                  Case number (if known)     18-22552
37. Do you own or have any legal or equitable interest in any business-related property?
       No. Go to Part 6.
       Yes. Go to line 38.



 Part 6:    Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
            If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
           No. Go to Part 7.
           Yes. Go to line 47.


 Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
        No
        Yes. Give specific information.........


 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                           $0.00

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................                           $0.00
 56. Part 2: Total vehicles, line 5                                                                                $0.00
 57. Part 3: Total personal and household items, line 15                                                      $17,400.00
 58. Part 4: Total financial assets, line 36                                                                   $5,950.00
 59. Part 5: Total business-related property, line 45                                                              $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                     $0.00
 61. Part 7: Total other property not listed, line 54                                             +                $0.00

 62. Total personal property. Add lines 56 through 61...                                                      $23,350.00              Copy personal property total               $23,350.00

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                             $23,350.00




Official Form 106A/B                                                               Schedule A/B: Property                                                                                page 5
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Michael P. D'Alessio
Attachment to Schedule A/B: Property
Part 4 No. 19

                             List of Corp & LLC

               Name of Entity                                       % of Ownership                     Approx.Value
161 - 167 East 62nd Street Holding LLC                                      100.00%                                0.00
163 - 165 East 62nd Street Holding LLC                                       50.59%                                0.00
167 East 62nd Street Associates LLC                                         100.00%                                0.00
184 East 64th Street Holding LLC                                              1.50%                                0.00
225 East 81 Street Associates, LLC                                          100.00%                                0.00
227 E 67PH LLC                                                              100.00%                                0.00
2299 W Silver Palm Holding, LLC                                             100.00%                                0.00
230 E 63rd Associates LLC                                                    25.00%                                0.00
2627 Webster Ave Holdings LLC                                               100.00%                                0.00
2667 N Ocean Boulevard I201 LLC                                             100.00%                                0.00
2667 N Ocean Boulevard I203 LLC                                             100.00%                                0.00
2667 N Ocean Boulevard I208 LLC                                             100.00%                                0.00
2701 N Ocean Boulevard E605 LLC                                             100.00%                                0.00
2707 N Ocean Boulevard D405 LLC                                              16.70%                                0.00
3100 Tremont Associates Inc                                                 100.00%                                0.00
3219 Tremont Corp.                                                          100.00%                                0.00
3225 East Tremont Holding, LLC                                              100.00%                                0.00
327 West 4th Street Associates, LLC                                         100.00%                                0.00
327 West 4th Street Holding, LLC                                            100.00%                                0.00
3800 Tremont Assocaites LLC                                                 100.00%                                0.00
39 Middle Pond Road Holding, LLC                                            100.00%                          600,000.00
39-43 Middle Pond Road Associates, LLC                                      100.00%                                0.00
39-43 Middle Pond Road Holding, LLC                                         100.00%                                0.00
41-43 Middle Pond Road Holding LLC                                          100.00%                                0.00
41-45 MPR Holding LLC                                                        97.20%                                0.00
43 Middle Pond Road Holding LLC                                              89.00%                                0.00
4300 Purchase Associates LLC                                                100.00%                                0.00
554 E 82nd Associates LLC                                                    50.00%                                0.00
5D Freestyle Circle Associates LLC                                          100.00%                                0.00
69 Little Neck Road Holding LLC                                             100.00%                                0.00
69 Little Neck Road LLC                                                     100.00%                                0.00
A & G Realty Consultants, LLC                                               100.00%                                0.00
Beechwood 5 Associates LLC                                                  100.00%                                0.00
Bella Condo 830 LLC                                                         100.00%                                0.00
Blue Lilly 4 LLC                                                            100.00%                                0.00
Blue Maize 44 LLC                                                           100.00%                                0.00
Bluestone 145 E 62 LLC                                                      100.00%                                0.00
Bluestone 145-147 LLC                                                       100.00%                                0.00
Bluestone 161 -167 LLC                                                      100.00%                                0.00

   R:\Company Data\Clients 18\Michael Paul D'Alessio\Schedules\Attachment_Schedule A-B Property Part 4 No. 19- List of Corp LLC REV 5-14-18.xlsx
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Bluestone 163 - 165 LLC                                   95.34%                                                         0.00
Bluestone 184 LLC                                         50.00%                                                         0.00
Bluestone 28 Middle Pond , LLC                           100.00%                                                         0.00
Bluestone 3225, LLC                                      100.00%                                                         0.00
Bluestone 327, LLC                                       100.00%                                                         0.00
Bluestone 41-45 LLC                                      100.00%                                                         0.00
Bluestone 53, LLC                                         50.00%                                                         0.00
Bluestone 54 LLC                                         100.00%                                                         0.00
Bluestone 59 LLC                                         100.00%                                                         0.00
Bluestone 67 LLC                                          98.50%                                                         0.00
Bluestone Boca, LLC                                      100.00%                                                         0.00
Bluestone Capital LLC                                    100.00%                                                         0.00
Bluestone Equity Partners LLC                            100.00%                                                         0.00
Bluestone Little Neck LLC                                100.00%                                                         0.00
Bluestone LRF LLC                                        100.00%                                                         0.00
Bluestone Sandpiper LLC                                  100.00%                                                         0.00
Bruckner East LLC                                        100.00%                                                         0.00
Bruckner Transport LLC                                   100.00%                                                         0.00
CMF Associates LLC                                       100.00%                                                         0.00
D'Alessio Enterprises LLC                                100.00%                                                         0.00
FCP 145 Holding LLC                                      100.00%                                                         0.00
Halsey South Asociates, LLC                               50.00%                                                         0.00
Katsura Consulting Group LLC                             100.00%                                                         0.00
Little Rest Farm LLC                                     100.00%                                                         0.00
LRF Holding, LLC                                         100.00%                                                         0.00
LRF Services LLC                                         100.00%                                                         0.00
Michael Paul Enterprises, LLC                            100.00%                                                         0.00
Office Suites NYC, LLC                                   100.00%                                                         0.00
RDR Park Drive LLC                                       100.00%                                                         0.00
RMD Racing Stable LLC                                    100.00%                                                         0.00
Rose Hill Holding,, LLC                                   50.00%                                                         0.00
Saturn Equity Partners LLC                               100.00%                                                         0.00
Ski Ya Later Inc                                         100.00%                                                    15,000.00
Sky Meadow Farm LLC                                      100.00%                                                         0.00
The Water Mill Club, LLC                                 100.00%                                                         0.00




   R:\Company Data\Clients 18\Michael Paul D'Alessio\Schedules\Attachment_Schedule A-B Property Part 4 No. 19- List of Corp LLC REV 5-14-18.xlsx
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                                                                       Pg 10 of 383
 Fill in this information to identify your case:

 Debtor 1                 Michael P. D'Alessio
                          First Name                        Middle Name                 Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name                 Last Name


 United States Bankruptcy Court for the:              SOUTHERN DISTRICT OF NEW YORK

 Case number           18-22552
 (if known)                                                                                                                               Check if this is an
                                                                                                                                          amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                    4/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

           You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

           You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

      Furniture, linens and kitchenware                              $12,500.00                                $12,500.00      11 U.S.C. § 522(d)(3)
      Line from Schedule A/B: 6.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      4 TV's, 2 computers,2 printer and 1                             $3,800.00                                  $2,375.00     11 U.S.C. § 522(d)(6)
      cell phone
      Line from Schedule A/B: 7.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

      Golf clubs and tennis racquet                                       $600.00                                  $600.00     11 U.S.C. § 522(d)(5)
      Line from Schedule A/B: 9.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      Everyday clothes, suits and shoes                                   $500.00                                  $125.00     11 U.S.C. § 522(d)(3)
      Line from Schedule A/B: 11.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      Everyday clothes, suits and shoes                                   $500.00                                  $375.00     11 U.S.C. § 522(d)(5)
      Line from Schedule A/B: 11.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                      page 1 of 2
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 Debtor 1    Michael P. D'Alessio                                                                        Case number (if known)     18-22552
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     3 watches - Stainless Steel                                      Unknown                                    $1,600.00        11 U.S.C. § 522(d)(4)
     Blancpain, Stainless Steel Cartier,
     Stainless Steel Rolex                                                                 100% of fair market value, up to
     Line from Schedule A/B: 12.1                                                          any applicable statutory limit

     Townhouse Company II LLC                                         $5,950.00                                  $5,950.00        11 U.S.C. § 522(d)(5)
     Line from Schedule A/B: 22.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $160,375?
    (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
            No
            Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                   No
                   Yes




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 2 of 2
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                                                                        Pg 12 of 383
 Fill in this information to identify your case:

 Debtor 1                   Michael P. D'Alessio
                            First Name                      Middle Name                      Last Name

 Debtor 2
 (Spouse if, filing)        First Name                      Middle Name                      Last Name


 United States Bankruptcy Court for the:              SOUTHERN DISTRICT OF NEW YORK

 Case number           18-22552
 (if known)                                                                                                                                              Check if this is an
                                                                                                                                                         amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                              Column A                Column B                    Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As     Amount of claim         Value of collateral         Unsecured
 much as possible, list the claims in alphabetical order according to the creditor’s name.                    Do not deduct the       that supports this          portion
                                                                                                              value of collateral.    claim                       If any
                                                                                                                                                                   $1,265,857.7
 2.1     Throgs Neck Debt LLC                                                                                 $1,265,857.73                          $0.00
                                                  Describe the property that secures the claim:                                                                               3
         Creditor's Name                          Stock certificates for 3100 Tremont
                                                  Associates & 3219 Tremont Corp.
         c/o Bluestone Group
                                                  As of the date you file, the claim is: Check all that
         225 Broadway, 32nd Fl.                   apply.
         New York, NY 10007                           Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
     Debtor 2 only                                     car loan)

       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
       Check if this claim relates to a               Other (including a right to offset)
       community debt

 Date debt was incurred                                    Last 4 digits of account number



   Add the dollar value of your entries in Column A on this page. Write that number here:                              $1,265,857.73
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                             $1,265,857.73

 Part 2:       List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.

          Name, Number, Street, City, State & Zip Code                                             On which line in Part 1 did you enter the creditor?   2.1
          Kriss & Feuerstein LLP
          360 Lexington Avenue                                                                     Last 4 digits of account number
          Suite 1200
          New York, NY 10017




Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                             page 1 of 1
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 Fill in this information to identify your case:

 Debtor 1                     Michael P. D'Alessio
                              First Name                    Middle Name                        Last Name

 Debtor 2
 (Spouse if, filing)          First Name                    Middle Name                        Last Name


 United States Bankruptcy Court for the:                SOUTHERN DISTRICT OF NEW YORK

 Case number           18-22552
 (if known)                                                                                                                                               Check if this is an
                                                                                                                                                          amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                     12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?
           No. Go to Part 2.

           Yes.
 2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
       identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
       possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
       Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                        Total claim          Priority               Nonpriority
                                                                                                                                             amount                 amount
 2.1          Carolyn D'Alessio                                      Last 4 digits of account number                          $7,200.00             $7,200.00                    $0.00
              Priority Creditor's Name
              21 D'Alessio Court                                     When was the debt incurred?           03/20/2001
              Scarsdale, NY 10583
              Number Street City State ZIp Code                      As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
              Debtor 1 only                                             Unliquidated
              Debtor 2 only                                             Disputed
              Debtor 1 and Debtor 2 only                             Type of PRIORITY unsecured claim:

              At least one of the debtors and another                   Domestic support obligations

              Check if this claim is for a community debt               Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
              No                                                        Other. Specify
              Yes

 Part 2:        List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

           No. You have nothing to report in this part. Submit this form to the court with your other schedules.

           Yes.

 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
       Part 2.
                                                                                                                                                              Total claim




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                               Page 1 of 228
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 Debtor 1 Michael P. D'Alessio                                                                            Case number (if know)         18-22552

 4.1      1516 Realty Group LLC                                      Last 4 digits of account number                                                      $93,000.00
          Nonpriority Creditor's Name
          97-77 Queens Blvd., TWR 3                                  When was the debt incurred?           05/09/2015
          Rego Park, NY 11374
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 184 East 64th Street Holding
              Yes                                                       Other. Specify   LLC


 4.2      1516 Realty Group LLC                                      Last 4 digits of account number                                                     $150,000.00
          Nonpriority Creditor's Name
          97-77 Queens Blvd., TWR 3                                  When was the debt incurred?           5/9/2015
          Rego Park, NY 11374
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC


 4.3      323 E 53rd Street Lender LLC                               Last 4 digits of account number       0058                                         $6,500,000.00
          Nonpriority Creditor's Name
          c/o Maverick RE Partners LLC                               When was the debt incurred?
          370 Lexington Ave Suite 1812
          New York, NY 10017
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 323 East 53rd Associates LLC




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 2 of 228
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 Debtor 1 Michael P. D'Alessio                                                                            Case number (if know)         18-22552

 4.4      Adam Cohen                                                 Last 4 digits of account number                                                     $186,000.00
          Nonpriority Creditor's Name
          48 Everett Road                                            When was the debt incurred?           4/30/2015
          Demarest, NJ 07627
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 184 East 64th Street Holding
              Yes                                                       Other. Specify   LLC


 4.5      Adam Cohen                                                 Last 4 digits of account number                                                     $134,000.00
          Nonpriority Creditor's Name
          48 Everett Road                                            When was the debt incurred?           10/28/2014
          Demarest, NJ 07627
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 227 E 67th Street Holding LLC


 4.6      Adam Fields                                                Last 4 digits of account number                                                     $100,000.00
          Nonpriority Creditor's Name
          9769 Apricot Lane                                          When was the debt incurred?           7/30/2015
          Beverly Hills, CA 90210
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 3 of 228
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 Debtor 1 Michael P. D'Alessio                                                                            Case number (if know)         18-22552

 4.7      Adam Fields                                                Last 4 digits of account number                                                      $93,000.00
          Nonpriority Creditor's Name
          9769 Apricot Lane                                          When was the debt incurred?           5/2/2015
          Beverly Hills, CA 90210
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 184 East 64th Street Holding
              Yes                                                       Other. Specify   LLC


 4.8      Adam Fields                                                Last 4 digits of account number                                                      $67,000.00
          Nonpriority Creditor's Name
          9769 Apricot Lane                                          When was the debt incurred?           10/29/2014
          Beverly Hills, CA 90210
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 227 E 67th Street Holding LLC


 4.9      Adam Fields                                                Last 4 digits of account number                                                     $105,600.00
          Nonpriority Creditor's Name
          9769 Apricot Lane                                          When was the debt incurred?           3/5/2015
          Beverly Hills, CA 90210
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 323 East 53rd Holding LLC




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 4 of 228
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 4.1
 0        Adam Leitman Bailey PC                                     Last 4 digits of account number       3002                                           $60,446.42
          Nonpriority Creditor's Name
          One Battery Park                                           When was the debt incurred?           9/1/2017
          New York, NY 10271
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Legal fees


 4.1
 1        Adam Leitman Bailey PC                                     Last 4 digits of account number       3003                                           $52,199.31
          Nonpriority Creditor's Name
          One Battery Park                                           When was the debt incurred?           7/1/2017
          New York, NY 10271
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Legal fees


 4.1
 2        Adam Leitman Bailey PC                                     Last 4 digits of account number       3004                                               $760.00
          Nonpriority Creditor's Name
          One Battery Park                                           When was the debt incurred?           7/1/2017
          New York, NY 10271
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Legal fees




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 5 of 228
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 Debtor 1 Michael P. D'Alessio                                                                            Case number (if know)         18-22552

 4.1
 3        Adam Leitman Bailey PC                                     Last 4 digits of account number       3005                                             $6,216.00
          Nonpriority Creditor's Name
          One Battery Park                                           When was the debt incurred?           7/1/2017
          New York, NY 10271
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Legal fees


 4.1
 4        AirSeal Insulation Systems                                 Last 4 digits of account number                                                        $9,900.00
          Nonpriority Creditor's Name
          1961 Utica Ave                                             When was the debt incurred?           2/21/2017
          Brooklyn, NY 11234
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Trade debt - Michael Paul Enterprises LLC
              Yes                                                       Other. Specify   323 East 53rd Associates LLC


 4.1
 5        AirSeal Insulation Systems                                 Last 4 digits of account number                                                      $19,100.00
          Nonpriority Creditor's Name
          1961 Utica Ave                                             When was the debt incurred?           2/21/2017
          Brooklyn, NY 11234
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Trade debt - Michael Paul Enterprises LLC
              Yes                                                       Other. Specify   323 East 53rd Associates LLC




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 6 of 228
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 Debtor 1 Michael P. D'Alessio                                                                            Case number (if know)         18-22552

 4.1      Alan Snider, Trustee of the Alan
 6        Snider                                                     Last 4 digits of account number                                                      $67,000.00
          Nonpriority Creditor's Name
          800 Central Park Ave                                       When was the debt incurred?           10/27/2014
          Suite 201
          Scarsdale, NY 10583
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 227 E 67th Street Holding LLC


 4.1      All Star Security & Communications
 7        Inc                                                        Last 4 digits of account number                                                      $14,233.09
          Nonpriority Creditor's Name
          P.O. Box 494                                               When was the debt incurred?           3/23/2017
          Fishkill, NY 12524
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Trade debt - Michael Paul Enterprises LLC
              Yes                                                       Other. Specify   & 323 East 53rd Associates LLC


 4.1      All Star Security & Communications
 8        Inc                                                        Last 4 digits of account number                                                        $6,213.91
          Nonpriority Creditor's Name
          P.O. Box 494                                               When was the debt incurred?           3/23/2017
          Fishkill, NY 12524
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Trade debt - Michael Paul Enterprises LLC




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 Debtor 1 Michael P. D'Alessio                                                                            Case number (if know)         18-22552

 4.1
 9        Allan Miller                                               Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          12 North Lane Drive                                        When was the debt incurred?           11/30/2016
          Armonk, NY 10504
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 43 Middle Pond Road Holding
              Yes                                                       Other. Specify   LLC


 4.2
 0        Allan Miller                                               Last 4 digits of account number                                                     $100,000.00
          Nonpriority Creditor's Name
          12 North Lane Drive                                        When was the debt incurred?           6/27/2016
          Armonk, NY 10504
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd St Holding
              Yes                                                       Other. Specify   LLC


 4.2
 1        Allan Miller                                               Last 4 digits of account number                                                      $67,000.00
          Nonpriority Creditor's Name
          12 North Lane Drive                                        When was the debt incurred?           11/4/2014
          Armonk, NY 10504
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 227 E 67th Street Holding LLC




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 Debtor 1 Michael P. D'Alessio                                                                            Case number (if know)         18-22552

 4.2
 2        Allan Miller                                               Last 4 digits of account number                                                     $100,000.00
          Nonpriority Creditor's Name
          12 North Lane Drive                                        When was the debt incurred?           8/22/2017
          Armonk, NY 10504
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 2800 Bruckner Holding LLC


 4.2
 3        Allstate Sprinkler Corp                                    Last 4 digits of account number                                                      $32,000.00
          Nonpriority Creditor's Name
          1869 White Plains Road                                     When was the debt incurred?           7/27/2016
          Bronx, NY 10462-1489
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Trade debt - Michael Paul Enterprises LLC
              Yes                                                       Other. Specify   & 323 East 53rd Associates LLC


 4.2
 4        Allstate Sprinkler Corp                                    Last 4 digits of account number                                                        $2,500.00
          Nonpriority Creditor's Name
          1869 White Plains Road                                     When was the debt incurred?           10/2/2017
          Bronx, NY 10462-1489
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Trade debt - Michael Paul Enterprises LLC
              Yes                                                       Other. Specify   & 163-165 East 62nd Street Associates LLC




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 4.2
 5        Ally                                                       Last 4 digits of account number                                                      $11,996.41
          Nonpriority Creditor's Name
          PO Box 9001948                                             When was the debt incurred?           6/29/2015
          Louisville, KY 40290
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Auto Lease t - Michael Paul Enterprises
              Yes                                                       Other. Specify   LLC


 4.2
 6        Alyse Lefton                                               Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          181 East 73rd Street                                       When was the debt incurred?           12/23/2016
          Apt 4A New York, NY 10021
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 43 Middle Pond Road Holding
              Yes                                                       Other. Specify   LLC


 4.2
 7        Alyse Lefton                                               Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          181 East 73rd Street                                       When was the debt incurred?           7/7/2016
          Apt 4A New York, NY 10021
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 3 Sandpiper Court Holding LLC




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 4.2
 8        Alyse Lefton                                               Last 4 digits of account number                                                      $93,000.00
          Nonpriority Creditor's Name
          181 East 73rd Street                                       When was the debt incurred?           4/30/2015
          Apt 4A New York, NY 10021
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 184 East 64th Street Holding
              Yes                                                       Other. Specify   LLC


 4.2
 9        Alyse Lefton                                               Last 4 digits of account number                                                      $33,500.00
          Nonpriority Creditor's Name
          181 East 73rd Street                                       When was the debt incurred?           11/4/2014
          Apt 4A New York, NY 10021
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 227 E 67th Street Holding LLC


 4.3
 0        Alyse Lefton                                               Last 4 digits of account number                                                      $52,800.00
          Nonpriority Creditor's Name
          181 East 73rd Street                                       When was the debt incurred?           3/12/2015
          Apt 4A New York, NY 10021
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 323 East 53rd Holding LLC




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 4.3
 1        American Express                                           Last 4 digits of account number       1005                                             $8,351.52
          Nonpriority Creditor's Name
          PO Box 981535                                              When was the debt incurred?
          El Paso, TX 79998
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit card purchases


 4.3
 2        American Express                                           Last 4 digits of account number       1002                                             $1,000.00
          Nonpriority Creditor's Name
          PO Box 981535                                              When was the debt incurred?
          El Paso, TX 79998
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit card purchases


 4.3
 3        American Express                                           Last 4 digits of account number       1000                                             $5,000.00
          Nonpriority Creditor's Name
          PO Box 981535                                              When was the debt incurred?
          El Paso, TX 79998
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit card purchases




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 4.3
 4        American Express                                           Last 4 digits of account number       1004                                             $3,100.00
          Nonpriority Creditor's Name
          PO Box 981535                                              When was the debt incurred?
          El Paso, TX 79998
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit card purchases


 4.3
 5        Andres Bogebjerg                                           Last 4 digits of account number                                                      $32,257.00
          Nonpriority Creditor's Name
          Group Palmera                                              When was the debt incurred?
          Plaza Shopping Bavaro #225
          Bavaro
          Dominican Republic
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.3
 6        Andrew West                                                Last 4 digits of account number                                                     $200,000.00
          Nonpriority Creditor's Name
          33 Gateway Drive                                           When was the debt incurred?           8/8/2016
          Great Neck, NY 11021
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd St Holding
              Yes                                                       Other. Specify   LLC




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 4.3
 7        Angelo Spray Foam Corp                                     Last 4 digits of account number                                                      $10,000.00
          Nonpriority Creditor's Name
          21 Sherman Avenue Suite 4L                                 When was the debt incurred?           12/12/2017
          New York, NY 10040
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Trade debt - Michael Paul Enterprises LLC
              Yes                                                       Other. Specify   17 Circle Rd - MBI LLC


 4.3
 8        Anita Gupta                                                Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          2123 Williamsbridge Road                                   When was the debt incurred?           6/29/2016
          Bronx, NY 10461
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 3 Sandpiper Court Holding LLC


 4.3
 9        Anita Gupta                                                Last 4 digits of account number                                                     $150,000.00
          Nonpriority Creditor's Name
          2123 Williamsbridge Road                                   When was the debt incurred?           7/31/2015
          Bronx, NY 10461
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC




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 4.4
 0        Anita Gupta                                                Last 4 digits of account number                                                      $93,000.00
          Nonpriority Creditor's Name
          2123 Williamsbridge Road                                   When was the debt incurred?           5/5/2015
          Bronx, NY 10461
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 184 East 64th Street Holding
              Yes                                                       Other. Specify   LLC


 4.4
 1        Anita Gupta                                                Last 4 digits of account number                                                      $67,000.00
          Nonpriority Creditor's Name
          2123 Williamsbridge Road                                   When was the debt incurred?           10/30/2014
          Bronx, NY 10461
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 227 E 67th Street Holding LLC


 4.4
 2        Anthony Bastone                                            Last 4 digits of account number                                                     $200,000.00
          Nonpriority Creditor's Name
          1913 Bronxdale Ave                                         When was the debt incurred?           11/4/2015
          Bronx, NY 10462
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC




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 4.4
 3        Anthony Sr Bonomo                                          Last 4 digits of account number                                                     $450,000.00
          Nonpriority Creditor's Name
          10 Walter Lane                                             When was the debt incurred?           8/6/2015
          Manhasset, NY 11030
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Stret Holding
              Yes                                                       Other. Specify   LLC


 4.4
 4        Anthony Sr Bonomo                                          Last 4 digits of account number                                                     $279,000.00
          Nonpriority Creditor's Name
          10 Walter Lane                                             When was the debt incurred?           5/4/2015
          Manhasset, NY 11030
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 184 East 64th Street Holding
              Yes                                                       Other. Specify   LLC


 4.4
 5        Anthony, Jr. Bonomo                                        Last 4 digits of account number                                                     $100,000.00
          Nonpriority Creditor's Name
          10 Walter Lane                                             When was the debt incurred?           8/6/2015
          Manhasset, NY 11030
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC




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 4.4
 6        Anthony, Jr. Bonomo                                        Last 4 digits of account number                                                      $93,000.00
          Nonpriority Creditor's Name
          10 Walter Lane                                             When was the debt incurred?           5/4/2015
          Manhasset, NY 11030
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 184 East 64th Street Holding
              Yes                                                       Other. Specify   LLC


 4.4
 7        Antonia Polcini                                            Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          10 Green Place                                             When was the debt incurred?           4/12/2017
          New Rochelle, NY 10801
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 15-17 Circle Holding LLC


 4.4
 8        Antonio Zaino                                              Last 4 digits of account number                                                     $100,000.00
          Nonpriority Creditor's Name
          7 South Ridge Road                                         When was the debt incurred?           5/16/2016
          Brookfield, CT 06804
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC




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 4.4
 9        Arlene Blatt                                               Last 4 digits of account number                                                      $93,000.00
          Nonpriority Creditor's Name
          25 Sutton Place South                                      When was the debt incurred?           4/30/2015
          Apt 3N New York, NY 10022
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 184 East 64th Street Holding
              Yes                                                       Other. Specify   LLC


 4.5
 0        Arnold Waldman                                             Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          581 Leheigh Lane                                           When was the debt incurred?           7/12/2016
          Woodmere, NY 11598
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC


 4.5
 1        Arnold Waldman                                             Last 4 digits of account number                                                      $93,000.00
          Nonpriority Creditor's Name
          581 Leheigh Lane                                           When was the debt incurred?           5/7/2015
          Woodmere, NY 11598
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 184 East 64th Street Holding
              Yes                                                       Other. Specify   LLC




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 4.5
 2        Arnold Waldman                                             Last 4 digits of account number                                                      $67,000.00
          Nonpriority Creditor's Name
          581 Leheigh Lane                                           When was the debt incurred?           10/29/2014
          Woodmere, NY 11598
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 227 E 67th Street Holding LLC


 4.5
 3        Attis Properties Inc                                       Last 4 digits of account number                                                     $200,000.00
          Nonpriority Creditor's Name
          Attn: Michael Kohn                                         When was the debt incurred?           7/18/2016
          500 Mamaroneck Ave
          Suite 320
          Harrison, NY 10528
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC


 4.5
 4        Attis Properties Inc                                       Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          Attn: Michael Koh                                          When was the debt incurred?           10/13/2016
          500 Mamaroneck Ave
          Suite 320
          Harrison, NY 10528
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 3 Sandpiper Court Holding LLC




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 4.5
 5        Attis Properties Inc                                       Last 4 digits of account number                                                     $100,000.00
          Nonpriority Creditor's Name
          Attn: Michael Koh                                          When was the debt incurred?           10/13/2016
          500 Mamaroneck Ave
          Suite 320
          Harrison, NY 10528
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 145-147 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC


 4.5
 6        Attis Properties Inc                                       Last 4 digits of account number                                                     $250,000.00
          Nonpriority Creditor's Name
          Attn: Michael Koh                                          When was the debt incurred?           3/8/2017
          500 Mamaroneck Ave
          Suite 320
          Harrison, NY 10528
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - Purchase Capital Partners LLC


 4.5
 7        Attis Properties Inc                                       Last 4 digits of account number                                                     $250,000.00
          Nonpriority Creditor's Name
          Attn: Michael Koh                                          When was the debt incurred?           4/4/2017
          500 Mamaroneck Ave
          Suite 320
          Harrison, NY 10528
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 15-17 Circle Holding LLC


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 4.5
 8        Attis Properties Inc                                       Last 4 digits of account number                                                     $150,000.00
          Nonpriority Creditor's Name
          Attn: Michael Koh                                          When was the debt incurred?           6/21/2017
          500 Mamaroneck Ave
          Suite 320
          Harrison, NY 10528
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - Bluestone 163-165 LLC


 4.5
 9        Attis Properties Inc                                       Last 4 digits of account number                                                     $200,000.00
          Nonpriority Creditor's Name
          Attn: Michael Koh                                          When was the debt incurred?           9/5/2017
          500 Mamaroneck Ave
          Suite 320
          Harrison, NY 10528
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 2800 Bruckner Holding LLC


 4.6
 0        Attis Properties Inc                                       Last 4 digits of account number                                                      $67,000.00
          Nonpriority Creditor's Name
          Attn: Michael Koh                                          When was the debt incurred?           9/5/2017
          500 Mamaroneck Ave
          Suite 320
          Harrison, NY 10528
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 227 E 67th Street Holding LLC



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 4.6
 1        Attis Ventures LLC                                         Last 4 digits of account number                                                     $200,000.00
          Nonpriority Creditor's Name
          Attn: Michael Koh                                          When was the debt incurred?           9/15/2017
          500 Mamaroneck Ave
          Suite 320
          Harrison, NY 10528
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 41-45 MPR Holding LLC


 4.6
 2        B.A.T. Man LLC                                             Last 4 digits of account number                                                     $300,000.00
          Nonpriority Creditor's Name
          1 Edgewater Street                                         When was the debt incurred?           8/11/2017
          Suite 704 Staten Island, NY 10305
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 2800 Bruckner Holding LLC


 4.6
 3        B.E. Kopaskie                                              Last 4 digits of account number                                                     $200,000.00
          Nonpriority Creditor's Name
          20290 Lorencita Drive                                      When was the debt incurred?           8/24/2017
          Covina, CA 91724
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 2800 Bruckner Holding LLC




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 4.6
 4        Bank of America                                            Last 4 digits of account number       5968                                          $195,000.00
          Nonpriority Creditor's Name
          PO Box 982234                                              When was the debt incurred?
          El Paso, TX 79998
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit card purchases and cash advances


 4.6
 5        Bank of America                                            Last 4 digits of account number       9236                                           $16,066.73
          Nonpriority Creditor's Name
          PO Box 982238                                              When was the debt incurred?
          El Paso, TX 79998
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit card purchases and cash advances


 4.6
 6        Bank of America                                            Last 4 digits of account number       2929                                           $19,066.38
          Nonpriority Creditor's Name
          PO Box 982238                                              When was the debt incurred?
          El Paso, TX 79998
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit card purchases and cash advances




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 4.6
 7        Bank of America                                            Last 4 digits of account number       3190                                           $42,230.51
          Nonpriority Creditor's Name
          PO Box 982238                                              When was the debt incurred?
          El Paso, TX 79998
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit card purchases and cash advances


 4.6
 8        Bank of America                                            Last 4 digits of account number       6849                                                 $27.09
          Nonpriority Creditor's Name
          PO Box 982238                                              When was the debt incurred?
          El Paso, TX 79998
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit card purchases and cash advances


 4.6
 9        Bank of America                                            Last 4 digits of account number       4839                                           $26,288.85
          Nonpriority Creditor's Name
          PO Box 982238                                              When was the debt incurred?
          El Paso, TX 79998
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Credit card purchases and cash advances -
              Yes                                                       Other. Specify   Michael Paul Enterprises




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 4.7
 0        Bank of America                                            Last 4 digits of account number       2066                                             $4,915.06
          Nonpriority Creditor's Name
          PO Box 982234                                              When was the debt incurred?
          El Paso, TX 79998
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit card purchases and cash advances


 4.7      Barbara J. Fiederlein Trust for
 1        David, D                                                   Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          56 Majestic Ridge                                          When was the debt incurred?           7/31/2015
          Carmel, NY 10512
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC


 4.7      Barbara J. Fiederlein Trust for
 2        David, D                                                   Last 4 digits of account number                                                      $93,000.00
          Nonpriority Creditor's Name
          56 Majestic Ridge                                          When was the debt incurred?           5/5/2015
          Carmel, NY 10512
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 184 East 64th Street Holding
              Yes                                                       Other. Specify   LLC




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 4.7      Barbara J. Fiederlein Trust for
 3        David, D                                                   Last 4 digits of account number                                                      $52,800.00
          Nonpriority Creditor's Name
          56 Majestic Ridge                                          When was the debt incurred?           2/26/2015
          Carmel, NY 10512
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 323 East 53rd Holding LLC


 4.7
 4        Barbara Vega                                               Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          61-27 70th Street                                          When was the debt incurred?           1/19/2017
          Floor 2 Middle Village, NY 11379
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty- 43 Middle Pond Road Holding
              Yes                                                       Other. Specify   LLC


 4.7
 5        Barry Blitstein                                            Last 4 digits of account number                                                     $100,000.00
          Nonpriority Creditor's Name
          55 Ocean Ave #6B                                           When was the debt incurred?           4/7/2017
          Monmouth Beach, NJ 07750
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 15-17 Circle Holding LLC




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 4.7
 6        Barry Blitstein                                            Last 4 digits of account number                                                     $100,000.00
          Nonpriority Creditor's Name
          55 Ocean Ave #6B                                           When was the debt incurred?           7/31/2015
          Monmouth Beach, NJ 07750
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC


 4.7
 7        Barry Drucker                                              Last 4 digits of account number                                                     $100,000.00
          Nonpriority Creditor's Name
          20 Long Ledge Dr                                           When was the debt incurred?           6/25/2016
          Rye Brook, NY 10573
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC


 4.7
 8        Barry Ipp                                                  Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          27 West Rock Trail                                         When was the debt incurred?           8/7/2015
          Stamford, CT 06902
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC




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 4.7
 9        Barry Ipp                                                  Last 4 digits of account number                                                     $100,000.00
          Nonpriority Creditor's Name
          27 West Rock Trail                                         When was the debt incurred?           3/16/2017
          Stamford, CT 06902
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - Purchase Capital Partners LLC


 4.8
 0        Beverly Griffith                                           Last 4 digits of account number                                                      $33,500.00
          Nonpriority Creditor's Name
          16 Crystal Lake Drive                                      When was the debt incurred?           10/27/2014
          Weston, CT 06883
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 227 E 67th Street Holding LLC


 4.8
 1        Beverly Griffith                                           Last 4 digits of account number                                                      $52,800.00
          Nonpriority Creditor's Name
          16 Crystal Lake Drive                                      When was the debt incurred?           4/8/2015
          Weston, CT 06883
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 323 East 53rd Holding LLC




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 4.8
 2        Beverly Hazelkorn                                          Last 4 digits of account number                                                      $93,000.00
          Nonpriority Creditor's Name
          92 Radcliff Ave                                            When was the debt incurred?           4/30/2015
          Port Washington, NY 11050
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 184 East 64th Street Holding
              Yes                                                       Other. Specify   LLC


 4.8
 3        Beverly Hazelkorn                                          Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          92 Radcliff Ave                                            When was the debt incurred?           7/7/2016
          Port Washington, NY 11050
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 3 Sandpiper Court Holding LLC


 4.8
 4        Beverly Hazelkorn                                          Last 4 digits of account number                                                      $33,500.00
          Nonpriority Creditor's Name
          92 Radcliff Ave                                            When was the debt incurred?           11/4/2014
          Port Washington, NY 11050
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 227 E 67th Street Holding LLC




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 4.8
 5        Bianca D'Alessio                                           Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          340 East 51st Street #3A                                   When was the debt incurred?           12/20/2016
          New York, NY 10022
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - Bluestone 163-165 LLC


 4.8
 6        Blackman Plumbing                                          Last 4 digits of account number       5343                                             $9,209.34
          Nonpriority Creditor's Name
          P.O. Box 9400                                              When was the debt incurred?           11/8/2017
          Uniondale, NY 11555-9400
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Trade debt


 4.8
 7        Blue Tarp Financial Inc                                    Last 4 digits of account number       1329                                             $2,801.56
          Nonpriority Creditor's Name
          P.O. Box 105525                                            When was the debt incurred?           1/29/2018
          Atlanta, GA 30348
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Trade debt




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 4.8
 8        BMG Consulting Group LLC                                   Last 4 digits of account number                                                     $279,000.00
          Nonpriority Creditor's Name
          340 East 51st Street #3A                                   When was the debt incurred?           10/20/2016
          Attn: Bianca D'Alessio
          New York, NY 10022
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 184 East 64th Street Holding
              Yes                                                       Other. Specify   LLC


 4.8
 9        Bonni Stanley                                              Last 4 digits of account number                                                      $67,000.00
          Nonpriority Creditor's Name
          45 Jackson Road                                            When was the debt incurred?           10/23/2014
          Bedford, NY 10506
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 227 E 67th Street Holding LLC


 4.9
 0        Boston Road Equipment Rental                               Last 4 digits of account number       1800                                               $724.84
          Nonpriority Creditor's Name
          3211 Boston Post Road                                      When was the debt incurred?           11/6/2017
          Bronx, NY 10469
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Trade debt




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 4.9
 1        Braga Hardwood Flooring Inc                                Last 4 digits of account number                                                        $7,768.59
          Nonpriority Creditor's Name
          89 Trenton Avenue                                          When was the debt incurred?           5/8/2017
          Bronx, NY 10469
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Trade debt - Michael Paul Enterprises, LLC


 4.9
 2        Bridgehampton National Bank                                Last 4 digits of account number       7309                                          $527,886.00
          Nonpriority Creditor's Name
          2200 Montauk Highway                                       When was the debt incurred?
          Bridgehampton, NY 11932
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - Schurz Avenue Development
              Yes                                                       Other. Specify   LLC


 4.9
 3        Bridgehampton National Bank                                Last 4 digits of account number       6168                                         $3,234,975.00
          Nonpriority Creditor's Name
          2200 Montauk Highway                                       When was the debt incurred?
          Bridgehampton, NY 11932
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Line of credit - Michael Paul Enterprises,
              Yes                                                       Other. Specify   LLC




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 4.9
 4        Bruce Azus                                                 Last 4 digits of account number                                                      $67,000.00
          Nonpriority Creditor's Name
          9 Bensin Drive                                             When was the debt incurred?           10/27/2014
          Melville, NY 11747
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 227 E 67th Street Holding LLC


 4.9
 5        Bruce Azus                                                 Last 4 digits of account number                                                     $105,600.00
          Nonpriority Creditor's Name
          9 Bensin Drive                                             When was the debt incurred?           2/24/2015
          Melville, NY 11747
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 323 East 53rd Holding LLC


 4.9
 6        Bruce Azus                                                 Last 4 digits of account number                                                      $93,000.00
          Nonpriority Creditor's Name
          9 Bensin Drive                                             When was the debt incurred?           4/28/2015
          Melville, NY 11747
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 184 East 64th Street Holding
              Yes                                                       Other. Specify   LLC




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 4.9
 7        Bruce Azus                                                 Last 4 digits of account number                                                     $100,000.00
          Nonpriority Creditor's Name
          9 Bensin Drive                                             When was the debt incurred?           8/5/2015
          Melville, NY 11747
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC


 4.9
 8        Bruce Azus                                                 Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          9 Bensin Drive                                             When was the debt incurred?           6/17/2016
          Melville, NY 11747
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 3 Sandpiper Court Holding LLC


 4.9
 9        Bruce Azus                                                 Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          9 Bensin Drive                                             When was the debt incurred?           4/26/2017
          Melville, NY 11747
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 15-17 Circle Holding LLC




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 4.1
 00       Cancos Tile and Stone                                      Last 4 digits of account number       4956                                           $34,237.40
          Nonpriority Creditor's Name
          1085 Portion Road                                          When was the debt incurred?           6/1/2017
          Farmingville, NY 11738
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Trade debt


 4.1
 01       Cancos Tile and Stone                                      Last 4 digits of account number       4956                                           $19,981.35
          Nonpriority Creditor's Name
          1085 Portion Road                                          When was the debt incurred?           10/18/2017
          Farmingville, NY 11738
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Trade debt


 4.1
 02       Canzone Contracting Corp                                   Last 4 digits of account number                                                     $100,000.00
          Nonpriority Creditor's Name
          218 W. Lincoln Ave                                         When was the debt incurred?           8/7/2015
          Mt. Vernon, NY 10550
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC




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 4.1
 03       Capital Industries Corp                                    Last 4 digits of account number                                                        $4,553.91
          Nonpriority Creditor's Name
          555 Saw Mill River Rd                                      When was the debt incurred?           2/20/2018
          Yonkers, NY 10701
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - Michael Paul Enterprises LLC


 4.1      Carefree Air & Water Management
 04       Inc                                                        Last 4 digits of account number                                                     $160,500.00
          Nonpriority Creditor's Name
          199 Merrick Road                                           When was the debt incurred?           1/27/2017
          Lynbrook, NY 11563
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Trade debt - Michael Paul Enterprises, LLC


 4.1      Carefree Air & Water Management
 05       Inc                                                        Last 4 digits of account number                                                      $31,201.17
          Nonpriority Creditor's Name
          199 Merrick Road                                           When was the debt incurred?           8/11/2017
          Lynbrook, NY 11563
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Trade debt - Michael Paul Enterprises, LLC




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 4.1      Carefree Air & Water Management
 06       Inc                                                        Last 4 digits of account number                                                      $33,636.25
          Nonpriority Creditor's Name
          199 Merrick Road                                           When was the debt incurred?           8/11/2017
          Lynbrook, NY 11563
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Trade debt - Michael Paul Enterprises, LLC


 4.1
 07       Carl Bonomo                                                Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          49 Harvard Drive                                           When was the debt incurred?           4/26/2017
          Plainview, NY 11803
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 15-17 Circle Holding LLC


 4.1
 08       Carl Bonomo                                                Last 4 digits of account number                                                     $100,000.00
          Nonpriority Creditor's Name
          49 Harvard Drive                                           When was the debt incurred?           8/8/2015
          Plainview, NY 11803
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC




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 4.1
 09       Carmine Lippolis                                           Last 4 digits of account number                                                     $100,000.00
          Nonpriority Creditor's Name
          25 Seventh Street                                          When was the debt incurred?           4/29/2015
          Pelham, NY 10803
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC


 4.1
 10       Carol Merkel                                               Last 4 digits of account number                                                     $100,000.00
          Nonpriority Creditor's Name
          323 Polaris Street                                         When was the debt incurred?           9/15/2017
          Dauphin Island, AL 36528
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 41-45 MPR Holding LLC


 4.1
 11       Carol Merkel                                               Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          323 Polaris Street                                         When was the debt incurred?           1/13/2017
          Dauphin Island, AL 36528
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 3 Sandpiper Court Holding LLC




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 4.1
 12       Carol Merkel                                               Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          323 Polaris Street                                         When was the debt incurred?           8/8/2015
          Dauphin Island, AL 36528
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC


 4.1
 13       Carol Merkel                                               Last 4 digits of account number                                                      $93,000.00
          Nonpriority Creditor's Name
          323 Polaris Street                                         When was the debt incurred?           4/29/2015
          Dauphin Island, AL 36528
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 184 East 64th Street Holding
              Yes                                                       Other. Specify   LLC


 4.1
 14       Carol Merkel                                               Last 4 digits of account number                                                     $134,000.00
          Nonpriority Creditor's Name
          323 Polaris Street                                         When was the debt incurred?           10/30/2014
          Dauphin Island, AL 36528
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 227 E 67th Street Holding LLC




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 4.1
 15       Carol Merkel                                               Last 4 digits of account number                                                      $52,800.00
          Nonpriority Creditor's Name
          323 Polaris Street                                         When was the debt incurred?           3/3/2015
          Dauphin Island, AL 36528
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 323 East 53rd Holding LLC


 4.1
 16       Carol Scibelli                                             Last 4 digits of account number                                                     $200,000.00
          Nonpriority Creditor's Name
          350 East 79th Street Apt 7D                                When was the debt incurred?           8/29/2017
          New York, NY 10075
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 2800 Bruckner Holding LLC


 4.1
 17       Caroline Graves                                            Last 4 digits of account number                                                      $67,000.00
          Nonpriority Creditor's Name
          2928 Fairway Drive                                         When was the debt incurred?           11/3/2014
          Birmingham, AL 35213
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 227 E 67th Street Holding LLC




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 4.1
 18       Caroline Graves                                            Last 4 digits of account number                                                      $52,800.00
          Nonpriority Creditor's Name
          2928 Fairway Drive                                         When was the debt incurred?           2/26/2015
          Birmingham, AL 35213
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 323 East 53rd Holding LLC


 4.1
 19       Case's Creek                                               Last 4 digits of account number                                                     $121,295.00
          Nonpriority Creditor's Name
          P.O. Box 56                                                When was the debt incurred?           9/19/2017
          Jamesport, NY 11947
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Trade debt - Michael Paul Enterprises, LLC


 4.1
 20       Celtic Services NYC Inc                                    Last 4 digits of account number                                                     $150,000.00
          Nonpriority Creditor's Name
          156 Mt. Vernon Avenue                                      When was the debt incurred?           9/10/2015
          Suite 210 Mt. Vernon, NY 10550
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Trade debt - Michael Paul Enterprises, LLC




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 4.1
 21       Chantal Pick                                               Last 4 digits of account number                                                     $100,000.00
          Nonpriority Creditor's Name
          866 Evergreen Drive                                        When was the debt incurred?           8/11/2015
          West Hempstead, NY 11552
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC


 4.1
 22       Chantal Pick                                               Last 4 digits of account number                                                      $93,000.00
          Nonpriority Creditor's Name
          866 Evergreen Drive                                        When was the debt incurred?           5/5/2015
          West Hempstead, NY 11552
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 184 East 64th Street Holding
              Yes                                                       Other. Specify   LLC


 4.1
 23       Chantal Pick                                               Last 4 digits of account number                                                      $52,800.00
          Nonpriority Creditor's Name
          866 Evergreen Drive                                        When was the debt incurred?           3/18/2015
          West Hempstead, NY 11552
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 323 East 53rd Holding LLC




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 4.1
 24       Charles Barovian                                           Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          1763 West 9th Street                                       When was the debt incurred?           4/27/2017
          Brooklyn, NY 11223
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 15-17 Circle Holding LLC


 4.1
 25       Charles Barovian                                           Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          1763 West 9th Street                                       When was the debt incurred?           12/1/2016
          Brooklyn, NY 11223
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC


 4.1
 26       Chase Card                                                 Last 4 digits of account number       7724                                          $110,000.00
          Nonpriority Creditor's Name
          PO Box 5298                                                When was the debt incurred?
          Willimgton, DE 19850
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit card purchases and cash advances




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 4.1
 27       Chase Card                                                 Last 4 digits of account number       2329                                           $50,000.00
          Nonpriority Creditor's Name
          PO Box 5298                                                When was the debt incurred?
          Willimgton, DE 19850
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit card purchases and cash advances


 4.1
 28       Chase Card                                                 Last 4 digits of account number       2034                                           $40,000.00
          Nonpriority Creditor's Name
          PO Box 5298                                                When was the debt incurred?
          Wilmington, DE 19850
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit card purchases and cash advances


 4.1
 29       Chris Canzone                                              Last 4 digits of account number                                                      $33,500.00
          Nonpriority Creditor's Name
          53 Noble Ave                                               When was the debt incurred?           10/28/2014
          Bronxville, NY 10708
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 227 E 67th Street Holding LLC




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 4.1
 30       Christine Phillips                                         Last 4 digits of account number                                                     $150,000.00
          Nonpriority Creditor's Name
          124 Charles Avenue                                         When was the debt incurred?           8/24/2017
          Massapequa Park, NY 11762
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 2800 Bruckner Holding LLC


 4.1
 31       Citi Card                                                  Last 4 digits of account number       9194                                          $100,000.00
          Nonpriority Creditor's Name
          PO Box 6500                                                When was the debt incurred?
          Sioux Falls, SD 57117
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit card purchases and cash advances


 4.1
 32       City Ironsmith Corp                                        Last 4 digits of account number                                                      $79,000.00
          Nonpriority Creditor's Name
          131-41 Sanford Avenue                                      When was the debt incurred?           10/17/2016
          Flushing, NY 11355
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Trade debt - Michael Paul Enterprises, LLC




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 4.1
 33       City Ironsmith Corp                                        Last 4 digits of account number                                                     $103,612.00
          Nonpriority Creditor's Name
          131-41 Sanford Avenue                                      When was the debt incurred?           5/21/2015
          Flushing, NY 11355
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Trade debt - Michael Paul Enterprises, LLC


 4.1
 34       Clifford & Gail Bassett                                    Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          535 East 86th Street #6J                                   When was the debt incurred?           8/4/2015
          New York, NY 10028
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC


 4.1
 35       Clifford & Gail Bassett                                    Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          535 East 86th Street #6J                                   When was the debt incurred?           4/17/2017
          New York, NY 10028
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 15-17 Circle Holding LLC




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 4.1
 36       Cohen Children Trust                                       Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          David Cohen Trustee                                        When was the debt incurred?           8/6/2015
          1875 Julian Lane
          Merrick, NY 11566
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC


 4.1
 37       Conrad Strohl                                              Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          2 Larch Lane                                               When was the debt incurred?           8/4/2015
          Malboro, NJ 07746
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC


 4.1      Consolidated Scaffold & Bridge
 38       Corp                                                       Last 4 digits of account number                                                      $12,825.00
          Nonpriority Creditor's Name
          3969 Merritt Avenue                                        When was the debt incurred?           1/29/2018
          Bronx, NY 10466
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Trade debt - Michael Paul Enterprises, LLC




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                                                                                                           Michael
                                                                                                           Paul
 4.1      Consolidated Scaffold & Bridge                                                                   Enterprises,
 39       Corp                                                       Last 4 digits of account number       LLC                                            $46,163.48
          Nonpriority Creditor's Name
          3969 Merritt Avenue                                        When was the debt incurred?           2/27/2018
          Bronx, NY 10466
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Trade debt - Michael Paul Enterprises, LLC


 4.1
 40       Costello & Goldan LLC                                      Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          106 Labaw Court                                            When was the debt incurred?           4/7/2017
          Attn: Mary Lisa Costello
          Hillsborough, NJ 08844
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 15-17 Circle Holding LLC


 4.1
 41       Cuddy & Feder LLP                                          Last 4 digits of account number                                                      $40,920.47
          Nonpriority Creditor's Name
          445 Hamilton Avenue                                        When was the debt incurred?
          14th Floor White Plains, NY 10601
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Legal fees




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 4.1
 42       Cy Blanco                                                  Last 4 digits of account number                                                     $100,000.00
          Nonpriority Creditor's Name
          104 Mildred Parkway                                        When was the debt incurred?           5/2/2015
          New Rochelle, NY 10804
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC


 4.1
 43       Cynthia Petretti                                           Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          4 North Lane                                               When was the debt incurred?           7/31/2015
          Mahopac, NY 10541
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC


 4.1
 44       Daimler Construction LLC                                   Last 4 digits of account number                                                      $30,500.00
          Nonpriority Creditor's Name
          155 Fox Hill Drive                                         When was the debt incurred?           8/11/2017
          Hackettstown, NJ 07840
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Trade debt - Michael Paul Enterprises, LLC
              Yes                                                       Other. Specify   & 17 Circle Rd - MBI LLC




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 4.1
 45       Daimler Construction LLC                                   Last 4 digits of account number                                                      $10,880.00
          Nonpriority Creditor's Name
          155 Fox Hill Drive                                         When was the debt incurred?           1/29/2018
          Hackettstown, NJ 07840
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Trade debt - Michael Paul Enterprises, LLC
              Yes                                                       Other. Specify   - 64th


 4.1
 46       Daimler Construction LLC                                   Last 4 digits of account number                                                        $8,860.00
          Nonpriority Creditor's Name
          155 Fox Hill Drive                                         When was the debt incurred?           1/29/2018
          Hackettstown, NJ 07840
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Trade debt - Michael Paul Enterprises, LLC
              Yes                                                       Other. Specify   - 53rd


 4.1
 47       Daniel Rifkin                                              Last 4 digits of account number                                                     $100,000.00
          Nonpriority Creditor's Name
          P.O. Box 9338                                              When was the debt incurred?           5/5/2015
          Bardonia, NY 10954
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC




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 4.1
 48       Daniel Rifkin                                              Last 4 digits of account number                                                      $93,000.00
          Nonpriority Creditor's Name
          P.O. Box 9338                                              When was the debt incurred?           5/5/2015
          Bardonia, NY 10954
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 184 East 64th Street Holding
              Yes                                                       Other. Specify   LLC


 4.1
 49       Danisi Energy Company                                      Last 4 digits of account number                                                      $13,000.00
          Nonpriority Creditor's Name
          3205 Route 112                                             When was the debt incurred?           12/23/2015
          Medford, NY 11763
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Trade debt - Michael Paul Enterprises, LLC


 4.1
 50       Darren Kay                                                 Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          19 Fells Drive                                             When was the debt incurred?           7/30/2015
          Manalapan, NJ 07726
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC




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 4.1
 51       Darren Kay                                                 Last 4 digits of account number                                                     $105,600.00
          Nonpriority Creditor's Name
          19 Fells Drive                                             When was the debt incurred?           2/26/2015
          Manalapan, NJ 07726
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 323 East 53rd Holding LLC


 4.1
 52       David & Rita Levy                                          Last 4 digits of account number                                                      $93,000.00
          Nonpriority Creditor's Name
          25 Wren Drive                                              When was the debt incurred?           5/5/2015
          Roslyn, NY 11576
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 184 East 64th Street Holding
              Yes                                                       Other. Specify   LLC


 4.1
 53       David & Rita Levy                                          Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          25 Wren Drive                                              When was the debt incurred?           6/22/2016
          Roslyn, NY 11576
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 3 Sandpiper Court Holding LLC




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 4.1
 54       David & Susan Diamond                                      Last 4 digits of account number                                                     $200,000.00
          Nonpriority Creditor's Name
          3677 East Tremont Ave                                      When was the debt incurred?           12/30/2015
          Bronx, NY 10465
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC


 4.1
 55       David & Susan Diamond                                      Last 4 digits of account number                                                     $316,800.00
          Nonpriority Creditor's Name
          3677 East Tremont Ave                                      When was the debt incurred?           2/23/2015
          Bronx, NY 10465
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 323 East 53rd Holding LLC


 4.1
 56       David & Susan Diamond                                      Last 4 digits of account number                                                     $150,000.00
          Nonpriority Creditor's Name
          3677 East Tremont Ave                                      When was the debt incurred?           8/19/2017
          Bronx, NY 10465
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 2800 Bruckner Holding LLC




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 4.1
 57       David Azus                                                 Last 4 digits of account number                                                      $52,800.00
          Nonpriority Creditor's Name
          37 East Mall Drive                                         When was the debt incurred?           3/3/2015
          Melville, NY 11767
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 323 East 53rd Holding LLC


 4.1
 58       David Bauer                                                Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          31 Deepwood Road                                           When was the debt incurred?           8/6/2015
          Wilton, CT 06897
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC


 4.1
 59       David Cohen                                                Last 4 digits of account number                                                      $33,500.00
          Nonpriority Creditor's Name
          1875 Julian Lane                                           When was the debt incurred?           10/28/2014
          Merrick, NY 11566
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 227 E 67th Street Holding LLC




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 4.1
 60       David Cohen                                                Last 4 digits of account number                                                      $52,800.00
          Nonpriority Creditor's Name
          1875 Julian Lane                                           When was the debt incurred?           3/23/2015
          Merrick, NY 11566
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 323 East 53rd Holding LLC


 4.1
 61       David Katz                                                 Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          19 Cob Drive                                               When was the debt incurred?           7/31/2015
          Westport, CT 06880
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC


 4.1
 62       David Levy                                                 Last 4 digits of account number                                                     $100,000.00
          Nonpriority Creditor's Name
          25 Wren Drive                                              When was the debt incurred?           8/24/2015
          Roslyn, NY 11576
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC




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 4.1
 63       David Levy                                                 Last 4 digits of account number                                                      $33,500.00
          Nonpriority Creditor's Name
          25 Wren Drive                                              When was the debt incurred?           10/29/2014
          Roslyn, NY 11576
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 227 E 67th Street Holding LLC


 4.1
 64       David Miller                                               Last 4 digits of account number                                                      $67,000.00
          Nonpriority Creditor's Name
          1 Iris Lane                                                When was the debt incurred?           11/4/2014
          Chappaqua, NY 10514
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 227 E 67th Street Holding LLC


 4.1
 65       David Miller                                               Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          1 Iris Lane                                                When was the debt incurred?           8/22/2017
          Chappaqua, NY 10514
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 2800 Bruckner Holding LLC




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 4.1
 66       David S. Cohen                                             Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          c/o David Cohen                                            When was the debt incurred?           4/17/2017
          48 Chester Ct.
          Cortlandt Manor, NY 10567
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 15-17 Circle Holding LLC


 4.1
 67       David S. Cohen                                             Last 4 digits of account number                                                     $100,000.00
          Nonpriority Creditor's Name
          c/o David Cohen                                            When was the debt incurred?           2/5/2016
          48 Chester Ct.
          Cortlandt Manor, NY 10567
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC


 4.1
 68       David Samuels                                              Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          47 Hardscrabble Hill                                       When was the debt incurred?           1/26/2017
          Chappaqua, NY 10514
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 43 Middle Pond Road Holding
              Yes                                                       Other. Specify   LLC




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 4.1
 69       David Samuels                                              Last 4 digits of account number                                                      $67,000.00
          Nonpriority Creditor's Name
          47 Hardscrabble Hill                                       When was the debt incurred?           10/30/2014
          Chappaqua, NY 10514
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 227 E 67th Street Holding LLC


 4.1
 70       David Tesser                                               Last 4 digits of account number                                                     $100,000.00
          Nonpriority Creditor's Name
          1800 Merrick Road                                          When was the debt incurred?           8/4/2015
          Merrick, NY 11566
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC


 4.1
 71       David Tesser                                               Last 4 digits of account number                                                      $93,000.00
          Nonpriority Creditor's Name
          1800 Merrick Road                                          When was the debt incurred?           5/26/2015
          Merrick, NY 11566
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 184 East 64th Street Holding
              Yes                                                       Other. Specify   LLC




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 4.1      Decorama Building & Plumbing
 72       Supply Inc                                                 Last 4 digits of account number       1270                                           $10,430.87
          Nonpriority Creditor's Name
          1233 Metropolitan Avenue                                   When was the debt incurred?           12/20/2017
          Brooklyn, NY 11237
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Trade debt


 4.1
 73       Denise Zollo                                               Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          88 Dawson Circle                                           When was the debt incurred?           8/17/2017
          Staten Island, NY 10314
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 2800 Bruckner Holding LLC


 4.1
 74       Dennis Korchinski                                          Last 4 digits of account number                                                     $150,000.00
          Nonpriority Creditor's Name
          38 Red Oak Road                                            When was the debt incurred?           10/7/2015
          Fairfield, CT 06824
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC




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 4.1      Despatch of Southampton M & S
 75       LLC                                                        Last 4 digits of account number                                                          $898.87
          Nonpriority Creditor's Name
          370 County Road 39, Suite A                                When was the debt incurred?           4/3/2018
          Southampton, NY 11968
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Trade debt


 4.1
 76       Diamond Enterprises LLC                                    Last 4 digits of account number                                                     $350,000.00
          Nonpriority Creditor's Name
          3677 East Tremont Ave                                      When was the debt incurred?           4/13/2017
          Bronx, NY 10465
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 15-17 Circle Holding LLC


 4.1
 77       Diamond Enterprises LLC                                    Last 4 digits of account number                                                     $850,000.00
          Nonpriority Creditor's Name
          3677 East Tremont Ave                                      When was the debt incurred?           4/23/2015
          Bronx, NY 10465
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC




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 4.1
 78       Diamond Enterprises LLC                                    Last 4 digits of account number                                                     $186,000.00
          Nonpriority Creditor's Name
          3677 East Tremont Ave                                      When was the debt incurred?           4/23/2015
          Bronx, NY 10465
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 184 East 64th Street Holding
              Yes                                                       Other. Specify   LLC


 4.1
 79       Diamond Enterprises LLC                                    Last 4 digits of account number                                                     $335,000.00
          Nonpriority Creditor's Name
          3677 East Tremont Ave                                      When was the debt incurred?           10/30/2014
          Bronx, NY 10465
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 227 E 67th Street Holding LLC


 4.1
 80       Diamond Enterprises LLC                                    Last 4 digits of account number                                                     $150,000.00
          Nonpriority Creditor's Name
          3677 East Tremont Ave                                      When was the debt incurred?           8/19/2017
          Bronx, NY 10465
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty -2800 Bruckner Holding LLC




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 4.1
 81       Diane Rosenberg                                            Last 4 digits of account number                                                     $150,000.00
          Nonpriority Creditor's Name
          402 Stoney Way                                             When was the debt incurred?           9/25/2017
          New Fairfield, CT 06812
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 41-45 MPR Holding LLC


 4.1
 82       Dodd Farber                                                Last 4 digits of account number                                                     $100,000.00
          Nonpriority Creditor's Name
          27 Wampus Lake Drive                                       When was the debt incurred?           7/6/2016
          Armonk, NY 10504
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC


 4.1
 83       Domenick Schettino                                         Last 4 digits of account number                                                     $100,000.00
          Nonpriority Creditor's Name
          1 Lowell Drive                                             When was the debt incurred?           2/22/2017
          Purchase, NY 10577
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - Bluestone 163-165 LLC




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 4.1
 84       Dominick R. Pilla Associates PC                            Last 4 digits of account number                                                      $56,582.92
          Nonpriority Creditor's Name
          23 Depew Avenue                                            When was the debt incurred?           15-Oct
          Nyack, NY 10960
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Trade debt - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Associates LLC


 4.1
 85       Dominick R. Pilla Associates PC                            Last 4 digits of account number                                                        $7,893.86
          Nonpriority Creditor's Name
          23 Depew Avenue                                            When was the debt incurred?           17-Apr
          Nyack, NY 10960
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Trade debt - 3 Sandpiper Court LLC


 4.1
 86       Dominick R. Pilla Associates PC                            Last 4 digits of account number                                                        $1,355.55
          Nonpriority Creditor's Name
          23 Depew Avenue                                            When was the debt incurred?           18-Mar
          Nyack, NY 10960
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Trade debt - 323 East 53rd Street
              Yes                                                       Other. Specify   Associates LLC




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 4.1
 87       Donald Konrad                                              Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          68 Pearl Farm Road                                         When was the debt incurred?           7/12/2016
          Stamford, CT 06902
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC


 4.1
 88       Donato Ciaccia                                             Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          7406 Avenue V                                              When was the debt incurred?           11/21/2017
          Brooklyn, NY 11234
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 2800 Bruckner Holding LLC


 4.1
 89       Donato Ciaccia                                             Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          7406 Avenue V                                              When was the debt incurred?           3/29/2017
          Brooklyn, NY 11234
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - Purchase Capital Partners LLC




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 4.1
 90       Douglas & Diane Simon                                      Last 4 digits of account number                                                      $52,800.00
          Nonpriority Creditor's Name
          20 Clinton Ave                                             When was the debt incurred?           3/18/2015
          Maplewood, NJ 07040
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 323 East 53rd Holding LLC


 4.1
 91       Douglas Scibelli                                           Last 4 digits of account number                                                     $100,000.00
          Nonpriority Creditor's Name
          124 Ludlow Street #4C                                      When was the debt incurred?           12/11/2015
          New York, NY 10002
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC


 4.1
 92       Dov Kesselman                                              Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          317 Chestnut Street                                        When was the debt incurred?           8/8/2015
          W. Hempstead, NY 11552
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC




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 4.1
 93       DWS Interiors Inc                                          Last 4 digits of account number                                                      $59,000.00
          Nonpriority Creditor's Name
          P.O. Box 2 Water Mill                                      When was the debt incurred?           1/19/2018
          Water Mill, NY 11976
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Trade debt - Michael Paul Enterprises, LLC
              Yes                                                       Other. Specify   - 53rd


 4.1
 94       DWS Interiors Inc                                          Last 4 digits of account number                                                      $16,700.00
          Nonpriority Creditor's Name
          P.O. Box 2 Water Mill                                      When was the debt incurred?           2/13/2018
          Water Mill, NY 11976
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Trade debt - Michael Paul Enterprises, LLC
              Yes                                                       Other. Specify   - 17 Circle


 4.1
 95       Dynaire Corporation                                        Last 4 digits of account number                                                      $67,000.00
          Nonpriority Creditor's Name
          Attn: Marc Soffler                                         When was the debt incurred?           10/30/2014
          134 Herricks Road
          Mineola, NY 11501
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 227 E 67th Street Holding LLC




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 4.1
 96       Dynaire Corporation                                        Last 4 digits of account number                                                      $25,000.00
          Nonpriority Creditor's Name
          Attn: Marc Soffler                                         When was the debt incurred?
          134 Herricks Road
          Mineola, NY 11501
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Trade


 4.1
 97       EAA Investments                                            Last 4 digits of account number                                                      $33,500.00
          Nonpriority Creditor's Name
          Attn: Evan Steinbach                                       When was the debt incurred?           10/28/2014
          575 Underhill Blvd
          Suite 205 Syosset, NY 11791
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 227 E 67th Street Holding LLC


 4.1      East 64th Street Realty Partners
 98       LLC                                                        Last 4 digits of account number                                                    $1,860,000.00
          Nonpriority Creditor's Name
          c/o Cornell Pace Inc                                       When was the debt incurred?           5/7/2015
          542 Main Street
          2nd Floor
          New Rochelle, NY 10801
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 184 East 64th Street Holding
              Yes                                                       Other. Specify   LLC




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 4.1      East End Country Kitchens
 99       Cabinets Inc                                               Last 4 digits of account number                                                      $55,000.00
          Nonpriority Creditor's Name
          121 Edwards Avenue                                         When was the debt incurred?
          Calverton, NY 11933
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Trade debt - Michael Paul Enterprises, LLC


 4.2
 00       Eastern Metal Works Inc                                    Last 4 digits of account number                                                      $13,000.00
          Nonpriority Creditor's Name
          333 Woodmont Road                                          When was the debt incurred?           10/3/2017
          Milford, CT 06460
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Trade debt - Michael Paul Enterprises LLC


 4.2
 01       Ed Tesser                                                  Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          2536 Army Place                                            When was the debt incurred?           8/11/2015
          Bellmore, NY 11710
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC




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 4.2
 02       Edge & Corner Tile & Marble                                Last 4 digits of account number                                                          $750.00
          Nonpriority Creditor's Name
          362 Decatur Avenue                                         When was the debt incurred?
          Shirley, NY 11967
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Trade debt - Michael Paul Enterprises, LLC


 4.2
 03       Elizabeth Armstrong                                        Last 4 digits of account number                                                      $52,800.00
          Nonpriority Creditor's Name
          10041 Sasser Lane                                          When was the debt incurred?           3/3/2015
          Mobile, AL 36695
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 323 East 53rd Holding LLC


 4.2
 04       Elizabeth Armstrong                                        Last 4 digits of account number                                                     $100,000.00
          Nonpriority Creditor's Name
          10041 Sasser Lane                                          When was the debt incurred?           3/23/2016
          Mobile, AL 36695
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC




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 4.2
 05       Elizabeth Armstrong                                        Last 4 digits of account number                                                      $67,000.00
          Nonpriority Creditor's Name
          10041 Sasser Lane                                          When was the debt incurred?           10/27/2014
          Mobile, AL 36695
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 227 E 67th Street Holding LLC


 4.2
 06       Elizabeth Canzone                                          Last 4 digits of account number                                                      $67,000.00
          Nonpriority Creditor's Name
          58 Puritan Drive                                           When was the debt incurred?           10/28/2014
          Scarsdale, NY 10583
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty -227 E 67th Street Holding LLC


 4.2
 07       Elizabeth Canzone                                          Last 4 digits of account number                                                      $52,800.00
          Nonpriority Creditor's Name
          58 Puritan Drive                                           When was the debt incurred?           2/23/2015
          Scarsdale, NY 10583
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 323 East 53rd Holding LLC




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 4.2
 08       Elizabeth Strange                                          Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          48 Haywood Street                                          When was the debt incurred?           8/11/2017
          Staten Island, NY 10307
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 2800 Bruckner Holding LLC


 4.2      Ellen Goldstein Living Trust
 09       11/30/10, E                                                Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          3975 Sedgewick Ave Apt #4H                                 When was the debt incurred?           12/27/2016
          Bronx, NY 10563
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty -145-147 East 62nd Street Holding
              Yes                                                       Other. Specify   LLC


 4.2      Ellen Goldstein Living Trust
 10       11/30/10, E                                                Last 4 digits of account number                                                      $33,500.00
          Nonpriority Creditor's Name
          3976 Sedgewick Ave Apt #4H                                 When was the debt incurred?           10/21/2014
          Bronx, NY 10563
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 227 E 67th Street Holding LLC




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 4.2      Ellen Goldstein Living Trust
 11       11/30/10, E                                                Last 4 digits of account number                                                      $52,800.00
          Nonpriority Creditor's Name
          3977 Sedgewick Ave Apt #4H                                 When was the debt incurred?           2/23/2015
          Bronx, NY 10563
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 323 East 53rd Holding LLC


 4.2      Ellen Goldstein Living Trust
 12       11/30/10, E                                                Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          3978 Sedgewick Ave Apt #4H                                 When was the debt incurred?           8/22/2017
          Bronx, NY 10563
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 2800 Bruckner Holding LLC


 4.2
 13       Erin Diamond                                               Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          3677 East Tremont Ave                                      When was the debt incurred?           2/19/2016
          Bronx, NY 10465
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty -163-165 East 62nd Street Holding
              Yes                                                       Other. Specify   LLC




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 4.2
 14       Erin Diamond                                               Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          3677 East Tremont Ave                                      When was the debt incurred?           8/19/2017
          Bronx, NY 10465
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 2800 Bruckner Holding LLC


 4.2
 15       Erwin & Bielinski, PLLC                                    Last 4 digits of account number                                                          $825.00
          Nonpriority Creditor's Name
          37 West 39th Street Suite 1201                             When was the debt incurred?
          New York, NY 10018
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Trade debt - Michael Paul Enterprises, LLC


 4.2
 16       Fairfield County Bank                                      Last 4 digits of account number       8075                                          $715,000.00
          Nonpriority Creditor's Name
          PO Box 2050                                                When was the debt incurred?
          Ridgefield, CT 06877
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 15 Circle Rd - MBI LLC




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 4.2
 17       Fairfield County Bank                                      Last 4 digits of account number       8992                                           $43,647.00
          Nonpriority Creditor's Name
          PO Box 2050                                                When was the debt incurred?
          Ridgefield, CT 06877
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 15 Circle Rd - MBI LLC


 4.2
 18       Fairfield County Bank                                      Last 4 digits of account number       9057                                          $715,000.00
          Nonpriority Creditor's Name
          PO Box 2050                                                When was the debt incurred?
          Ridgefield, CT 06877
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 17 Circle Rd - MBI LLC


 4.2
 19       Fairfield County Bank                                      Last 4 digits of account number       9130                                          $532,289.00
          Nonpriority Creditor's Name
          PO Box 2050                                                When was the debt incurred?
          Ridgefield, CT 06877
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 17 Circle Rd - MBI LLC




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 4.2
 20       Fallon Rose LLC                                            Last 4 digits of account number                                                     $350,000.00
          Nonpriority Creditor's Name
          82 Wellington Road                                         When was the debt incurred?           9/17/2015
          Attn: Owen Grant
          Garden City, NY 11530
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC


 4.2      Federlein Family 2012 Gift Trust,
 21       Barbar                                                     Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          56 Majestic Ridge                                          When was the debt incurred?           7/31/2015
          Carmel, NY 10512
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC


 4.2      Federlein Family 2012 Gift Trust,
 22       Barbar                                                     Last 4 digits of account number                                                      $93,000.00
          Nonpriority Creditor's Name
          56 Majestic Ridge                                          When was the debt incurred?           5/5/2015
          Carmel, NY 10512
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 184 East 64th Street Holding
              Yes                                                       Other. Specify   LLC




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 4.2      Federlein Family 2012 Gift Trust,
 23       Barbar                                                     Last 4 digits of account number                                                      $52,800.00
          Nonpriority Creditor's Name
          56 Majestic Ridge                                          When was the debt incurred?           2/26/2015
          Carmel, NY 10512
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 323 East 53rd Holding LLC


 4.2
 24       Feldman Lumber                                             Last 4 digits of account number       0160                                             $2,261.76
          Nonpriority Creditor's Name
          1281 Metropolitan Avenue                                   When was the debt incurred?
          Brooklyn, NY 11237
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Trade debt


 4.2
 25       Fiederlein Family LLC                                      Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          56 Majestic Ridge                                          When was the debt incurred?           6/29/2016
          Carmel, NY 10512
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 3 Sandpiper Court Holding LLC




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 4.2
 26       Fiederlein Family LLC                                      Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          56 Majestic Ridge                                          When was the debt incurred?           11/25/2016
          Carmel, NY 10512
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 43 Middle Pond Road Holding
              Yes                                                       Other. Specify   LLC


 4.2
 27       Fiederlein Family LLC                                      Last 4 digits of account number                                                      $93,000.00
          Nonpriority Creditor's Name
          56 Majestic Ridge                                          When was the debt incurred?           5/5/2015
          Carmel, NY 10512
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 184 East 64th Street Holding
              Yes                                                       Other. Specify   LLC


 4.2
 28       Fiederlein Family LLC                                      Last 4 digits of account number                                                     $268,000.00
          Nonpriority Creditor's Name
          56 Majestic Ridge                                          When was the debt incurred?           10/30/2014
          Carmel, NY 10512
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 227 E 67th Street Holding LLC




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 4.2
 29       Fort Cica                                                  Last 4 digits of account number                                                        $8,500.00
          Nonpriority Creditor's Name
          720 East 141st Street                                      When was the debt incurred?
          Bronx, NY 10454
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Trade debt - Michael Paul Enterprises, LLC
              Yes                                                       Other. Specify   - 184 East 64th Street Associates LLC


 4.2
 30       Fort Cica                                                  Last 4 digits of account number                                                      $10,000.00
          Nonpriority Creditor's Name
          720 East 141st Street                                      When was the debt incurred?
          Bronx, NY 10454
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Trade debt - Michael Paul Enterprises, LLC


 4.2
 31       Francis Carbone                                            Last 4 digits of account number                                                     $600,000.00
          Nonpriority Creditor's Name
          177 Spague Ave                                             When was the debt incurred?           8/11/2017
          Staten Island, NY 10307
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty -2800 Bruckner Holding LLC




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 4.2
 32       Francis Carbone                                            Last 4 digits of account number                                                     $200,000.00
          Nonpriority Creditor's Name
          177 Spague Ave                                             When was the debt incurred?           3/1/2017
          Staten Island, NY 10307
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - Purchase Capital Partners LLC


 4.2
 33       Frank Canzone                                              Last 4 digits of account number                                                      $33,500.00
          Nonpriority Creditor's Name
          53 Noble Ave                                               When was the debt incurred?           10/28/2014
          Bronxville, NY 10708
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 227 E 67th Street Holding LLC


 4.2
 34       Frank Delucia                                              Last 4 digits of account number                                                      $67,000.00
          Nonpriority Creditor's Name
          15 Clearwater Ave                                          When was the debt incurred?           10/29/2014
          Massapequa, NY 11758
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 227 E 67th Street Holding LLC




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 4.2
 35       Friedricks Associates LTD                                  Last 4 digits of account number                                                     $100,000.00
          Nonpriority Creditor's Name
          235 West 76th Street                                       When was the debt incurred?           8/20/2015
          Apt 5E
          New York, NY 10023
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC


 4.2
 36       Frima Edelstein                                            Last 4 digits of account number                                                      $93,000.00
          Nonpriority Creditor's Name
          2 Larch Lane                                               When was the debt incurred?           5/7/2015
          Malboro, NJ 07746
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 184 East 64th Street Holding
              Yes                                                       Other. Specify   LLC


 4.2      Gabor M. Szakal Consulting
 37       Engineers, P.                                              Last 4 digits of account number                                                        $4,000.00
          Nonpriority Creditor's Name
          54 West 21st Street                                        When was the debt incurred?
          New York 10010
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Trade debt - Michael Paul Enterprises LLC




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 4.2
 38       Gabriel Carbone                                            Last 4 digits of account number                                                     $100,000.00
          Nonpriority Creditor's Name
          177 Spague Ave                                             When was the debt incurred?           8/18/2017
          Staten Island, NY 10307
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 2800 Bruckner Holding LLC


 4.2
 39       Gabriel E. Senor, P.C.                                     Last 4 digits of account number                                                      $11,900.00
          Nonpriority Creditor's Name
          90 North Central Avenue                                    When was the debt incurred?
          Suite 104
          Hartsdale, NY 10530
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Trade debt - Michael Paul Enterprises, LLC


 4.2
 40       Gamor Company LLC                                          Last 4 digits of account number                                                      $93,000.00
          Nonpriority Creditor's Name
          c/o Jamie Heiberger                                        When was the debt incurred?           5/7/2015
          589 Eight Ave
          10th Floor New York, NY 10018
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 184 East 64th Street Holding
              Yes                                                       Other. Specify   LLC




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 4.2
 41       GC Warehouse LLC                                           Last 4 digits of account number       312                                              $2,484.53
          Nonpriority Creditor's Name
          515 S 4th Avenue                                           When was the debt incurred?
          Mt. Vernon, NY 10550
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Trade debt


 4.2
 42       Gene Greenfest                                             Last 4 digits of account number                                                     $100,000.00
          Nonpriority Creditor's Name
          c/o Anchin Block & Anchin LLP                              When was the debt incurred?           8/24/2017
          1375 Broadway 17th Floor
          New York, NY 10018
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 2800 Bruckner Holding LLC


 4.2
 43       GeoLand Corp                                               Last 4 digits of account number                                                        $3,600.00
          Nonpriority Creditor's Name
          1317 Park Avenue                                           When was the debt incurred?           12/21/2017
          New Hyde Pk, NY 11040
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Trade debt - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Associates LLC




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 4.2
 44       Gerald Dolman                                              Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          215 Montecito Crescent                                     When was the debt incurred?           11/25/2016
          Melville, NY 11747
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 43 Middle Pond Road Holding
              Yes                                                       Other. Specify   LLC


 4.2
 45       Gerald Levy                                                Last 4 digits of account number                                                     $100,000.00
          Nonpriority Creditor's Name
          c/o Neil Levy 36 Woodmont Road                             When was the debt incurred?           8/7/2015
          Melville, NY 11747
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC


 4.2
 46       Gerald Levy                                                Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          c/o Neil Levy 36 Woodmont Road                             When was the debt incurred?           6/22/2016
          Melville, NY 11747
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 3 Sandpiper Court Holding LLC




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 4.2
 47       Gerald Levy                                                Last 4 digits of account number                                                      $93,000.00
          Nonpriority Creditor's Name
          c/o Neil Levy 36 Woodmont Road                             When was the debt incurred?           5/7/2015
          Melville, NY 11747
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 184 East 64th Street Holding
              Yes                                                       Other. Specify   LLC


 4.2
 48       Gerald Levy                                                Last 4 digits of account number                                                      $67,000.00
          Nonpriority Creditor's Name
          c/o Neil Levy 36 Woodmont Road                             When was the debt incurred?           10/29/2014
          Melville, NY 11747
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 227 E 67th Street Holding LLC


 4.2
 49       Gerald Levy                                                Last 4 digits of account number                                                      $52,800.00
          Nonpriority Creditor's Name
          c/o Neil Levy 36 Woodmont Road                             When was the debt incurred?           2/20/2015
          Melville, NY 11747
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 323 East 53rd Holding LLC




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 4.2
 50       Gianbattista Davi                                          Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          1462 Bay Ridge Parkway                                     When was the debt incurred?           3/29/2017
          Brooklyn, NY 11228
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - Purchase Capital Partners LLC


 4.2
 51       Glen Feller                                                Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          8 Jazz Way                                                 When was the debt incurred?           12/28/2016
          Mount Laurel, NJ 08054
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 145-147 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC


 4.2
 52       Glen Irwin                                                 Last 4 digits of account number                                                     $105,600.00
          Nonpriority Creditor's Name
          P.O. Box 707                                               When was the debt incurred?           3/5/2015
          Pt. Lookout, NY 11569
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 323 East 53rd Holding LLC




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 Debtor 1 Michael P. D'Alessio                                                                            Case number (if know)         18-22552

 4.2
 53       Glenn Messinger                                            Last 4 digits of account number                                                     $100,000.00
          Nonpriority Creditor's Name
          5 Clipper Way                                              When was the debt incurred?           4/4/2017
          Marblehead, MA 01945
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 15-17 Circle Holding LLC


 4.2
 54       Glenn Messinger                                            Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          5 Clipper Way                                              When was the debt incurred?           7/31/2015
          Marblehead, MA 01945
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC


 4.2
 55       GM Financial Leasing                                       Last 4 digits of account number                                                      $24,633.36
          Nonpriority Creditor's Name
          PO Box 100                                                 When was the debt incurred?           12/8/2016
          Williamsville, KY 14231
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Auto Lease - Michael Paul Enterprises, LLC




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 4.2
 56       GM Financial Leasing                                       Last 4 digits of account number                                                      $11,795.16
          Nonpriority Creditor's Name
          PO Box 100                                                 When was the debt incurred?           1/29/2016
          Williamsville, KY 14231
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Auto Lease - Michael Paul Enterprises, LLC


 4.2
 57       GM Financial Leasing                                       Last 4 digits of account number                                                      $20,868.48
          Nonpriority Creditor's Name
          PO Box 100                                                 When was the debt incurred?           4/4/2016
          Williamsville, KY 14231
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Auto Lease - Michael Paul Enterprises, LLC


 4.2
 58       Golden Touch Investments, LLC                              Last 4 digits of account number                                                    $1,100,000.00
          Nonpriority Creditor's Name
          343 Sperry Road                                            When was the debt incurred?           1/15/2016
          Bethany, CT 06524
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC




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 4.2
 59       Golden Touch Investments, LLC                              Last 4 digits of account number                                                     $134,000.00
          Nonpriority Creditor's Name
          343 Sperry Road                                            When was the debt incurred?           10/31/2014
          Bethany, CT 06524
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 227 E 67th Street Holding LLC


 4.2
 60       Golden Touch Investments, LLC                              Last 4 digits of account number                                                     $105,600.00
          Nonpriority Creditor's Name
          343 Sperry Road                                            When was the debt incurred?           2/27/2015
          Bethany, CT 06524
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 323 East 53rd Holding LLC


 4.2
 61       Golden Touch Investments, LLC                              Last 4 digits of account number                                                    $1,000,000.00
          Nonpriority Creditor's Name
          343 Sperry Road                                            When was the debt incurred?           2/23/2015
          Bethany, CT 06524
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - Bluestone 53 LLC




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 4.2
 62       Golden Touch Investments, LLC                              Last 4 digits of account number                                                    $1,500,000.00
          Nonpriority Creditor's Name
          343 Sperry Road                                            When was the debt incurred?           4/20/2015
          Bethany, CT 06524
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - Bluestone 184 LLC


 4.2      Golenbock, Eiseman, Assor, Bell &
 63       Peskoe                                                     Last 4 digits of account number                                                     $420,000.00
          Nonpriority Creditor's Name
          711 Third Ave                                              When was the debt incurred?
          New York, NY 10017
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - Michael D'Alessio


 4.2
 64       Grant & Fox LLC                                            Last 4 digits of account number                                                     $600,000.00
          Nonpriority Creditor's Name
          139 Fulton Street Rm 907                                   When was the debt incurred?           1/26/2016
          New York, NY 10038
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC




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 4.2
 65       Grazia DeFranco                                            Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          27 Valley Terrace                                          When was the debt incurred?           3/16/2017
          Rye Brook, NY 10573
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - Purchase Capital Partners LLC


 4.2
 66       Greater Hudson Bank                                        Last 4 digits of account number       2297                                          $507,549.99
          Nonpriority Creditor's Name
          715 E. Route 304                                           When was the debt incurred?
          Bardonia, NY 10954
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - Schurz 9 LLC


 4.2
 67       Greater Hudson Bank                                        Last 4 digits of account number       2296                                         $2,250,000.00
          Nonpriority Creditor's Name
          715 E. Route 304                                           When was the debt incurred?
          Bardonia, NY 10954
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Line of credit




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 4.2
 68       Gregory Calabro                                            Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          22 Essex Road                                              When was the debt incurred?           8/6/2015
          Maplewood, NJ 07040
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC


 4.2
 69       Gregory Calabro                                            Last 4 digits of account number                                                      $93,000.00
          Nonpriority Creditor's Name
          22 Essex Road                                              When was the debt incurred?           5/8/2015
          Maplewood, NJ 07040
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 184 East 64th Street Holding
              Yes                                                       Other. Specify   LLC


 4.2
 70       Gregory Calabro                                            Last 4 digits of account number                                                     $105,600.00
          Nonpriority Creditor's Name
          22 Essex Road                                              When was the debt incurred?           3/10/2015
          Maplewood, NJ 07040
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 323 East 53rd Holding LLC




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 4.2
 71       Harrilyn Dolman                                            Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          215 Montecito Crescent                                     When was the debt incurred?           4/5/2017
          Melville, NY 11747
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 15-17 Circle Holding LLC


 4.2
 72       Harrilyn Dolman                                            Last 4 digits of account number                                                     $200,000.00
          Nonpriority Creditor's Name
          215 Montecito Crescent                                     When was the debt incurred?           8/8/2015
          Melville, NY 11747
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC


 4.2
 73       Harvey Stevens                                             Last 4 digits of account number                                                     $100,000.00
          Nonpriority Creditor's Name
          8 East 83rd Street Apt 10F                                 When was the debt incurred?           8/1/2015
          NY 10028
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC




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 4.2
 74       Herbert Ash                                                Last 4 digits of account number                                                      $67,000.00
          Nonpriority Creditor's Name
          111 Reni Road                                              When was the debt incurred?           11/3/2014
          Manhasset, NY 11030
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 227 E 67th Street Holding LLC


 4.2
 75       Herminio Torres                                            Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          6916 58th Road                                             When was the debt incurred?           12/21/2016
          Maspeth, NY 11378
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 43 Middle Pond Road Holding
              Yes                                                       Other. Specify   LLC


 4.2
 76       Herminio Torres                                            Last 4 digits of account number                                                     $100,000.00
          Nonpriority Creditor's Name
          6916 58th Road                                             When was the debt incurred?           12/4/2015
          Maspeth, NY 11378
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC




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 4.2
 77       Herminio Torres                                            Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          6916 58th Road                                             When was the debt incurred?           10/6/2017
          Maspeth, NY 11378
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 2800 Bruckner Holding LLC


 4.2
 78       Hewlett Trading Co. LLC                                    Last 4 digits of account number                                                     $100,000.00
          Nonpriority Creditor's Name
          3421 Hewlett Ave                                           When was the debt incurred?           5/9/2015
          Attn: Richard Berman
          Merrick, NY 11566
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC


 4.2
 79       Hilti Inc                                                  Last 4 digits of account number       6413                                             $1,474.37
          Nonpriority Creditor's Name
          P.O. Box 11870                                             When was the debt incurred?
          Neward, NJ 07101-8800
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Trade debt




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 4.2
 80       Infiniti Financial Services                                Last 4 digits of account number                                                      $18,525.00
          Nonpriority Creditor's Name
          PO Box 740596                                              When was the debt incurred?           7/18/2016
          Cincinnati, OH 45274
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Auto Lease - Michael Paul Enterprises, LLC


 4.2
 81       Integrated Electronic Solutions Inc                        Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          1053 Saw Mill River Road                                   When was the debt incurred?           8/4/2015
          Yonkers, NY 10710
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC


 4.2
 82       Integrated Electronic Solutions Inc                        Last 4 digits of account number                                                      $52,800.00
          Nonpriority Creditor's Name
          1053 Saw Mill River Road                                   When was the debt incurred?           2/26/2015
          Yonkers, NY 10710
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 323 East 53rd Holding LLC




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 4.2
 83       Ira Gordon                                                 Last 4 digits of account number                                                      $67,000.00
          Nonpriority Creditor's Name
          154 Mason Street                                           When was the debt incurred?           11/7/2014
          Staten Island, NY 10304
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 227 E 67th Street Holding LLC


 4.2
 84       Ira Gordon                                                 Last 4 digits of account number                                                      $52,800.00
          Nonpriority Creditor's Name
          154 Mason Street                                           When was the debt incurred?           3/13/2015
          Staten Island, NY 10304
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 323 East 53rd Holding LLC


 4.2
 85       Irene D'Alessio                                            Last 4 digits of account number                                                     $334,929.09
          Nonpriority Creditor's Name
          55 North Broadway Apt 2-9                                  When was the debt incurred?
          White Plains, NY 10601
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Promissory Note




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 4.2
 86       Irwin Associates Inc                                       Last 4 digits of account number                                                      $13,063.12
          Nonpriority Creditor's Name
          247 West 37th Street - 12th floor                          When was the debt incurred?
          New York, NY 10018
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Trade debt - Michael Paul Enterprises, LLC


 4.2
 87       J.S.K. Construction Corp                                   Last 4 digits of account number                                                      $29,000.00
          Nonpriority Creditor's Name
          130-26 Atlantic Ave S.                                     When was the debt incurred?
          Richmond Hill, NY 11419
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Trade debt - Michael Paul Enterprises, LLC


 4.2
 88       Jack Perlman                                               Last 4 digits of account number                                                     $200,000.00
          Nonpriority Creditor's Name
          35 West 94th Street                                        When was the debt incurred?           10/13/2015
          New York, NY 10025
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC




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 4.2
 89       Jaclyn Bonomo                                              Last 4 digits of account number                                                     $100,000.00
          Nonpriority Creditor's Name
          10 Walter Lane                                             When was the debt incurred?           8/6/2015
          Manhasset, NY 11030
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC


 4.2
 90       Jaclyn Bonomo                                              Last 4 digits of account number                                                      $93,000.00
          Nonpriority Creditor's Name
          10 Walter Lane                                             When was the debt incurred?           5/4/2015
          Manhasset, NY 11030
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 184 East 64th Street Holding
              Yes                                                       Other. Specify   LLC


 4.2
 91       Jacqueline Martinez                                        Last 4 digits of account number                                                     $100,000.00
          Nonpriority Creditor's Name
          9 Thomas Drive                                             When was the debt incurred?           12/11/2015
          Hauppauge, NY 11788
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC




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 4.2
 92       James Slattery                                             Last 4 digits of account number                                                      $33,500.00
          Nonpriority Creditor's Name
          583 Ocean Ave                                              When was the debt incurred?           11/5/2014
          Massapequa, NY 11758
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 227 E 67th Street Holding LLC


 4.2
 93       Janovic                                                    Last 4 digits of account number       7298                                               $248.98
          Nonpriority Creditor's Name
          888 Lexington Avenue                                       When was the debt incurred?
          New York, NY 10065
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Trade debt


 4.2
 94       Jason Griffith                                             Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          66 Hillside Crescent                                       When was the debt incurred?           6/21/2016
          New Rochelle, NY 10804
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC




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 4.2
 95       Jason Griffith                                             Last 4 digits of account number                                                      $93,000.00
          Nonpriority Creditor's Name
          66 Hillside Crescent                                       When was the debt incurred?           4/25/2015
          New Rochelle, NY 10804
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 184 East 64th Street Holding
              Yes                                                       Other. Specify   LLC


 4.2
 96       Jason Griffith                                             Last 4 digits of account number                                                      $33,500.00
          Nonpriority Creditor's Name
          66 Hillside Crescent                                       When was the debt incurred?           10/29/2014
          New Rochelle, NY 10804
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 227 E 67th Street Holding LLC


 4.2
 97       Jason Lieberman                                            Last 4 digits of account number                                                      $33,500.00
          Nonpriority Creditor's Name
          28 Birch Drive                                             When was the debt incurred?           11/4/2014
          Thiells, NY 10984
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 227 E 67th Street Holding LLC




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 4.2
 98       Jason Lieberman                                            Last 4 digits of account number                                                      $52,800.00
          Nonpriority Creditor's Name
          28 Birch Drive                                             When was the debt incurred?           3/26/2015
          Thiells, NY 10984
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 323 East 53rd Holding LLC


 4.2
 99       Jeffrey Mortman                                            Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          2 Stratton Drive                                           When was the debt incurred?           8/14/2015
          Wayne, NJ 07470
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC


 4.3
 00       Jeffrey Mortman                                            Last 4 digits of account number                                                      $33,500.00
          Nonpriority Creditor's Name
          2 Stratton Drive                                           When was the debt incurred?           11/18/2014
          Wayne, NJ 07470
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 227 E 67th Street Holding LLC




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 4.3
 01       Jeffrey Pinsky                                             Last 4 digits of account number                                                     $100,000.00
          Nonpriority Creditor's Name
          22 Highfield Ave                                           When was the debt incurred?           7/7/2016
          Port washington, NY 11050
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC


 4.3
 02       Jeffrey Rosenthal                                          Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          15 Blair Road                                              When was the debt incurred?           8/23/2017
          Armonk, NY 10504
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 2800 Bruckner Holding LLC


 4.3
 03       Jeffrey T. Butler, P.E. P.C.                               Last 4 digits of account number                                                        $1,250.00
          Nonpriority Creditor's Name
          206 Lincoln Street                                         When was the debt incurred?           1/13/2018
          Riverhead, NY 11901
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Trade debt - 3 Sandpiper Court LLC




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 4.3
 04       Jeffrey T. Butler, P.E. P.C.                               Last 4 digits of account number                                                      $25,170.00
          Nonpriority Creditor's Name
          206 Lincoln Street                                         When was the debt incurred?           1/3/2018
          Riverhead, NY 11901
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Trade debt - 41-45 MPR Holding LLC


 4.3
 05       Jennifer Chervin                                           Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          1636 Wenonah Trail                                         When was the debt incurred?           9/7/2017
          Mohegan Lake, NY 10547
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 2800 Bruckner Holding LLC


 4.3
 06       Jerry Pinsky                                               Last 4 digits of account number                                                     $200,000.00
          Nonpriority Creditor's Name
          163 Pondview Drive                                         When was the debt incurred?           7/25/2015
          Port Washington, NY 11050
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC




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 4.3
 07       Jerry Pinsky                                               Last 4 digits of account number                                                      $67,000.00
          Nonpriority Creditor's Name
          163 Pondview Drive                                         When was the debt incurred?           10/29/2014
          Port Washington, NY 11050
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 227 E 67th Street Holding LLC


 4.3
 08       Jet Blue                                                   Last 4 digits of account number       9467                                             $6,700.00
          Nonpriority Creditor's Name
          PO Box 8801                                                When was the debt incurred?
          Wilmington, DE 19899
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit card purchases and cash advances


 4.3
 09       Jilco Window Corp                                          Last 4 digits of account number       0606                                          $171,565.79
          Nonpriority Creditor's Name
          P.O.Box 1 135 Mahopac Ave                                  When was the debt incurred?
          Granite Springs, NY 10527
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Trade debt




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 4.3
 10       Joanna Blum                                                Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          5 Sherman Ave                                              When was the debt incurred?           3/28/2017
          White Plains, NY 10605
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - Purchase Capital Partners LLC


 4.3      John & Catherine Strange
 11       Irrevocable                                                Last 4 digits of account number                                                     $100,000.00
          Nonpriority Creditor's Name
           Trust                                                     When was the debt incurred?           8/23/2017
          10 Cotswold Circle
          Manalapan, NY 07726
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 2800 Bruckner Holding LLC


 4.3
 12       John Bonito                                                Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          9 Halock Drive                                             When was the debt incurred?           7/27/2016
          Greenwich, CT 06831
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC




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 4.3
 13       John Cannon                                                Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          15 Farmington Lane                                         When was the debt incurred?           8/7/2015
          Melville, NY 11747
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC


 4.3
 14       John Cannon                                                Last 4 digits of account number                                                      $93,000.00
          Nonpriority Creditor's Name
          15 Farmington Lane                                         When was the debt incurred?           4/30/2015
          Melville, NY 11747
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 184 East 64th Street Holding
              Yes                                                       Other. Specify   LLC


 4.3
 15       John Ernenwein                                             Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          51 Osborne Road                                            When was the debt incurred?           8/10/2015
          Garden City, NY 11530
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC




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 4.3
 16       John Ernenwein                                             Last 4 digits of account number                                                      $93,000.00
          Nonpriority Creditor's Name
          51 Osborne Road                                            When was the debt incurred?           5/4/2015
          Garden City, NY 11530
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 184 East 64th Street Holding
              Yes                                                       Other. Specify   LLC


 4.3
 17       John Ernenwein                                             Last 4 digits of account number                                                      $67,000.00
          Nonpriority Creditor's Name
          51 Osborne Road                                            When was the debt incurred?           10/30/2014
          Garden City, NY 11530
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 227 E 67th Street Holding LLC


 4.3
 18       John Ernenwein                                             Last 4 digits of account number                                                     $105,600.00
          Nonpriority Creditor's Name
          51 Osborne Road                                            When was the debt incurred?           2/26/2015
          Garden City, NY 11530
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 323 East 53rd Holding LLC




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 4.3
 19       John Pantanelli                                            Last 4 digits of account number                                                    $2,000,000.00
          Nonpriority Creditor's Name
          150 Old Mamaroneck Road                                    When was the debt incurred?           2/9/2017
          White Plains, NY 10605
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 145-147 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC


 4.3
 20       John Pantanelli                                            Last 4 digits of account number                                                    $1,200,000.00
          Nonpriority Creditor's Name
          150 Old Mamaroneck Road                                    When was the debt incurred?           11/27/2017
          White Plains, NY 10605
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 937 Post Road Holding LLC


 4.3
 21       John Quattrochi                                            Last 4 digits of account number                                                     $200,000.00
          Nonpriority Creditor's Name
          5629 Passion Flower Way                                    When was the debt incurred?           8/21/2017
          The Villages, FL 32163
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 2800 Bruckner Holding LLC




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 4.3
 22       John Strange                                               Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          48 Haywood Street                                          When was the debt incurred?           8/11/2017
          Staten Island, NY 10307
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 2800 Bruckner Holding LLC


 4.3
 23       Joint Venture MBP, LLC                                     Last 4 digits of account number                                                     $528,000.00
          Nonpriority Creditor's Name
          42 Bayview Ave                                             When was the debt incurred?           3/12/2015
          Attn: Charles Hirsch
          Manhasset, NY 11030
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 323 East 53rd Holding LLC


 4.3
 24       Jon Hansburg                                               Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          19 Smith Farm Road                                         When was the debt incurred?           8/12/2015
          Bedford, NY 10506
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC




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 4.3
 25       Joseph Breda                                               Last 4 digits of account number                                                     $300,000.00
          Nonpriority Creditor's Name
          438 5th Avenue                                             When was the debt incurred?           7/20/2016
          Pelham, NY 10803
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC


 4.3
 26       Joseph Crocco Architect PC                                 Last 4 digits of account number                                                        $5,220.50
          Nonpriority Creditor's Name
          4 MacDonald Avenue                                         When was the debt incurred?           8/3/2016
          Suite 5
          Armonk, NY 10504
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Trade debt - 3 Sandpiper Court LLC


 4.3
 27       Joseph Crocco Architect PC                                 Last 4 digits of account number                                                      $25,003.25
          Nonpriority Creditor's Name
          4 MacDonald Avenue                                         When was the debt incurred?           10/20/2017
          Suite 5
          Armonk, NY 10504
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Trade debt - 41-45 MPR Holding LLC




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 4.3
 28       Joseph Crocco Architect PC                                 Last 4 digits of account number                                                      $30,000.00
          Nonpriority Creditor's Name
          4 MacDonald Avenue                                         When was the debt incurred?
          suite 5
          Armonk, NY 10504
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Trade debt - Michael Paul Enterprises, LLC


 4.3
 29       Joseph Dinoia                                              Last 4 digits of account number                                                      $93,000.00
          Nonpriority Creditor's Name
          15833 Double Eagle Trail                                   When was the debt incurred?           5/5/2015
          Delray Beach, FL 33446
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 184 East 64th Street Holding
              Yes                                                       Other. Specify   LLC


 4.3
 30       Joseph Dinoia                                              Last 4 digits of account number                                                     $100,000.00
          Nonpriority Creditor's Name
          15833 Double Eagle Trail                                   When was the debt incurred?           8/4/2015
          Delray Beach, FL 33446
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC




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 4.3
 31       Joseph Raab                                                Last 4 digits of account number                                                      $67,000.00
          Nonpriority Creditor's Name
          18 Oaks Lane                                               When was the debt incurred?           10/27/2014
          Boynton Beach, FL 33436
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 227 E 67th Street Holding LLC


 4.3
 32       Josh Manson                                                Last 4 digits of account number                                                     $150,000.00
          Nonpriority Creditor's Name
          54 The Oaks                                                When was the debt incurred?           8/8/2015
          Roslyn, NY 11576
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC


 4.3
 33       Joshua & Angie Brown                                       Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          15 Tally Ho Lane                                           When was the debt incurred?           1/14/2017
          Stamford, CT 06905
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 145-147 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC




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 4.3
 34       Joshua & Angie Brown                                       Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          15 Tally Ho Lane                                           When was the debt incurred?           4/18/2017
          Stamford, CT 06905
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 15-17 Circle Holding LLC


 4.3
 35       Joshua & Angie Brown                                       Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          15 Tally Ho Lane                                           When was the debt incurred?           6/10/2016
          Stamford, CT 06905
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC


 4.3
 36       Joshua & Angie Brown                                       Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          15 Tally Ho Lane                                           When was the debt incurred?           8/19/2017
          Stamford, CT 06905
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 2800 Bruckner Holding LLC




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 4.3
 37       Judah Hammer                                               Last 4 digits of account number                                                     $100,000.00
          Nonpriority Creditor's Name
          301 Eastwood Road                                          When was the debt incurred?           8/4/2015
          Woodmere, NY 11598
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC


 4.3
 38       Judah Hammer                                               Last 4 digits of account number                                                      $52,800.00
          Nonpriority Creditor's Name
          301 Eastwood Road                                          When was the debt incurred?           4/1/2015
          Woodmere, NY 11598
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 323 East 53rd Holding LLC


 4.3
 39       Julianne Bonomo                                            Last 4 digits of account number                                                     $100,000.00
          Nonpriority Creditor's Name
          10 Walter Lane                                             When was the debt incurred?           8/6/2015
          Manhasset, NY 11030
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC




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 4.3
 40       Julianne Bonomo                                            Last 4 digits of account number                                                      $93,000.00
          Nonpriority Creditor's Name
          10 Walter Lane                                             When was the debt incurred?           5/4/2015
          Manhasset, NY 11030
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 184 East 64th Street Holding
              Yes                                                       Other. Specify   LLC


 4.3
 41       Karen Greenbaum                                            Last 4 digits of account number                                                     $500,000.00
          Nonpriority Creditor's Name
          29 Flamingo Road North                                     When was the debt incurred?           8/21/2017
          Roslyn, NY 11576
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 2800 Bruckner Holding LLC


 4.3
 42       Karen Greenbaum                                            Last 4 digits of account number                                                     $200,000.00
          Nonpriority Creditor's Name
          29 Flamingo Road North                                     When was the debt incurred?           3/28/2017
          Roslyn, NY 11576
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - Purchase Capital Partners LLC




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 4.3
 43       Keith Hummel                                               Last 4 digits of account number                                                     $100,000.00
          Nonpriority Creditor's Name
          10 Carriage Hill Road                                      When was the debt incurred?           6/16/2016
          West Harrison, NY 10604
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 3 Sandpiper Court Holding LLC


 4.3
 44       Keith Hummel                                               Last 4 digits of account number                                                     $100,000.00
          Nonpriority Creditor's Name
          10 Carriage Hill Road                                      When was the debt incurred?           12/16/2016
          West Harrison, NY 10604
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 43 Middle Pond Road Holding
              Yes                                                       Other. Specify   LLC


 4.3
 45       Keith Hummel                                               Last 4 digits of account number                                                     $150,000.00
          Nonpriority Creditor's Name
          10 Carriage Hill Road                                      When was the debt incurred?           8/6/2015
          West Harrison, NY 10604
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC




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 4.3
 46       Keith Hummel                                               Last 4 digits of account number                                                     $134,000.00
          Nonpriority Creditor's Name
          10 Carriage Hill Road                                      When was the debt incurred?           6/13/2017
          West Harrison, NY 10604
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 227 E 67th Street Holding LLC


 4.3
 47       Keith Hummel                                               Last 4 digits of account number                                                     $100,000.00
          Nonpriority Creditor's Name
          10 Carriage Hill Road                                      When was the debt incurred?           8/16/2017
          West Harrison, NY 10604
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 2800 Bruckner Holding LLC


 4.3
 48       Keith Hummel                                               Last 4 digits of account number                                                     $100,000.00
          Nonpriority Creditor's Name
          10 Carriage Hill Road                                      When was the debt incurred?           3/16/2017
          West Harrison, NY 10604
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - Purchase Capital Partners LLC




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 4.3
 49       KMT Group                                                  Last 4 digits of account number                                                     $100,000.00
          Nonpriority Creditor's Name
          Attn: Elliot Phillips                                      When was the debt incurred?           6/28/2017
          40 Daniel Street
          Suite 7 Farmingdale, NY 11735
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - Bluestone 163-165 LLC


 4.3
 50       Kuldeepak Acharya                                          Last 4 digits of account number                                                     $100,000.00
          Nonpriority Creditor's Name
          338 Whiteman Street                                        When was the debt incurred?           8/21/2017
          Ft. Lee, NJ 07024
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 2800 Bruckner Holding LLC


 4.3
 51       Kurt Voellmicke                                            Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          20 Belvedere Court                                         When was the debt incurred?           9/9/2016
          Ridgefield, CT 06877
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC




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 4.3
 52       Kurt Voellmicke                                            Last 4 digits of account number                                                     $100,000.00
          Nonpriority Creditor's Name
          20 Belvedere Court                                         When was the debt incurred?           3/20/2017
          Ridgefield, CT 06877
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - Purchase Capital Partners LLC


 4.3
 53       Lance Kuba                                                 Last 4 digits of account number                                                     $100,000.00
          Nonpriority Creditor's Name
          50 Sagamore Drive                                          When was the debt incurred?           8/22/2017
          Syosset, NY 11791
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 2800 Bruckner Holding LLC


 4.3
 54       Lance Kuba                                                 Last 4 digits of account number                                                     $100,000.00
          Nonpriority Creditor's Name
          50 Sagamore Drive                                          When was the debt incurred?           3/30/2017
          Syosset, NY 11791
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - Purchase Capital Partners LLC




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 4.3
 55       Laurie Waters                                              Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          25 Carrol Place                                            When was the debt incurred?           3/24/2017
          Greenlawn, NY 11740
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - Purchase Capital Partners LLC


 4.3
 56       Lawrence & Fara Tesser                                     Last 4 digits of account number                                                     $100,000.00
          Nonpriority Creditor's Name
          1968 Melthew Ct.                                           When was the debt incurred?           8/15/2015
          Merrick, NY 11566
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC


 4.3
 57       Lawrence Dolin                                             Last 4 digits of account number                                                     $100,000.00
          Nonpriority Creditor's Name
          11 Sands Court                                             When was the debt incurred?           10/22/2015
          Port Washington, NY 11050
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC




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 4.3
 58       Lawrence Dolin                                             Last 4 digits of account number                                                      $93,000.00
          Nonpriority Creditor's Name
          11 Sands Court                                             When was the debt incurred?           5/9/2015
          Port Washington, NY 11050
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 184 East 64th Street Holding
              Yes                                                       Other. Specify   LLC


 4.3
 59       Lawrence Dolin                                             Last 4 digits of account number                                                      $33,500.00
          Nonpriority Creditor's Name
          11 Sands Court                                             When was the debt incurred?           11/4/2014
          Port Washington, NY 11050
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 227 E 67th Street Holding LLC


 4.3
 60       Lawrence Dolin                                             Last 4 digits of account number                                                     $105,600.00
          Nonpriority Creditor's Name
          11 Sands Court                                             When was the debt incurred?           2/27/2015
          Port Washington, NY 11050
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 323 East 53rd Holding LLC




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 4.3
 61       LDSP LLC Attn: Phil Healy                                  Last 4 digits of account number                                                     $250,000.00
          Nonpriority Creditor's Name
          12 Knoll Crest Drive                                       When was the debt incurred?           9/15/2017
          Bedford, NH 03110
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 41-45 MPR Holding LLC


 4.3
 62       Leiberts Royal Green                                       Last 4 digits of account number       1994                                           $11,570.43
          Nonpriority Creditor's Name
          228 East Post Road                                         When was the debt incurred?           8/11/2017
          White Plains, NY 10601
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Trade debt


 4.3
 63       Leonard Shendell                                           Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          7 Sunrise Drive                                            When was the debt incurred?           6/22/2016
          Armond, NY 10504
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 3 Sandpiper Court Holding LLC




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 4.3
 64       Lillian Fazio                                              Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          8716 Crystal Rock Lane                                     When was the debt incurred?           12/6/2016
          Laurel, MD 20708
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 43 Middle Pond Road Holding
              Yes                                                       Other. Specify   LLC


 4.3
 65       Lillian Fazio                                              Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          8716 Crystal Rock Lane                                     When was the debt incurred?           8/4/2015
          Laurel, MD 20708
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC


 4.3
 66       Lillian Fazio                                              Last 4 digits of account number                                                      $67,000.00
          Nonpriority Creditor's Name
          8716 Crystal Rock Lane                                     When was the debt incurred?           11/5/2014
          Laurel, MD 20708
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 227 E 67th Street Holding LLC




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 4.3
 67       Lippolis Electric Inc                                      Last 4 digits of account number                                                      $77,448.00
          Nonpriority Creditor's Name
          25 Seventh Street                                          When was the debt incurred?           8/3/2016
          Pelham, NY 10803
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Trade debt - Michael Paul Enterprises, LLC


 4.3
 68       Lippolis Electric Inc                                      Last 4 digits of account number                                                      $74,400.00
          Nonpriority Creditor's Name
          25 Seventh Street                                          When was the debt incurred?           8/24/2016
          Pelham, NY 10803
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Trade debt - Michael Paul Enterprises, LLC


 4.3
 69       Lippolis Electric Inc                                      Last 4 digits of account number                                                      $15,058.00
          Nonpriority Creditor's Name
          25 Seventh Street                                          When was the debt incurred?           10/20/2017
          Pelham, NY 10803
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Trade debt - Michael Paul Enterprises, LLC




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 4.3
 70       Lippolis Electric Inc                                      Last 4 digits of account number                                                        $8,637.00
          Nonpriority Creditor's Name
          25 Seventh Street                                          When was the debt incurred?           10/20/2017
          Pelham, NY 10803
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Trade debt - Michael Paul Enterprises, LLC


 4.3
 71       Lippolis Electric Inc                                      Last 4 digits of account number                                                        $1,950.00
          Nonpriority Creditor's Name
          25 Seventh Street                                          When was the debt incurred?           4/3/2018
          Pelham, NY 10803
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Trade debt - Michael Paul Enterprises, LLC


 4.3
 72       Lisa West                                                  Last 4 digits of account number                                                     $100,000.00
          Nonpriority Creditor's Name
          33 Gateway Drive                                           When was the debt incurred?           10/23/2015
          Great Neck, NY 11021
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC




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 4.3
 73       Lisa West                                                  Last 4 digits of account number                                                     $279,000.00
          Nonpriority Creditor's Name
          33 Gateway Drive                                           When was the debt incurred?           4/30/2015
          Great Neck, NY 11021
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 184 East 64th Street Holding
              Yes                                                       Other. Specify   LLC


 4.3
 74       Lisa West                                                  Last 4 digits of account number                                                     $134,000.00
          Nonpriority Creditor's Name
          33 Gateway Drive                                           When was the debt incurred?           10/30/2014
          Great Neck, NY 11021
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 227 E 67th Street Holding LLC


 4.3
 75       Lisa West                                                  Last 4 digits of account number                                                     $105,600.00
          Nonpriority Creditor's Name
          33 Gateway Drive                                           When was the debt incurred?           4/1/2015
          Great Neck, NY 11021
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 323 East 53rd Holding LLC




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 4.3
 76       Luis Flores                                                Last 4 digits of account number                                                     $200,000.00
          Nonpriority Creditor's Name
          11594 N.Quandry Drive                                      When was the debt incurred?           4/29/2015
          Tucson, AZ 85737
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC


 4.3
 77       Luise Barrack                                              Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          47 Beechwood Road                                          When was the debt incurred?           11/4/2016
          Irvington, NY 10533
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC


 4.3
 78       Luise Barrack                                              Last 4 digits of account number                                                     $200,000.00
          Nonpriority Creditor's Name
          47 Beechwood Road                                          When was the debt incurred?           8/14/2017
          Irvington, NY 10533
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 2800 Bruckner Holding LLC




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 4.3
 79       Macquesten Construction                                    Last 4 digits of account number                                                     $500,000.00
          Nonpriority Creditor's Name
          Management CB Pension Plan                                 When was the debt incurred?           11/16/2016
          91 Lakeshore Dr.
          Eastchester, NY 10709
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 145-147 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC


 4.3
 80       MAF Realty Ventures LLC                                    Last 4 digits of account number                                                     $500,000.00
          Nonpriority Creditor's Name
          8 Engineers Road                                           When was the debt incurred?           12/19/2015
          Roslyn Harbor, NY 11576
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC


 4.3
 81       Marc Engel                                                 Last 4 digits of account number                                                      $67,000.00
          Nonpriority Creditor's Name
          37 Innes Road                                              When was the debt incurred?           11/5/2014
          Tenafly, NJ 07670
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 227 E 67th Street Holding LLC




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 4.3
 82       Marc Engel                                                 Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          37 Innes Road                                              When was the debt incurred?           10/1/2016
          Tenafly, NJ 07670
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 3 Sandpiper Court Holding LLC


 4.3
 83       Marc Engel                                                 Last 4 digits of account number                                                      $52,800.00
          Nonpriority Creditor's Name
          37 Innes Road                                              When was the debt incurred?           3/16/2015
          Tenafly, NJ 07670
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 323 East 53rd Holding LLC


 4.3
 84       Marc Strange                                               Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          48 Haywood Street                                          When was the debt incurred?           8/11/2017
          Staten Island, NY 10307
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 2800 Bruckner Holding LLC




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 4.3
 85       Maria Pedersen                                             Last 4 digits of account number                                                     $100,000.00
          Nonpriority Creditor's Name
          12 Byram Meadows                                           When was the debt incurred?           5/8/2015
          Chappaqua, NY 10514
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC


 4.3
 86       Marianne Tesler                                            Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          17 West 67th Street Apt 9F                                 When was the debt incurred?           9/12/2017
          New York, NY 10023
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 2800 Bruckner Holding LLC


 4.3
 87       Marianne Tesler                                            Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          17 West 67th Street Apt 9F                                 When was the debt incurred?           3/14/2017
          New York, NY 10023
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - Purchase Capital Partners LLC




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 4.3
 88       Marilyn Shendell                                           Last 4 digits of account number                                                     $100,000.00
          Nonpriority Creditor's Name
          7 Sunrise Drive                                            When was the debt incurred?           11/11/2016
          Armonk, NY 10504
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 145-147 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC


 4.3
 89       Marilyn Shendell                                           Last 4 digits of account number                                                     $100,000.00
          Nonpriority Creditor's Name
          7 Sunrise Drive                                            When was the debt incurred?           6/27/2016
          Armonk, NY 10504
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC


 4.3
 90       Marilyn Shendell                                           Last 4 digits of account number                                                      $67,000.00
          Nonpriority Creditor's Name
          7 Sunrise Drive                                            When was the debt incurred?           10/24/2014
          Armonk, NY 10504
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 227 E 67th Street Holding LLC




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 4.3
 91       Marilyn Shendell                                           Last 4 digits of account number                                                      $52,800.00
          Nonpriority Creditor's Name
          7 Sunrise Drive                                            When was the debt incurred?           2/23/2015
          Armonk, NY 10504
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 323 East 53rd Holding LLC


 4.3
 92       Marilyn Yukelson                                           Last 4 digits of account number                                                      $93,000.00
          Nonpriority Creditor's Name
          12 Angler Lane                                             When was the debt incurred?           5/2/2015
          Port Washington, NY 11050
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 184 East 64th Street Holding
              Yes                                                       Other. Specify   LLC


 4.3                                                                                                       Michael
 93       Marina District Dev. Co. BHCS                              Last 4 digits of account number       D'Alessio                                     $590,000.00
          Nonpriority Creditor's Name
          Casino Depository Acct (Borgata                            When was the debt incurred?
          Casino)
          One Borgata Way
          Atlantic City, NJ 08401
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Line of credit




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 4.3
 94       Mark Engel                                                 Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          1 Forest Drive                                             When was the debt incurred?           11/28/2016
          Sands Point, NY 11050
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 43 Middle Pond Road Holding
              Yes                                                       Other. Specify   LLC


 4.3
 95       Mark Engel                                                 Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          1 Forest Drive                                             When was the debt incurred?           6/22/2016
          Sands Point, NY 11050
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 3 Sandpiper Court Holding LLC


 4.3
 96       Mark Engel                                                 Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          1 Forest Drive                                             When was the debt incurred?           7/12/2016
          Sands Point, NY 11050
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC




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 4.3
 97       Mark Engel                                                 Last 4 digits of account number                                                     $279,000.00
          Nonpriority Creditor's Name
          1 Forest Drive                                             When was the debt incurred?           4/30/2015
          Sands Point, NY 11050
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 184 East 64th Street Holding
              Yes                                                       Other. Specify   LLC


 4.3
 98       Mark Engel                                                 Last 4 digits of account number                                                     $268,000.00
          Nonpriority Creditor's Name
          1 Forest Drive                                             When was the debt incurred?           10/30/2014
          Sands Point, NY 11050
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 227 E 67th Street Holding LLC


 4.3
 99       Mark Engel                                                 Last 4 digits of account number                                                     $105,600.00
          Nonpriority Creditor's Name
          1 Forest Drive                                             When was the debt incurred?           2/27/2015
          Sands Point, NY 11050
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 323 East 53rd Holding LLC




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 4.4
 00       Mary Middelton                                             Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          3930 Grand Ave #308                                        When was the debt incurred?           12/16/2015
          Des Moines, IA 50312
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC


 4.4      Masters Exterminating & Pest
 01       Control Inc                                                Last 4 digits of account number                                                          $272.18
          Nonpriority Creditor's Name
          10 Mineola Avenue                                          When was the debt incurred?           1/29/2018
          Roslyn Hghts, NY 11577
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Associates LLC


 4.4
 02       Matthew Engel                                              Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          19 Soundview Lane                                          When was the debt incurred?           11/28/2016
          Sands Point, NY 11050
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 43 Middle Pond Road Holding
              Yes                                                       Other. Specify   LLC




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 4.4
 03       Matthew Engel                                              Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          19 Soundview Lane                                          When was the debt incurred?           6/22/2016
          Sands Point, NY 11050
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 3 Sandpiper Court Holding LLC


 4.4
 04       Matthew Engel                                              Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          19 Soundview Lane                                          When was the debt incurred?           7/12/2016
          Sands Point, NY 11050
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC


 4.4
 05       Matthew Engel                                              Last 4 digits of account number                                                      $93,000.00
          Nonpriority Creditor's Name
          19 Soundview Lane                                          When was the debt incurred?           5/8/2015
          Sands Point, NY 11050
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 184 East 64th Street Holding
              Yes                                                       Other. Specify   LLC




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 4.4
 06       Matthew Engel                                              Last 4 digits of account number                                                     $134,000.00
          Nonpriority Creditor's Name
          19 Soundview Lane                                          When was the debt incurred?           10/31/2014
          Sands Point, NY 11050
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 227 E 67th Street Holding LLC


 4.4
 07       Matthew Engel                                              Last 4 digits of account number                                                     $105,600.00
          Nonpriority Creditor's Name
          19 Soundview Lane                                          When was the debt incurred?           2/27/2015
          Sands Point, NY 11050
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 323 East 53rd Holding LLC


 4.4
 08       Matthew Levy                                               Last 4 digits of account number                                                      $33,500.00
          Nonpriority Creditor's Name
          145 4th Avenue                                             When was the debt incurred?           10/30/2014
          Apt 5C New York, NY 10003
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 227 E 67th Street Holding LLC




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 4.4      Mautner-Glick Corp Profit Sharing
 09       Plan                                                       Last 4 digits of account number                                                     $279,000.00
          Nonpriority Creditor's Name
          c/o David Parks                                            When was the debt incurred?           5/6/2015
          1345 Third Avenue
          New York, NY 10021
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 184 East 64th Street Holding
              Yes                                                       Other. Specify   LLC


 4.4      Mautner-Glick Corp Profit Sharing
 10       Plan                                                       Last 4 digits of account number                                                     $469,000.00
          Nonpriority Creditor's Name
          c/o David Parks                                            When was the debt incurred?           10/28/2014
          1345 Third Avenue
          New York, NY 10021
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 227 E 67th Street Holding LLC


 4.4
 11       Maxim Capital Group                                        Last 4 digits of account number       113                                           $300,000.00
          Nonpriority Creditor's Name
          660 Madison Avenue Suite 1700                              When was the debt incurred?
          New York, NY 10065
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 43 Middle Pond Road
              Yes                                                       Other. Specify   Associates LLC




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 4.4
 12       Meir Milgraum                                              Last 4 digits of account number                                                     $105,600.00
          Nonpriority Creditor's Name
          808 Columbus Ave Apt 9L                                    When was the debt incurred?           3/19/2015
          New York, NY 10025
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 323 East 53rd Holding LLC


 4.4
 13       Melvin & Karen Adler                                       Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          One Christie Place Apt 302W                                When was the debt incurred?           11/15/2016
          Scarsdale, NY 10583
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 145-147 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC


 4.4
 14       Mercedes Benz Financial Svc                                Last 4 digits of account number                                                      $32,042.52
          Nonpriority Creditor's Name
          PO Box 5209                                                When was the debt incurred?           3/27/2017
          Carol Stream, IL 60197
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Auto Lease - Michael Paul Enterprises, LLC




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 4.4
 15       Mercedes Benz Financial Svc                                Last 4 digits of account number                                                      $16,772.00
          Nonpriority Creditor's Name
          PO Box 5209                                                When was the debt incurred?           7/31/2017
          Carol Stream, IL 60197
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Auto Lease - Michael Paul Enterprises, LLC


 4.4
 16       Michael & Virginia Salvemini                               Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          51 Stoney Drive                                            When was the debt incurred?           12/19/2016
          Palm Beach Gardens, FL 33410
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC


 4.4
 17       Michael Burden                                             Last 4 digits of account number                                                     $150,000.00
          Nonpriority Creditor's Name
          45 Stonewall Circle                                        When was the debt incurred?           7/31/2015
          W. Harrison, NY 10604
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC




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 4.4
 18       Michael Burden                                             Last 4 digits of account number                                                     $100,000.00
          Nonpriority Creditor's Name
          45 Stonewall Circle                                        When was the debt incurred?           3/16/2017
          W. Harrison, NY 10604
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - Purchase Capital Partners LLC


 4.4
 19       Michael Callari                                            Last 4 digits of account number                                                     $100,000.00
          Nonpriority Creditor's Name
          138 Old Lyme Road                                          When was the debt incurred?           12/1/2016
          Purchase, NY 10577
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 43 Middle Pond Road Holding
              Yes                                                       Other. Specify   LLC


 4.4
 20       Michael Callari                                            Last 4 digits of account number                                                     $105,600.00
          Nonpriority Creditor's Name
          138 Old Lyme Road                                          When was the debt incurred?           3/12/2015
          Purchase, NY 10577
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 323 East 53rd Holding LLC




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 4.4
 21       Michael Cirenza                                            Last 4 digits of account number                                                     $100,000.00
          Nonpriority Creditor's Name
          20 East Drive                                              When was the debt incurred?           8/23/2017
          Garden City, NY 11530
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 2800 Bruckner Holding LLC


 4.4
 22       Michael Eigner                                             Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          3674 Toulouse Drive                                        When was the debt incurred?           7/15/2016
          Palm Beach Gardens, FL 33410
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC


 4.4
 23       Michael Finamore                                           Last 4 digits of account number                                                     $500,000.00
          Nonpriority Creditor's Name
          8 Engineers Road                                           When was the debt incurred?           4/30/2015
          Roslyn Harbor, NY 11576
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - Bluestone Capital Partners LLC




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 4.4
 24       Michael Kesselman                                          Last 4 digits of account number                                                     $100,000.00
          Nonpriority Creditor's Name
          317 Chestnut Street                                        When was the debt incurred?           8/11/2015
          W. Hempstead, NY 11552
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC


 4.4
 25       Michael Kesselman                                          Last 4 digits of account number                                                      $93,000.00
          Nonpriority Creditor's Name
          317 Chestnut Street                                        When was the debt incurred?           5/5/2015
          W. Hempstead, NY 11552
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 184 East 64th Street Holding
              Yes                                                       Other. Specify   LLC


 4.4
 26       Michael Kesselman                                          Last 4 digits of account number                                                      $52,800.00
          Nonpriority Creditor's Name
          317 Chestnut Street                                        When was the debt incurred?           3/18/2015
          W. Hempstead, NY 11552
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 323 East 53rd Holding LLC




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 4.4
 27       Michael Klarman                                            Last 4 digits of account number                                                      $33,500.00
          Nonpriority Creditor's Name
          16 Woodvalley Lane                                         When was the debt incurred?           10/28/2014
          Port Washington, NY 11050
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 227 E 67th Street Holding LLC


 4.4
 28       Michael Rothschild                                         Last 4 digits of account number                                                      $93,000.00
          Nonpriority Creditor's Name
          c/o AJ Clarke Real Estate 1881                             When was the debt incurred?           5/7/2015
          Broadway
          New York, NY 10023
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 184 East 64th Street Holding
              Yes                                                       Other. Specify   LLC


 4.4
 29       Michael Shenker                                            Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          113 Harrison Road                                          When was the debt incurred?           8/4/2015
          Wayne, NJ 07470
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC




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 4.4
 30       Michael Strauss                                            Last 4 digits of account number                                                      $67,000.00
          Nonpriority Creditor's Name
          205 Third Ave #14B                                         When was the debt incurred?           10/31/2014
          New York, NY 10003
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 227 E 67th Street Holding LLC


 4.4
 31       Michael Wurf                                               Last 4 digits of account number                                                      $33,500.00
          Nonpriority Creditor's Name
          661 Ellen Place                                            When was the debt incurred?           10/30/2014
          Oradell, NJ 07649
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 227 E 67th Street Holding LLC


 4.4
 32       Michael Wurf                                               Last 4 digits of account number                                                      $52,800.00
          Nonpriority Creditor's Name
          661 Ellen Place                                            When was the debt incurred?           3/26/2015
          Oradell, NJ 07649
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 323 East 53rd Holding LLC




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 4.4
 33       Michele DeFranco                                           Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          27 Valley Terrace                                          When was the debt incurred?           8/11/2015
          Rye Brook, NY 10573
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC


 4.4      Monica Spier as Trustee of the
 34       Monica                                                     Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
           Spier Revocable Trust U/A                                 When was the debt incurred?           8/15/2015
          7-29-2014
          120 Bennett Ave
          Apt 4L New York, NY 10033
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC


 4.4      Monica Spier as Trustee of the
 35       Monica                                                     Last 4 digits of account number                                                      $67,000.00
          Nonpriority Creditor's Name
           Spier Revocable Trust U/A                                 When was the debt incurred?           10/31/2014
          7-29-2014
          120 Bennett Ave
          Apt 4L New York, NY 10033
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 227 E 67th Street Holding LLC



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 4.4
 36       Mr. John Inc                                               Last 4 digits of account number       8536                                               $643.74
          Nonpriority Creditor's Name
          P.O. Box 130                                               When was the debt incurred?           1/3/2018
          Keansbey, NJ 08832
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Trade debt


 4.4
 37       Nadia Nedelcheva                                           Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          835 Woodbine Ave                                           When was the debt incurred?           2/24/2016
          Mamaroneck, NY 10543
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC


 4.4
 38       Nathan & Pearl Halegua                                     Last 4 digits of account number                                                     $100,000.00
          Nonpriority Creditor's Name
          c/o Jonis Realty 6 Grace Ave                               When was the debt incurred?           6/22/2016
          4th Floor Great Neck, NY 11021
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC




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 4.4
 39       Nathan & Pearl Halegua                                     Last 4 digits of account number                                                      $93,000.00
          Nonpriority Creditor's Name
          c/o Jonis Realty 6 Grace Ave                               When was the debt incurred?           5/4/2015
          4th Floor Great Neck, NY 11021
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 184 East 64th Street Holding
              Yes                                                       Other. Specify   LLC


 4.4
 40       Neil Greenberg                                             Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          7 Meadow Wood Court                                        When was the debt incurred?           11/18/2016
          Huntington, NY 11743
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 145-147 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC


 4.4
 41       Neil Levy                                                  Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          36 Woodmont Road                                           When was the debt incurred?           8/12/2015
          Melville, NY 11747
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC




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 4.4
 42       Neil Levy                                                  Last 4 digits of account number                                                      $67,000.00
          Nonpriority Creditor's Name
          36 Woodmont Road                                           When was the debt incurred?           10/30/2014
          Melville, NY 11747
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 227 E 67th Street Holding LLC


 4.4
 43       Neil Ptashnik                                              Last 4 digits of account number                                                     $100,000.00
          Nonpriority Creditor's Name
          40 Forest Lake Drive                                       When was the debt incurred?           5/3/2017
          West Harrison, NY 10604
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 15-17 Circle Holding LLC


 4.4
 44       Neil Ptashnik                                              Last 4 digits of account number                                                     $150,000.00
          Nonpriority Creditor's Name
          40 Forest Lake Drive                                       When was the debt incurred?           7/29/2015
          West Harrison, NY 10604
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC




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 4.4
 45       Neil Ptashnik                                              Last 4 digits of account number                                                     $100,000.00
          Nonpriority Creditor's Name
          40 Forest Lake Drive                                       When was the debt incurred?           7/5/2017
          West Harrison, NY 10604
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - Bluestone 163-165 LLC


 4.4
 46       Neil Ptashnik                                              Last 4 digits of account number                                                     $100,000.00
          Nonpriority Creditor's Name
          40 Forest Lake Drive                                       When was the debt incurred?           3/9/2017
          West Harrison, NY 10604
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - Purchase Capital Partners LLC


 4.4
 47       Nellie Giblaint                                            Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          10045 Waterford Way                                        When was the debt incurred?           3/23/2016
          Mobile, AL 36695
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC




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 4.4
 48       New Plumbing & Heating Corp                                Last 4 digits of account number                                                      $40,525.00
          Nonpriority Creditor's Name
          1536 Stillwell Avenue                                      When was the debt incurred?           12/16/2015
          Bronx, NY 10461
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Trade debt - Michael Paul Enterprises, LLC


 4.4
 49       New Plumbing & Heating Corp                                Last 4 digits of account number                                                      $61,250.00
          Nonpriority Creditor's Name
          1536 Stillwell Avenue                                      When was the debt incurred?           12/16/2015
          Bronx, NY 10461
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Trade debt - Michael Paul Enterprises, LLC


 4.4
 50       New Plumbing & Heating Corp                                Last 4 digits of account number                                                      $22,500.00
          Nonpriority Creditor's Name
          1536 Stillwell Avenue                                      When was the debt incurred?           8/9/2017
          Bronx, NY 10461
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Trade debt - Michael Paul Enterprises, LLC




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 4.4
 51       NFR/SO                                                     Last 4 digits of account number                                                        $4,750.00
          Nonpriority Creditor's Name
          1560 Willow Drive East                                     When was the debt incurred?           11/22/2017
          Marion, NY 11939
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Trade debt - 41-45 MPR


 4.4
 52       Nicholas Guerriero                                         Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          7 Baltusrol Drive                                          When was the debt incurred?           1/19/2017
          Purchase, NY 10577
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 43 Middle Pond Road Holding
              Yes                                                       Other. Specify   LLC


 4.4
 53       Nicholas Guerriero                                         Last 4 digits of account number                                                     $100,000.00
          Nonpriority Creditor's Name
          7 Baltusrol Drive                                          When was the debt incurred?           10/1/2016
          Purchase, NY 10577
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC




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 4.4
 54       P&R Family LLC                                             Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          P.O. Box 549                                               When was the debt incurred?           8/11/2015
          Attn: Rochelle Kesselman
          West Hempstead, NY 11552
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC


 4.4
 55       P&R Family LLC                                             Last 4 digits of account number                                                      $52,800.00
          Nonpriority Creditor's Name
          P.O. Box 549                                               When was the debt incurred?           3/5/2015
          Attn: Rochelle Kesselman
          West Hempstead, NY 11552
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 323 East 53rd Holding LLC


 4.4
 56       P.S. Electrical Contracting Corp                           Last 4 digits of account number                                                      $13,630.00
          Nonpriority Creditor's Name
          628 Waverly Avenue                                         When was the debt incurred?           11/22/2017
          Mamaroneck, NY 10543
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Trade debt - Michael Paul Enterprises, LLC




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 4.4
 57       Paul Bunt                                                  Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          21150 NE 38th Ave                                          When was the debt incurred?           12/11/2015
          Apt #2901 Aventura, FL 33180
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC


 4.4
 58       PCJ Investments LLC                                        Last 4 digits of account number                                                     $100,000.00
          Nonpriority Creditor's Name
          Attn: Greg Blatt                                           When was the debt incurred?           5/1/2015
          26 Flower House Drive
          Fairfield, CT 06824
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC


 4.4
 59       PCJ Investments LLC                                        Last 4 digits of account number                                                      $52,800.00
          Nonpriority Creditor's Name
          Attn: Greg Blatt                                           When was the debt incurred?           3/18/2015
          26 Flower House Drive
          Fairfield, CT 06824
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 323 East 53rd Holding LLC




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 Debtor 1 Michael P. D'Alessio                                                                            Case number (if know)         18-22552

 4.4
 60       Pearl Halegua Family Trust                                 Last 4 digits of account number                                                      $52,800.00
          Nonpriority Creditor's Name
           FBO Aaron Halegua                                         When was the debt incurred?           3/3/2015
          c/o Jonis Realty
          6 Grace Ave, 4th Floor
          Great Neck, NY 11021
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 323 East 53rd Holding LLC


 4.4
 61       Pearl Halegua Family Trust                                 Last 4 digits of account number                                                      $52,800.00
          Nonpriority Creditor's Name
           FBO Joshua Halegua                                        When was the debt incurred?           3/3/2015
          c/o Jonis Realty
          6 Grace Ave, 4th Floor
          Great Neck, NY 11021
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 323 East 53rd Holding LLC


 4.4      Pensco Trust Company FBO
 62       Howard Rosen                                               Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          P.O. Box 173859                                            When was the debt incurred?           8/11/2015
          Denver, CO 80217
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC




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 Debtor 1 Michael P. D'Alessio                                                                            Case number (if know)         18-22552

 4.4      Pensco Trust Company FBO
 63       Howard Rosen                                               Last 4 digits of account number                                                      $93,000.00
          Nonpriority Creditor's Name
          P.O. Box 173859                                            When was the debt incurred?           5/11/2015
          Denver, CO 80217
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 184 East 64th Street Holding
              Yes                                                       Other. Specify   LLC


 4.4      Pensco Trust Company FBO James
 64       Wacht                                                      Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          C/O James Wacht                                            When was the debt incurred?           8/6/2015
          600 Madison Ave
          New York, NY 10022
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC


 4.4
 65       Peter Dreyfuss                                             Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          440 East 79th Street                                       When was the debt incurred?           8/7/2015
          Apt 12B New York, NY 10075
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC




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 4.4
 66       Peter Dreyfuss                                             Last 4 digits of account number                                                      $52,800.00
          Nonpriority Creditor's Name
          440 East 79th Street                                       When was the debt incurred?           3/3/2015
          Apt 12B New York, NY 10075
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 323 East 53rd Holding LLC


 4.4
 67       Peter Rosenthal                                            Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          23 Percheron Lane                                          When was the debt incurred?           10/5/2015
          Roslyn Heights, NY 11577
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC


 4.4
 68       Peter Rosenthal                                            Last 4 digits of account number                                                      $52,800.00
          Nonpriority Creditor's Name
          23 Percheron Lane                                          When was the debt incurred?           3/9/2015
          Roslyn Heights, NY 11577
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 323 East 53rd Holding LLC




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 4.4
 69       Peter Rosenthal                                            Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          23 Percheron Lane                                          When was the debt incurred?           9/2/2015
          Roslyn Heights, NY 11577
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - Bluestone Capital Partners LLC


 4.4
 70       Phil Healy                                                 Last 4 digits of account number                                                     $250,000.00
          Nonpriority Creditor's Name
          12 Knoll Crest Drive                                       When was the debt incurred?           6/26/2017
          Bedford, NH 03110
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - Bluestone 163-165 LLC


 4.4
 71       Philip Fiederlein                                          Last 4 digits of account number                                                     $100,000.00
          Nonpriority Creditor's Name
          4 North Lane                                               When was the debt incurred?           7/31/2015
          Mahopac, NY 10541
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC




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 4.4
 72       Philip Fiederlein                                          Last 4 digits of account number                                                      $93,000.00
          Nonpriority Creditor's Name
          4 North Lane                                               When was the debt incurred?           5/6/2015
          Mahopac, NY 10541
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 184 East 64th Street Holding
              Yes                                                       Other. Specify   LLC


 4.4
 73       Philip Fiederlein                                          Last 4 digits of account number                                                     $134,000.00
          Nonpriority Creditor's Name
          4 North Lane                                               When was the debt incurred?           11/4/2014
          Mahopac, NY 10541
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 227 E 67th Street Holding LLC


 4.4
 74       Philip Fiederlein                                          Last 4 digits of account number                                                     $105,600.00
          Nonpriority Creditor's Name
          4 North Lane                                               When was the debt incurred?           2/26/2015
          Mahopac, NY 10541
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 323 East 53rd Holding LLC




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 4.4      Philip Goldstein Living Trust
 75       11/30/10                                                   Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          Philip Goldstein as Trustee                                When was the debt incurred?           4/10/2017
          3975 Sedgewick Ave Apt #4H
          Bronx, NY 10563
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 15-17 Circle Holding LLC


 4.4      Philip Goldstein Living Trust
 76       11/30/10                                                   Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          Philip Goldstein as Trustee                                When was the debt incurred?           7/29/2015
          3975 Sedgewick Ave Apt #4H
          Bronx, NY 10563
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC


 4.4      Philip Goldstein Living Trust
 77       11/30/10                                                   Last 4 digits of account number                                                      $33,500.00
          Nonpriority Creditor's Name
          Philip Goldstein as Trustee                                When was the debt incurred?           10/21/2014
          3975 Sedgewick Ave Apt #4H
          Bronx, NY 10563
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 227 E 67th Street Holding LLC




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 4.4
 78       Philip Iervolino                                           Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          391 Titus Way                                              When was the debt incurred?           4/26/2017
          East Williston, NY 11596
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 15-17 Circle Holding LLC


 4.4
 79       Philip Malakoff                                            Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          23 Old Field Lane                                          When was the debt incurred?           2/16/2017
          Great Neck, NY 11020
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC


 4.4
 80       Philip Malakoff                                            Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          23 Old Field Lane                                          When was the debt incurred?           9/14/2017
          Great Neck, NY 11020
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 2800 Bruckner Holding LLC




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 4.4
 81       Philippe Tesler                                            Last 4 digits of account number                                                     $100,000.00
          Nonpriority Creditor's Name
          215 West Huron Street                                      When was the debt incurred?           3/27/2017
          Chicago, IL 60654
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - Purchase Capital Partners LLC


 4.4
 82       Phyllis C. Cohen Irrevocable Trust,                        Last 4 digits of account number                                                     $100,000.00
          Nonpriority Creditor's Name
          David S. Cohen Trustee                                     When was the debt incurred?           7/31/2015
          c/o David Cohen
          48 Chester Ct.
          Cortlandt Manor, NY 10567
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC


 4.4
 83       Pilot Real Estate Group                                    Last 4 digits of account number       N/A                                          $1,400,000.00
          Nonpriority Creditor's Name
          10 Glenville St. Floor 1                                   When was the debt incurred?
          Greenwich, CT 06831
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 3 Sandpiper Court LLC




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 4.4
 84       Planet Waste Services Inc                                  Last 4 digits of account number                                                          $3,965.00
          Nonpriority Creditor's Name
          59-12 57th Street                                          When was the debt incurred?
          Maspeth, NY 11378
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Trade debt - Michael Paul Enterprises, LLC


 4.4
 85       Ponce DeLeon Bank                                          Last 4 digits of account number       0577                                            $484,139.00
          Nonpriority Creditor's Name
          2244 Westchester Avenue                                    When was the debt incurred?
          Bronx, NY 10462
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Line of credit -Michael Paul Enterprises
              Yes                                                       Other. Specify   LLC


 4.4
 86       Preferred Bank                                             Last 4 digits of account number       5379                                         $19,855,536.00
          Nonpriority Creditor's Name
          41-60 Main Street                                          When was the debt incurred?
          Flushing, NY 11355
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 227 East 67th Street Associates
              Yes                                                       Other. Specify   LLC




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 4.4
 87       Preferred Bank                                             Last 4 digits of account number       1082                                         $21,882,702.00
          Nonpriority Creditor's Name
          41-60 Main Street                                          When was the debt incurred?
          Flushing, NY 11355
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 184 East 64th Street Associates
              Yes                                                       Other. Specify   LLC


 4.4
 88       Preferred Bank                                             Last 4 digits of account number       0920                                          $2,999,000.00
          Nonpriority Creditor's Name
          41-60 Main Street                                          When was the debt incurred?
          Flushing, NY 11355
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Line of credit - 39 Middle Pond Road
              Yes                                                       Other. Specify   Associates LLC


 4.4
 89       Preferred Bank                                             Last 4 digits of account number       0922                                          $4,233,754.81
          Nonpriority Creditor's Name
          41-60 Main Street                                          When was the debt incurred?
          Flushing, NY 11355
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - Bruckner




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 4.4
 90       Preferred Bank                                             Last 4 digits of account number       0918                                         $2,600,000.00
          Nonpriority Creditor's Name
          41-60 Main Street                                          When was the debt incurred?
          Flushing, NY 11355
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Line of credit - Katsura Consulting


 4.4
 91       Pro Glass Solutions Corp                                   Last 4 digits of account number                                                      $21,819.87
          Nonpriority Creditor's Name
          53-16 39th Avenue                                          When was the debt incurred?
          Woodside, NY 11377
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Trade debt - Michael Paul Enterprises, LLC


 4.4
 92       R. W. Behan Contracting Inc                                Last 4 digits of account number                                                      $14,000.00
          Nonpriority Creditor's Name
          35 Smith Street                                            When was the debt incurred?           3/9/2018
          Blue Point, NY 11715
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Trade debt - 41 Middle Pond Associates
              Yes                                                       Other. Specify   LLC




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 4.4
 93       R. W. Behan Contracting Inc                                Last 4 digits of account number                                                      $14,000.00
          Nonpriority Creditor's Name
          35 Smith Street                                            When was the debt incurred?           3/9/2018
          Blue Point, NY 11715
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Trade debt - 45 Middle Pond Associates
              Yes                                                       Other. Specify   LLC


 4.4
 94       Ram Gupta                                                  Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          2123 Williamsbridge Road                                   When was the debt incurred?           6/29/2016
          Bronx, NY 10461
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 3 Sandpiper Court Holding LLC


 4.4
 95       Ram Gupta                                                  Last 4 digits of account number                                                     $250,000.00
          Nonpriority Creditor's Name
          2123 Williamsbridge Road                                   When was the debt incurred?           7/31/2015
          Bronx, NY 10461
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC




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 4.4
 96       Ram Gupta                                                  Last 4 digits of account number                                                     $186,000.00
          Nonpriority Creditor's Name
          2123 Williamsbridge Road                                   When was the debt incurred?           5/5/2015
          Bronx, NY 10461
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 184 East 64th Street Holding
              Yes                                                       Other. Specify   LLC


 4.4
 97       Ram Gupta                                                  Last 4 digits of account number                                                     $134,000.00
          Nonpriority Creditor's Name
          2123 Williamsbridge Road                                   When was the debt incurred?           10/30/2014
          Bronx, NY 10461
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 227 E 67th Street Holding LLC


 4.4
 98       Ram Gupta                                                  Last 4 digits of account number                                                     $105,600.00
          Nonpriority Creditor's Name
          2123 Williamsbridge Road                                   When was the debt incurred?           3/3/2015
          Bronx, NY 10461
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 323 East 53rd Holding LLC




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 4.4
 99       Rebecca Levy                                               Last 4 digits of account number                                                      $33,500.00
          Nonpriority Creditor's Name
          2 Columbus Ave Apt 39B                                     When was the debt incurred?           10/30/2014
          New York, NY 10023
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 227 E 67th Street Holding LLC


 4.5
 00       Regional Testing Corp                                      Last 4 digits of account number                                                        $1,290.00
          Nonpriority Creditor's Name
          1150 Close Avenue                                          When was the debt incurred?           11/30/2017
          Bronx, NY 10472
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Trade debt - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Associates LLC


 4.5
 01       Rejis Realty LLC                                           Last 4 digits of account number                                                     $750,000.00
          Nonpriority Creditor's Name
          c/o Mautner Glick Corp                                     When was the debt incurred?           8/12/2015
          Attn: David Parks
          1345 Third Ave
          New York, NY 10075
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC




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 4.5
 02       Rella Fogliano                                             Last 4 digits of account number                                                    $1,000,000.00
          Nonpriority Creditor's Name
          438 Fifth Avenue                                           When was the debt incurred?           7/14/2016
          Pelham, NY 10803
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC


 4.5
 03       Richard Giliotti                                           Last 4 digits of account number                                                     $200,000.00
          Nonpriority Creditor's Name
          7 Magnolia Drive                                           When was the debt incurred?           1/21/2016
          Purchase, NY 10577
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC


 4.5
 04       Richard Giliotti                                           Last 4 digits of account number                                                     $211,200.00
          Nonpriority Creditor's Name
          7 Magnolia Drive                                           When was the debt incurred?           4/1/2015
          Purchase, NY 10577
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 323 East 53rd Holding LLC




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 4.5
 05       Rita Levy                                                  Last 4 digits of account number                                                      $33,500.00
          Nonpriority Creditor's Name
          25 Wren Drive                                              When was the debt incurred?           10/29/2014
          Roslyn, NY 11576
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 227 E 67th Street Holding LLC


 4.5
 06       RNG WEA LLC                                                Last 4 digits of account number                                                     $200,000.00
          Nonpriority Creditor's Name
          Attn: Mitchell Newman                                      When was the debt incurred?           8/5/2015
          3 Oxford Court
          Morganville, NJ 07751
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC


 4.5
 07       Robert Blanda                                              Last 4 digits of account number                                                     $200,000.00
          Nonpriority Creditor's Name
          24 Whistler Way                                            When was the debt incurred?           8/18/2017
          Marlboro, NJ 07746
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 2800 Bruckner Holding LLC




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 4.5
 08       Robert Blanda                                              Last 4 digits of account number                                                     $100,000.00
          Nonpriority Creditor's Name
          24 Whistler Way                                            When was the debt incurred?           3/24/2017
          Marlboro, NJ 07746
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - Purchase Capital Partners LLC


 4.5
 09       Robert Cicero                                              Last 4 digits of account number                                                     $100,000.00
          Nonpriority Creditor's Name
          1 Fox Ridge Drive                                          When was the debt incurred?           3/22/2016
          New Milford, CT 06776
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC


 4.5
 10       Robert Cicero                                              Last 4 digits of account number                                                      $67,000.00
          Nonpriority Creditor's Name
          1 Fox Ridge Drive                                          When was the debt incurred?           8/4/2017
          New Milford, CT 06776
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 227 E 67th Holding LLC




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 4.5
 11       Robert Cicero                                              Last 4 digits of account number                                                     $100,000.00
          Nonpriority Creditor's Name
          1 Fox Ridge Drive                                          When was the debt incurred?           8/29/2017
          New Milford, CT 06776
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 2800 Bruckner Holding LLC


 4.5
 12       Robert Feldman                                             Last 4 digits of account number                                                     $300,000.00
          Nonpriority Creditor's Name
          1249 Veeder Drive                                          When was the debt incurred?           7/31/2015
          Hewlett Bay Park, NY 11557
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC


 4.5
 13       Robert Hochman                                             Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          75 Maiden Lane                                             When was the debt incurred?           12/1/2015
          Suite 802 New York, NY 10038
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC




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 4.5
 14       Robert Palestra                                            Last 4 digits of account number                                                     $100,000.00
          Nonpriority Creditor's Name
          7 Thornley Place                                           When was the debt incurred?           9/8/2017
          Holmdel, NJ 07733
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 2800 Bruckner Holding LLLC


 4.5
 15       Robert Palestra                                            Last 4 digits of account number                                                     $100,000.00
          Nonpriority Creditor's Name
          7 Thornley Place                                           When was the debt incurred?           3/29/2017
          Holmdel, NJ 07733
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - Purchase Capital Partners LLC


 4.5
 16       Robert Rosen                                               Last 4 digits of account number                                                     $100,000.00
          Nonpriority Creditor's Name
          1 Revere Lane Purchase                                     When was the debt incurred?           11/11/2016
          Purchase, NY 10577
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 145-147 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC




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 4.5
 17       Robert Rosen                                               Last 4 digits of account number                                                     $100,000.00
          Nonpriority Creditor's Name
          1 Revere Lane Purchase                                     When was the debt incurred?           7/7/2016
          Purchase, NY 10577
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC


 4.5
 18       Robert Rosenthal                                           Last 4 digits of account number                                                     $450,000.00
          Nonpriority Creditor's Name
          1 Jericho Plaza Suite 201                                  When was the debt incurred?           10/1/2015
          Jericho, NY 11753
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC


 4.5
 19       Robert Rosenthal                                           Last 4 digits of account number                                                     $186,000.00
          Nonpriority Creditor's Name
          1 Jericho Plaza Suite 201                                  When was the debt incurred?           5/4/2015
          Jericho, NY 11753
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 184 East 64th Street Holding
              Yes                                                       Other. Specify   LLC




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 4.5
 20       Robert Rosenthal                                           Last 4 digits of account number                                                     $158,400.00
          Nonpriority Creditor's Name
          1 Jericho Plaza Suite 201                                  When was the debt incurred?           3/6/2015
          Jericho, NY 11753
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 323 East 53rd Holding LLC


 4.5
 21       Robert Rosenthal                                           Last 4 digits of account number                                                     $400,000.00
          Nonpriority Creditor's Name
          1 Jericho Plaza Suite 201                                  When was the debt incurred?           8/25/2017
          Jericho, NY 11753
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 2800 Bruckner Holding LLC


 4.5
 22       Robert Rosenthal                                           Last 4 digits of account number                                                     $150,000.00
          Nonpriority Creditor's Name
          1 Jericho Plaza Suite 201                                  When was the debt incurred?           9/2/2015
          Jericho, NY 11753
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - Bluestone Capital Partners LLC




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 4.5
 23       Rochelle Kesselman                                         Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          317 Chestnut Street                                        When was the debt incurred?           8/11/2015
          W. Hempstead, NY 11552
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC


 4.5
 24       Roger Colonna                                              Last 4 digits of account number                                                     $200,000.00
          Nonpriority Creditor's Name
          24 Basswood Drive                                          When was the debt incurred?           1/12/2017
          Denville, NJ 07834
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC


 4.5
 25       Roger Schneier                                             Last 4 digits of account number                                                     $100,000.00
          Nonpriority Creditor's Name
          8167 Valhalla Drive                                        When was the debt incurred?           8/8/2015
          Delray Beach, FL 33446
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC




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 4.5
 26       Roger Schneier                                             Last 4 digits of account number                                                      $93,000.00
          Nonpriority Creditor's Name
          8167 Valhalla Drive                                        When was the debt incurred?           5/7/2015
          Delray Beach, FL 33446
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 184 East 64th Street Holding
              Yes                                                       Other. Specify   LLC


 4.5
 27       Rogliano Construction                                      Last 4 digits of account number                                                        $6,000.00
          Nonpriority Creditor's Name
          & Contracting Corp                                         When was the debt incurred?           1/3/2018
          67 Purdy Avenue
          Port Chester, NY 10573
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Trade debt - Michael Paul Enterprises, LLC


 4.5
 28       Ronald & Irene D'Alessio                                   Last 4 digits of account number                                                     $400,000.00
          Nonpriority Creditor's Name
          55 North Broadway                                          When was the debt incurred?           11/4/2015
          Apt 2-9
          White Plains, NY 10601
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - Bluestone 163-165 LLC




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 4.5
 29       Ronald & Irene D'Alessio                                   Last 4 digits of account number                                                     $100,000.00
          Nonpriority Creditor's Name
          55 North Broadway                                          When was the debt incurred?           4/30/2015
          Apt 2-9
          White Plains, NY 10601
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - Bluestone Capital Partners LLC


 4.5
 30       Ronald D'Alessio                                           Last 4 digits of account number                                                     $100,000.00
          Nonpriority Creditor's Name
          4 Wendover Road                                            When was the debt incurred?           4/5/2018
          Eastchester, NY 10709
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Promissory note - Michael D'Alessio


 4.5
 31       Ronald Garfunkel                                           Last 4 digits of account number                                                     $150,000.00
          Nonpriority Creditor's Name
          127 Church Hill Road                                       When was the debt incurred?           9/15/2015
          Washington, CT 06794
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC




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 4.5
 32       Ronald Garfunkel                                           Last 4 digits of account number                                                     $186,000.00
          Nonpriority Creditor's Name
          127 Church Hill Road                                       When was the debt incurred?           5/8/2015
          Washington, CT 06794
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 184 East 64th Street Holding
              Yes                                                       Other. Specify   LLC


 4.5
 33       Ronald Garfunkel                                           Last 4 digits of account number                                                     $105,600.00
          Nonpriority Creditor's Name
          127 Church Hill Road                                       When was the debt incurred?           3/9/2015
          Washington, CT 06794
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 323 East 53rd Holding LLC


 4.5
 34       Ronald Marchand                                            Last 4 digits of account number                                                      $67,000.00
          Nonpriority Creditor's Name
          160 Hicks Street                                           When was the debt incurred?           10/29/2014
          Westbury, NY 11590
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 227 E 67th Street Holding LLC




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 4.5
 35       Rosenberg & Estis, P.C.                                    Last 4 digits of account number                                                      $89,465.39
          Nonpriority Creditor's Name
          733 Third Avenue                                           When was the debt incurred?
          New York, NY 10017
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Legal fees - Michael Paul Enterprises, LLC


 4.5
 36       Ross Epstein                                               Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          925 Monroe Lane                                            When was the debt incurred?           8/11/2015
          Hewlett Neck, NY 11598
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC


 4.5
 37       Ross Epstein                                               Last 4 digits of account number                                                      $93,000.00
          Nonpriority Creditor's Name
          925 Monroe Lane                                            When was the debt incurred?           5/12/2015
          Hewlett Neck, NY 11598
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 184 East 64th Street Holding
              Yes                                                       Other. Specify   LLC




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 Debtor 1 Michael P. D'Alessio                                                                            Case number (if know)         18-22552

 4.5
 38       Ross Goldenberg                                            Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          116 Storer Ave                                             When was the debt incurred?           7/12/2016
          New Rochelle, NY 10801
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC


 4.5
 39       Ross Goldenberg                                            Last 4 digits of account number                                                      $33,500.00
          Nonpriority Creditor's Name
          116 Storer Ave                                             When was the debt incurred?           10/28/2014
          New Rochelle, NY 10801
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 227 E 67th Street Holding LLC


 4.5
 40       Ross Goldenberg                                            Last 4 digits of account number                                                      $52,800.00
          Nonpriority Creditor's Name
          116 Storer Ave                                             When was the debt incurred?           3/12/2015
          New Rochelle, NY 10801
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 323 East 53rd Holding LLC




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 Debtor 1 Michael P. D'Alessio                                                                            Case number (if know)         18-22552

 4.5
 41       Ross Weissman                                              Last 4 digits of account number                                                     $250,000.00
          Nonpriority Creditor's Name
          4 Cypress Point Drive                                      When was the debt incurred?           3/28/2017
          Purchase, NY 10577
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 15-17 Circle Holding LLC


 4.5
 42       Ross Weissman                                              Last 4 digits of account number                                                     $200,000.00
          Nonpriority Creditor's Name
          4 Cypress Point Drive                                      When was the debt incurred?           8/11/2015
          Purchase, NY 10577
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC


 4.5
 43       Ross Weissman                                              Last 4 digits of account number                                                     $100,000.00
          Nonpriority Creditor's Name
          4 Cypress Point Drive                                      When was the debt incurred?           3/10/2017
          Purchase, NY 10577
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - Purchase Capital Partners LLC




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 4.5
 44       Rufo A. Arias Corp                                         Last 4 digits of account number                                                      $23,692.00
          Nonpriority Creditor's Name
          59 Hancock Street - #1                                     When was the debt incurred?
          West Harrison, NY 10604
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Trade debt - Michael Paul Enterprises, LLC


 4.5
 45       RVB Construction Inc                                       Last 4 digits of account number                                                     $152,525.00
          Nonpriority Creditor's Name
          32 Pasadena Place                                          When was the debt incurred?           12/20/2017
          Mt Vernon, NY 10552
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Trade debt - Michael Paul Enterprises, LLC


 4.5
 46       RVB Construction Inc                                       Last 4 digits of account number                                                     $236,555.00
          Nonpriority Creditor's Name
          32 Pasadena Place                                          When was the debt incurred?
          Mt Vernon, NY 10552
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Trade debt - Michael Paul Enterprises, LLC




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 4.5
 47       S.R. Interiors, Inc                                        Last 4 digits of account number                                                      $11,620.00
          Nonpriority Creditor's Name
          1051 Mile Square Road                                      When was the debt incurred?
          Yonkers, NY 10704
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Trade debt - Michael Paul Enterprises, LLC


 4.5
 48       S.T.V. Realty, LLC                                         Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          Attn: Jeff Farkas                                          When was the debt incurred?           12/16/2016
          P.O. Box 750443
          Forest Hills, NY 11375
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 43 Middle Pond Road Holding
              Yes                                                       Other. Specify   LLC


 4.5
 49       S.T.V. Realty, LLC                                         Last 4 digits of account number                                                     $186,000.00
          Nonpriority Creditor's Name
          Attn: Jeff Farkas                                          When was the debt incurred?           5/12/2015
          P.O. Box 750443
          Forest Hills, NY 11375
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 184 East 64th Street Holding
              Yes                                                       Other. Specify   LLC




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 4.5
 50       S.T.V. Realty, LLC                                         Last 4 digits of account number                                                     $201,000.00
          Nonpriority Creditor's Name
          Attn: Jeff Farkas                                          When was the debt incurred?           11/4/2014
          P.O. Box 750443
          Forest Hills, NY 11375
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 227 E 67th Street Holding LLC


 4.5
 51       S.T.V. Realty, LLC                                         Last 4 digits of account number                                                     $105,600.00
          Nonpriority Creditor's Name
          Attn: Jeff Farkas                                          When was the debt incurred?           4/1/2015
          P.O. Box 750443
          Forest Hills, NY 11375
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 323 East 53rd Holding LLC


 4.5
 52       Salvatore Barone                                           Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          69 Locust Avenue                                           When was the debt incurred?           9/7/2017
          Cortlandt Manor, NY 10567
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 2800 Bruckner Holding LLC




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 4.5
 53       Salvatore Como                                             Last 4 digits of account number                                                     $100,000.00
          Nonpriority Creditor's Name
          144 Sandy Hollow Road                                      When was the debt incurred?           4/24/2017
          Northport, NY 11768
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 15-17 Circle Holding LLC


 4.5
 54       Salvatore Como                                             Last 4 digits of account number                                                     $500,000.00
          Nonpriority Creditor's Name
          144 Sandy Hollow Road                                      When was the debt incurred?           12/20/2016
          Northport, NY 11768
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - Bluestone 163-165 LLC


 4.5
 55       Salvatore Como                                             Last 4 digits of account number                                                     $100,000.00
          Nonpriority Creditor's Name
          144 Sandy Hollow Road                                      When was the debt incurred?           2/20/2015
          Northport, NY 11768
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - Bluestone 67 LLC




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 4.5
 56       Salvatore Como                                             Last 4 digits of account number                                                     $100,000.00
          Nonpriority Creditor's Name
          144 Sandy Hollow Road                                      When was the debt incurred?           8/31/2015
          Northport, NY 11768
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - Bluestone Capital Partners LLC


 4.5
 57       Samantha West                                              Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          33 Gateway Drive                                           When was the debt incurred?           4/6/2017
          Great Neck, NY 11021
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 15-17 Circle Holding LLC


 4.5
 58       Samantha West                                              Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          33 Gateway Drive                                           When was the debt incurred?           1/30/2017
          Great Neck, NY 11021
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 43 Middle Pond Road Holding
              Yes                                                       Other. Specify   LLC




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 4.5
 59       Sanley Company                                             Last 4 digits of account number                                                     $200,000.00
          Nonpriority Creditor's Name
          c/o Anchin Block & Anchin LLP                              When was the debt incurred?           11/18/2016
          1375 Broadway 17th Floor
          Attn: Gene Greenfest
          New York, NY 10018
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 145-147 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC


 4.5
 60       Sanley Company                                             Last 4 digits of account number                                                     $250,000.00
          Nonpriority Creditor's Name
          c/o Anchin Block & Anchin LLP                              When was the debt incurred?           4/12/2017
          1375 Broadway 17th Floor
          Attn: Gene Greenfest
          New York, NY 10018
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 15-17 Circle Holding LLC


 4.5
 61       Saulyco LLC                                                Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          Attn: Issac Stern                                          When was the debt incurred?           7/31/2015
          220 Surrey Road
          Hillside, NJ 07205
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC


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 4.5
 62       Saulyco LLC                                                Last 4 digits of account number                                                      $93,000.00
          Nonpriority Creditor's Name
          Attn: Issac Stern                                          When was the debt incurred?           4/29/2015
          220 Surrey Road
          Hillside, NJ 07205
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 184 East 64th Street Holding
              Yes                                                       Other. Specify   LLC


 4.5
 63       Scott & Ella Chick                                         Last 4 digits of account number                                                      $93,000.00
          Nonpriority Creditor's Name
          206 Adams Street                                           When was the debt incurred?           4/28/2015
          Unit B Hoboken, NJ 07030
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 184 East 64th Street Holding
              Yes                                                       Other. Specify   LLC


 4.5
 64       Scott DeCarolis                                            Last 4 digits of account number                                                     $100,000.00
          Nonpriority Creditor's Name
          26 Oak Drive                                               When was the debt incurred?           1/19/2017
          Upper Saddle River, NJ 07458
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC




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 4.5
 65       Scott DeCarolis                                            Last 4 digits of account number                                                     $105,600.00
          Nonpriority Creditor's Name
          26 Oak Drive                                               When was the debt incurred?           4/1/2015
          Upper Saddle River, NJ 07458
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 323 East 53rd Holding LLC


 4.5
 66       Scott Levine                                               Last 4 digits of account number                                                     $100,000.00
          Nonpriority Creditor's Name
          2792 Judith Court                                          When was the debt incurred?           8/10/2017
          Bellmore, NY 11710
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 2800 Bruckner Holding LLC


 4.5
 67       Scott Levine                                               Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          2792 Judith Court                                          When was the debt incurred?           3/8/2017
          Bellmore, NY 11710
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - Purchase Capital Partners LLC




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 Debtor 1 Michael P. D'Alessio                                                                            Case number (if know)         18-22552

 4.5
 68       Scott Silberman                                            Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          25 Ely Road                                                When was the debt incurred?           6/22/2016
          Holmdel, NJ 07733
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 3 Sandpiper Court Holding LLC


 4.5
 69       Scott Silberman                                            Last 4 digits of account number                                                      $93,000.00
          Nonpriority Creditor's Name
          25 Ely Road                                                When was the debt incurred?           5/8/2015
          Holmdel, NJ 07733
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 184 East 64th Street Holding
              Yes                                                       Other. Specify   LLC


 4.5
 70       Scott Silberman                                            Last 4 digits of account number                                                      $67,000.00
          Nonpriority Creditor's Name
          25 Ely Road                                                When was the debt incurred?           11/12/2014
          Holmdel, NJ 07733
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 227 E 67th Street Holding LLC




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 4.5
 71       Sheldon Mann                                               Last 4 digits of account number                                                      $67,000.00
          Nonpriority Creditor's Name
          600 S. Dixie Highway Apt 531                               When was the debt incurred?           10/29/2014
          West Palm Beach, FL 33401
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 227 E 67th Street Holding LLC


 4.5
 72       Sheri Daniels                                              Last 4 digits of account number                                                      $67,000.00
          Nonpriority Creditor's Name
          2930 Bay Drive                                             When was the debt incurred?           10/30/2014
          Merrick, NY 11566
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 227 East 67th Street Holding
              Yes                                                       Other. Specify   LLC


 4.5
 73       Shoshana Abramoff                                          Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          4101 Pine Tree Drive Apt# 1726                             When was the debt incurred?           8/11/2015
          Miami Beach, FL 33140
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC




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 4.5
 74       Sierra Real Estate LLC                                     Last 4 digits of account number                                                     $465,000.00
          Nonpriority Creditor's Name
          Attn: James Wacht                                          When was the debt incurred?           5/4/2015
          600 Madison Ave
          New York, NY 10022
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 184 East 64th Street Holding
              Yes                                                       Other. Specify   LLC


 4.5
 75       Signature Bank                                             Last 4 digits of account number                                                    $2,912,643.00
          Nonpriority Creditor's Name
          68 South Service Road                                      When was the debt incurred?
          Melville, NY 11747
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 3100 Tremont Associates Inc


 4.5
 76       Signature Bank                                             Last 4 digits of account number       9                                             $656,007.00
          Nonpriority Creditor's Name
          68 South Service Road                                      When was the debt incurred?
          Melville, NY 11747
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 3100 Tremont Associates LLC




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 4.5
 77       Signature Bank                                             Last 4 digits of account number       1001                                         $2,312,794.32
          Nonpriority Creditor's Name
          68 South Service Road                                      When was the debt incurred?
          Melville, NY 11747
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 3200 Tremont Associates Inc


 4.5
 78       Signature Bank                                             Last 4 digits of account number       9                                             $676,616.79
          Nonpriority Creditor's Name
          68 South Service Road                                      When was the debt incurred?
          Melville, NY 11747
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 3200 Tremont Associates


 4.5
 79       Signature Bank                                             Last 4 digits of account number       9                                            $4,157,567.00
          Nonpriority Creditor's Name
          68 South Service Road                                      When was the debt incurred?
          Melville, NY 11747
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 3219 Tremont Corp.




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 4.5
 80       Signature Bank                                             Last 4 digits of account number                                                     $364,448.00
          Nonpriority Creditor's Name
          68 South Service Road                                      When was the debt incurred?
          Melville, NY 11747
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 3219 Tremont Corp.


 4.5
 81       Signature Bank                                             Last 4 digits of account number       9                                             $691,876.00
          Nonpriority Creditor's Name
          68 South Service Road                                      When was the debt incurred?
          Melville, NY 11747
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 3225 East Tremont Associates
              Yes                                                       Other. Specify   LLC


 4.5
 82       Signature Bank                                             Last 4 digits of account number       9                                             $291,883.00
          Nonpriority Creditor's Name
          68 South Service Road                                      When was the debt incurred?
          Melville, NY 11747
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 3225 East Tremont Associates
              Yes                                                       Other. Specify   LLC




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 4.5
 83       Signature Bank                                             Last 4 digits of account number       9                                            $3,644,399.03
          Nonpriority Creditor's Name
          68 South Service Road                                      When was the debt incurred?
          Melville, NY 11747
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 3600 Tremont Associates Inc


 4.5
 84       Signature Bank                                             Last 4 digits of account number       9                                             $821,606.10
          Nonpriority Creditor's Name
          68 South Service Road                                      When was the debt incurred?
          Melville, NY 11747
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 3600 Tremont Associates


 4.5
 85       Six Six Holdings 62nd St LLC                               Last 4 digits of account number                                                     $100,000.00
          Nonpriority Creditor's Name
          49 East 21st Street Apt 9D                                 When was the debt incurred?           8/13/2015
          New York, NY 10010
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC




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 4.5
 86       SLC Construction Inc                                       Last 4 digits of account number                                                     $294,000.00
          Nonpriority Creditor's Name
          79-01 Queens Blvd                                          When was the debt incurred?
          Queens, NY 11373
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Trade debt - Michael Paul Enterprises, LLC


 4.5
 87       Squires, Holden Weisenbacher                               Last 4 digits of account number                                                        $1,600.00
          Nonpriority Creditor's Name
          & Smith                                                    When was the debt incurred?           12/22/2017
          46 Jagger Lane
          Southampton, NY 11968
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Trade debt - 3 Sandpiper Court LLC


 4.5
 88       Squires, Holden Weisenbacher                               Last 4 digits of account number                                                      $15,525.00
          Nonpriority Creditor's Name
          & Smith                                                    When was the debt incurred?           12/21/2017
          46 Jagger Lane
          Southampton, NY 11968
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Trade debt - 41-45 MPR Holding LLC




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 4.5
 89       SS&C Mortgage Service                                      Last 4 digits of account number       12                                           $4,900,000.00
          Nonpriority Creditor's Name
          1841 Broadway                                              When was the debt incurred?
          Suite 400
          New York, NY 10023
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 145-147 East 62nd Street
              Yes                                                       Other. Specify   Associates LLC


 4.5
 90       Stacy Gendels                                              Last 4 digits of account number                                                      $67,000.00
          Nonpriority Creditor's Name
          37 Soundview Drive                                         When was the debt incurred?           10/27/2014
          Westport, CT 06880
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 227 E 67th Street Holding LLC


 4.5
 91       Stephanie Milo                                             Last 4 digits of account number                                                     $100,000.00
          Nonpriority Creditor's Name
          88 Dawson Circle                                           When was the debt incurred?           8/18/2017
          Staten Island, NY 10314
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 2800 Bruckner Holding LLC




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 4.5
 92       Stephen Nardoni                                            Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          305 East 24th Street Apt LB                                When was the debt incurred?           8/6/2015
          New York, NY 10010
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC


 4.5
 93       Stephen Wolinetz                                           Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          900 Willis Ave                                             When was the debt incurred?           7/12/2016
          Albertson, NY 11507
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC


 4.5
 94       Sterling National Bank                                     Last 4 digits of account number       3145                                         $1,381,410.00
          Nonpriority Creditor's Name
          1133 Westchester Ave. S-N224                               When was the debt incurred?
           NY 10604
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Line of credit




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 4.5
 95       Steven & Lvana Alesio                                      Last 4 digits of account number                                                     $264,000.00
          Nonpriority Creditor's Name
          262 Central Park West                                      When was the debt incurred?           2/26/2015
          New York, NY 10026
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 323 East 53rd Holding LLC


 4.5
 96       Steven Engel                                               Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          3817 Woodley Road NW                                       When was the debt incurred?           12/1/2016
          Washington, DC 20016
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 43 Middle Pond Road Holding
              Yes                                                       Other. Specify   LLC


 4.5
 97       Steven Engel                                               Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          3817 Woodley Road NW                                       When was the debt incurred?           6/22/2016
          Washington, DC 20016
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 3 Sandpiper Court Holding LLC




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 4.5
 98       Steven Engel                                               Last 4 digits of account number                                                      $93,000.00
          Nonpriority Creditor's Name
          3817 Woodley Road NW                                       When was the debt incurred?           5/9/2015
          Washington, DC 20016
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 184 East 64th Street Holding
              Yes                                                       Other. Specify   LLC


 4.5
 99       Steven Engel                                               Last 4 digits of account number                                                      $67,000.00
          Nonpriority Creditor's Name
          3817 Woodley Road NW                                       When was the debt incurred?           10/28/2014
          Washington, DC 20016
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 227 E 67th Street Holding LLC


 4.6
 00       Steven Engel                                               Last 4 digits of account number                                                     $105,600.00
          Nonpriority Creditor's Name
          3817 Woodley Road NW                                       When was the debt incurred?           3/12/2015
          Washington, DC 20016
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 323 East 53rd Holding LLC




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 4.6
 01       Steven Gutenplan                                           Last 4 digits of account number                                                      $67,000.00
          Nonpriority Creditor's Name
          c/o Affiliated Adjustment Group                            When was the debt incurred?           10/27/2014
          3000 Marcus Ave
          Lake Success, NY 11042
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 227 E 67th Street Holding LLC


 4.6
 02       Steven Hertz                                               Last 4 digits of account number                                                      $67,000.00
          Nonpriority Creditor's Name
          17 Linden Lane Merrick                                     When was the debt incurred?           10/31/2014
          Merrick, NY 11566
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 227 E 67th Street Holding LLC


 4.6
 03       Steven Napoli                                              Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          66 Tintern Lane                                            When was the debt incurred?           8/6/2015
          Scarsdale, NY 10583
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC




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 4.6
 04       Steven Napoli                                              Last 4 digits of account number                                                      $67,000.00
          Nonpriority Creditor's Name
          66 Tintern Lane                                            When was the debt incurred?           10/23/2014
          Scarsdale, NY 10583
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 227 E 67th Sreet Holding LLC


 4.6
 05       Steven Napoli                                              Last 4 digits of account number                                                      $52,800.00
          Nonpriority Creditor's Name
          66 Tintern Lane                                            When was the debt incurred?           2/23/2015
          Scarsdale, NY 10583
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 323 East 53rd Holding LLC


 4.6
 06       Steven Napoli                                              Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          66 Tintern Lane                                            When was the debt incurred?           8/22/2017
          Scarsdale, NY 10583
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 2800 Bruckner Holding LLC




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 4.6
 07       Steven Samuels                                             Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          8 The Mews Westport                                        When was the debt incurred?           1/21/2017
          Westport, CT 06880
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 43 Middle Pond Road Holding
              Yes                                                       Other. Specify   LLC


 4.6
 08       Susan Kass                                                 Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          131 Hickory Kingdom Road                                   When was the debt incurred?           4/14/2017
          Bedford, NY 10506
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 15-17 Circle Holding LLC


 4.6
 09       Tamarack Country Club                                      Last 4 digits of account number                                                        $5,279.07
          Nonpriority Creditor's Name
          55 Locust Road                                             When was the debt incurred?
          Greenwich, CT 06831
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Michael Paul Enterprises LLC




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 4.6
 10       Taylor Rice                                                Last 4 digits of account number                                                      $30,000.00
          Nonpriority Creditor's Name
          97 West Elder Avenue                                       When was the debt incurred?           4/30/2015
          Floral Park, NY 11001
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - Bluestone Capital Partners LLC


 4.6
 11       TD Auto Finance                                            Last 4 digits of account number                                                      $40,287.96
          Nonpriority Creditor's Name
          PO Box 16035                                               When was the debt incurred?           10/15/2017
          Lewiston, ME 04243
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Auto Lease - Bruckner Transport LLC


 4.6
 12       TD Auto Finance                                            Last 4 digits of account number                                                      $20,287.42
          Nonpriority Creditor's Name
          PO Box 16035                                               When was the debt incurred?           10/14/2017
          Lewiston, ME 04243
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Auto Lease - Bruckner Transport




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 4.6
 13       The Debra Rein Exempt GST Trust,                           Last 4 digits of account number                                                      $67,000.00
          Nonpriority Creditor's Name
          Debra Rein Trustee                                         When was the debt incurred?           11/3/2014
          12130 Norman Lane
          Auburn, CA 95603
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 227 E 67th Street Holding LLC


 4.6
 14       The Debra Rein Exempt GST Trust,                           Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          Debra Rein Trustee                                         When was the debt incurred?           8/29/2017
          12130 Norman Lane
          Auburn, CA 95603
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 2800 Bruckner Holding LLC


 4.6
 15       The Hyman Cohen Revocable Trust                            Last 4 digits of account number                                                     $100,000.00
          Nonpriority Creditor's Name
          1875 Julian Lane                                           When was the debt incurred?           8/6/2015
          Attn: David Cohen
          Merrick, NY 11566
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC




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 Debtor 1 Michael P. D'Alessio                                                                            Case number (if know)         18-22552

 4.6
 16       The Hyman Cohen Revocable Trust                            Last 4 digits of account number                                                      $52,800.00
          Nonpriority Creditor's Name
          1875 Julian Lane                                           When was the debt incurred?           3/6/2015
          Attn: David Cohen
          Merrick, NY 11566
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 323 East 53rd Holding LLC


 4.6
 17       The Joshua Epstein 2009 Trust                              Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          c/o Ross Epstein                                           When was the debt incurred?           8/10/2015
          925 Monroe Lane
          Hewlett Neck, NY 11598
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC


 4.6
 18       The Payroll Store Investments                              Last 4 digits of account number                                                     $100,000.00
          Nonpriority Creditor's Name
          Attn: Evan Steinbach                                       When was the debt incurred?           8/10/2015
          575 Underhill Blvd
          Suite 205 Syosset, NY 11791
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC




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 4.6
 19       The Payroll Store Investments                              Last 4 digits of account number                                                      $52,800.00
          Nonpriority Creditor's Name
          Attn: Evan Steinbach                                       When was the debt incurred?           3/10/2015
          575 Underhill Blvd
          Suite 205 Syosset, NY 11791
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 323 East 53rd Holding LLC


 4.6
 20       The Westchester Bank                                       Last 4 digits of account number       7980                                          $263,453.00
          Nonpriority Creditor's Name
          12 Water Street                                            When was the debt incurred?
          White Plains, NY 10601
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - Magnolia Consulting LLC


 4.6
 21       The Westchester Bank                                       Last 4 digits of account number       7410                                          $879,526.45
          Nonpriority Creditor's Name
          12 Water Street                                            When was the debt incurred?
          White Plains, NY 10601
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - Michael Paul Enterprises LLC




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 4.6
 22       Theodore Strange                                           Last 4 digits of account number                                                     $200,000.00
          Nonpriority Creditor's Name
          48 Haywood Street                                          When was the debt incurred?           8/11/2017
          Staten Island, NY 10307
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 2800 Bruckner Holding LLC


 4.6
 23       Theodore Strange                                           Last 4 digits of account number                                                     $100,000.00
          Nonpriority Creditor's Name
          48 Haywood Street                                          When was the debt incurred?           3/31/2017
          Staten Island, NY 10307
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - Purchase Capital Partners LLC


 4.6
 24       Thomas Orrico                                              Last 4 digits of account number                                                     $100,000.00
          Nonpriority Creditor's Name
          1840 Edison Ave                                            When was the debt incurred?           4/5/2017
          Bronx, NY 10461
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 15-17 Circle Holding LLC




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 4.6
 25       ThyssenKrupp Elevator Americas                             Last 4 digits of account number                                                     $207,446.58
          Nonpriority Creditor's Name
          519 8th Avenue                                             When was the debt incurred?
          New York, NY 10018
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Trade debt - Michael Paul Enterprises, LLC


 4.6
 26       Times Buildings PC                                         Last 4 digits of account number                                                      $20,000.00
          Nonpriority Creditor's Name
          85-34 Grand Avenue                                         When was the debt incurred?
          2nd Floor Elmhurst, NY 11373
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Trade debt - Michael Paul Enterprises, LLC


 4.6
 27       Timothy Gold                                               Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          4 Rolling Hill Road                                        When was the debt incurred?           7/20/2016
          Old Westbury, NY 11568
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC




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 4.6
 28       Tina Jebaily-Post                                          Last 4 digits of account number                                                      $93,000.00
          Nonpriority Creditor's Name
          152 Beach 139 Street                                       When was the debt incurred?           4/30/2015
          Belle Harbor, NY 11694
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 184 East 64th Street Holding
              Yes                                                       Other. Specify   LLC


 4.6
 29       TLM Holdings LLC                                           Last 4 digits of account number                                                     $150,000.00
          Nonpriority Creditor's Name
          215 East 68th Street                                       When was the debt incurred?           8/19/2015
          Apt#17-Y New York, NY 10065
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC


 4.6
 30       Todd Hazelkorn                                             Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          239 East 79th Street Apt#7N                                When was the debt incurred?           7/7/2016
          New York, NY 10075
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 3 Sandpiper Court Holding LLC




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 4.6
 31       Todd Hazelkorn                                             Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          239 East 79th Street Apt#7N                                When was the debt incurred?           12/23/2016
          New York, NY 10075
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 43 Middle Pond Road Holding
              Yes                                                       Other. Specify   LLC


 4.6
 32       Todd Hazelkorn                                             Last 4 digits of account number                                                      $33,500.00
          Nonpriority Creditor's Name
          239 East 79th Street Apt#7N                                When was the debt incurred?           10/31/2014
          New York, NY 10075
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 227 E 67th Street Holding LLC


 4.6
 33       Todd Hazelkorn                                             Last 4 digits of account number                                                      $52,800.00
          Nonpriority Creditor's Name
          239 East 79th Street Apt#7N                                When was the debt incurred?           3/12/2015
          New York, NY 10075
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 323 East 53rd Holding LLC




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 4.6
 34       Total Comfort Inc                                          Last 4 digits of account number                                                      $29,800.00
          Nonpriority Creditor's Name
          44 Kenosia Avenue Danbury                                  When was the debt incurred?
          Danbury, CT 06810
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Trade debt - Michael Paul Enterprises, LLC


 4.6
 35       Tuchman, Korngold, Weiss,                                  Last 4 digits of account number                                                        $2,500.00
          Nonpriority Creditor's Name
           Liebman & Linde                                           When was the debt incurred?
          6 East 45th Street
          New York, NY 10017
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Legal fees - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Associates LLC


 4.6
 36       Twomey, Latham, Shea,                                      Last 4 digits of account number                                                        $5,741.50
          Nonpriority Creditor's Name
          Kelley, Dubin & Quartararo LLP                             When was the debt incurred?
          33 West Second Street
          P.O. Box 9398
          Riverhead, NY 11901
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Legal fees - 41 Middle Pond Road, 43
                                                                                         Middle Pond Road & 45 Middle Pond Road
              Yes                                                       Other. Specify   Associates LLC



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 4.6
 37       United Overhead Door Corp                                  Last 4 digits of account number                                                        $6,797.34
          Nonpriority Creditor's Name
          21 A Saw Mill River Road                                   When was the debt incurred?
          Yonkers, NY 10701
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Trade debt - Michael Paul Enterprises, LLC


 4.6
 38       Unity Servicing LLC                                        Last 4 digits of account number       24                                            $555,000.00
          Nonpriority Creditor's Name
          830 Third Avenue 5th Floor                                 When was the debt incurred?
          New York, NY 10022
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 41 Middle Pond Road
              Yes                                                       Other. Specify   Associates LLC


 4.6
 39       Unity Servicing LLC                                        Last 4 digits of account number       22                                            $687,500.00
          Nonpriority Creditor's Name
          831 Third Avenue 5th Floor                                 When was the debt incurred?
          New York, NY 10022
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 45 Middle Pond Road
              Yes                                                       Other. Specify   Associates LLC




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 4.6
 40       Unity Servicing LLC                                        Last 4 digits of account number       23                                            $200,000.00
          Nonpriority Creditor's Name
          832 Third Avenue 5th Floor                                 When was the debt incurred?
          New York, NY 10022
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 1232 Avenida de las Casas LLC


 4.6      Up Construction and Restoration
 41       Inc                                                        Last 4 digits of account number                                                      $55,000.00
          Nonpriority Creditor's Name
          396 Kent Avenue                                            When was the debt incurred?
          Lidenhurst, NY 11757
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Trade debt - Michael Paul Enterprises, LLC


 4.6
 42       Vail Associates Architects                                 Last 4 digits of account number                                                      $68,566.00
          Nonpriority Creditor's Name
          59 West 94th Street - Suite GF                             When was the debt incurred?           6/27/2016
          New York, NY 10025
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Trade debt - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Associates LLC




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 4.6
 43       Vail Associates Architects                                 Last 4 digits of account number                                                      $30,540.00
          Nonpriority Creditor's Name
          59 West 94th Street - Suite GF                             When was the debt incurred?           7/20/2016
          New York, NY 10025
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Trade debt - 145-147 East 62nd Street
              Yes                                                       Other. Specify   Associates LLC


 4.6
 44       Victoria Strange                                           Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          48 Haywood Street                                          When was the debt incurred?           8/11/2017
          Staten Island, NY 10307
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 2800 Bruckner Holding LLC


 4.6
 45       Virtual Services                                           Last 4 digits of account number                                                      $34,514.86
          Nonpriority Creditor's Name
          104 W. 40th Street - 10th Floor                            When was the debt incurred?
          New York, NY 10018
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Trade debt - Michael Paul Enterprises, LLC




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 4.6
 46       Vivian Cardia                                              Last 4 digits of account number                                                      $93,000.00
          Nonpriority Creditor's Name
          10402 Stonebridge Blvd                                     When was the debt incurred?           5/7/2015
          Boca Raton, FL 33498
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 184 East 64th Street Holding
              Yes                                                       Other. Specify   LLC


 4.6
 47       Wayside Fence Co                                           Last 4 digits of account number                                                        $2,232.08
          Nonpriority Creditor's Name
          63 Third Avenue                                            When was the debt incurred?
          Bayshore, NY 11706
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Trade debt - Michael Paul Enterprises, LLC


 4.6      Westminster Asset Management
 48       Corp                                                       Last 4 digits of account number                                                      $52,800.00
          Nonpriority Creditor's Name
          2930 Bay Drive                                             When was the debt incurred?           2/27/2015
          Attn: Sheri Daniels
          Merrick, NY 11566
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 323 East 53rd Holding LLC




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 4.6
 49       William Bonomo                                             Last 4 digits of account number                                                     $150,000.00
          Nonpriority Creditor's Name
          21 Sunset Blvd                                             When was the debt incurred?           8/8/2015
          Massapequa, NY 11758
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC


 4.6
 50       William Bonomo                                             Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          21 Sunset Blvd                                             When was the debt incurred?           4/25/2017
          Massapequa, NY 11758
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 15-17 Circle Holding LLC


 4.6
 51       William Jebaily                                            Last 4 digits of account number                                                     $100,000.00
          Nonpriority Creditor's Name
          81 Iron Mine Drive                                         When was the debt incurred?           4/30/2015
          Staten Island, NY 10304
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC




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 4.6
 52       William Jebaily                                            Last 4 digits of account number                                                     $186,000.00
          Nonpriority Creditor's Name
          81 Iron Mine Drive                                         When was the debt incurred?           4/30/2015
          Staten Island, NY 10304
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 184 East 64th Street Holding
              Yes                                                       Other. Specify   LLC


 4.6
 53       Window Fix Inc                                             Last 4 digits of account number                                                      $32,000.00
          Nonpriority Creditor's Name
          335-347 38th Street                                        When was the debt incurred?
          Brooklyn, NY 11232
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Trade debt - Michael Paul Enterprises, LLC


 4.6
 54       Yehuda Biber                                               Last 4 digits of account number                                                     $100,000.00
          Nonpriority Creditor's Name
          1016 Crestwood Road                                        When was the debt incurred?           8/5/2015
          Woodmere, NY 11598
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC




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 4.6
 55       Yorkshire Stone Inc                                        Last 4 digits of account number                                                      $30,056.00
          Nonpriority Creditor's Name
          175 Marcus Blvd                                            When was the debt incurred?
          Hauppauge, NY 11788
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Trade debt - Michael Paul Enterprises, LLC


 4.6
 56       Yoser & Elisheva Oratz                                     Last 4 digits of account number                                                     $100,000.00
          Nonpriority Creditor's Name
          201 Davis Ave                                              When was the debt incurred?           8/31/2015
          White Plains, NY 10605
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC


 4.6
 57       Yvonne Schettino                                           Last 4 digits of account number                                                    $1,229,118.49
          Nonpriority Creditor's Name
          20 Scott Circle                                            When was the debt incurred?
          Purchase, NY 10577
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Promissory Note




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 4.6
 58        Yvonne Schettino                                          Last 4 digits of account number                                                             $970,000.00
           Nonpriority Creditor's Name
           20 Scott Circle                                           When was the debt incurred?
           Purchase, NY 10577
           Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty - 1 Katsura Drive, Purchase, NY


 4.6
 59        Zachary Stone                                             Last 4 digits of account number                                                              $50,000.00
           Nonpriority Creditor's Name
           1 Upland Woods Circle #301                                When was the debt incurred?           11/18/2016
           Norwood, MA 02062
           Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Guaranty - 163-165 East 62nd Street
              Yes                                                       Other. Specify   Holding LLC

 Part 3:      List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Albanese & Albanese LLP                                       Line 4.534 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 Attn: Michael McDermott                                                                                  Part 2: Creditors with Nonpriority Unsecured Claims
 1050 Franklin Ave
 Garden City, NY 11530
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Cooper Levenson P.A.                                          Line 4.393 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 C/o Russell L. Lichtenstein                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 1125 Atlantic Ave, 3rd FL
 Atlantic City, NJ 08401
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Cullen and Dykman LLP                                         Line 4.267 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 100 Quentin Roosevelt Blvd                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 Garden City, NY 11530
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Elliot Phillips Esq                                           Line 4.349 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims

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 40 Daniel Street                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 9000
 Farmingdale, NY 11735
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Emmet Marvin & Martin LLP                                     Line 4.621 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 120 Broadway                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 New York, NY 10271
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Jaspan Schlesinger LLP                                        Line 4.518 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 Attn: Jefrrey H. Schwartz                                                                                Part 2: Creditors with Nonpriority Unsecured Claims
 300 Garden City Plaza
 Garden City, NY 11530
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Kye Law Group P.C.                                            Line 4.486 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 201 Old County Road                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
 Suite 120
 Melville, NY 11747
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Kye Law Group P.C.                                            Line 4.487 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 201 Old County Road                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
 Suite 120
 Melville, NY 11747
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Kye Law Group P.C.                                            Line 4.488 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 201 Old County Road                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
 Suite 120
 Melville, NY 11747
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Kye Law Group P.C.                                            Line 4.490 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 201 Old County Road                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
 Suite 120
 Melville, NY 11747
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Law Of Judd R. Spray                                          Line 4.74 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 450 Seventh Ave, 33rd Fl                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 New York, NY 10123
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Law Of Judd R. Spray                                          Line 4.275 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 450 Seventh Ave, 33rd Fl                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 New York, NY 10123
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Law Of Judd R. Spray                                          Line 4.276 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 450 Seventh Ave, 33rd Fl                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 New York, NY 10123
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Law Of Judd R. Spray                                          Line 4.277 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 450 Seventh Ave, 33rd Fl                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 New York, NY 10123
                                                               Last 4 digits of account number


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 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Meyer Suozzi English & Klein P                                Line 4.92 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 1180 Ave of Americas                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
 Suite 1920
 New York, NY 10036
                                                               Last 4 digits of account number                  7309

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Meyer Suozzi English & Klein P                                Line 4.93 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 1180 Ave of Americas                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
 Suite 1920
 New York, NY 10036
                                                               Last 4 digits of account number                  6168

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Rosenfeld & Kaplan LLP                                        Line 4.53 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 1180 Ave of the Americas                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 Suite 1920
 New York, NY 10036
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Rosenfeld & Kaplan LLP                                        Line 4.54 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 1180 Ave of the Americas                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 Suite 1920
 New York, NY 10036
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Rosenfeld & Kaplan LLP                                        Line 4.55 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 1180 Ave of the Americas                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 Suite 1920
 New York, NY 10036
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Rosenfeld & Kaplan LLP                                        Line 4.56 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 1180 Ave of the Americas                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 Suite 1920
 New York, NY 10036
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Rosenfeld & Kaplan LLP                                        Line 4.57 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 1180 Ave of the Americas                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 Suite 1920
 New York, NY 10036
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Rosenfeld & Kaplan LLP                                        Line 4.58 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 1180 Ave of the Americas                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 Suite 1920
 New York, NY 10036
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Rosenfeld & Kaplan LLP                                        Line 4.59 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 1180 Ave of the Americas                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 Suite 1920
 New York, NY 10036
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Rosenfeld & Kaplan LLP                                        Line 4.60 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 1180 Ave of the Americas                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 Suite 1920
 New York, NY 10036
                                                               Last 4 digits of account number

Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                          Page 223 of 228
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 Debtor 1 Michael P. D'Alessio                                                                            Case number (if know)          18-22552

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Rosenfeld & Kaplan LLP                                        Line 4.61 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 1180 Ave of the Americas                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 Suite 1920
 New York, NY 10036
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Rosenfeld & Kaplan LLP                                        Line 4.89 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 1180 Ave of the Americas                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 Suite 1920
 New York, NY 10036
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Rosenfeld & Kaplan LLP                                        Line 4.191 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 1180 Ave of the Americas                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 Suite 1920
 New York, NY 10036
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Rosenfeld & Kaplan LLP                                        Line 4.198 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 1180 Ave of the Americas                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 Suite 1920
 New York, NY 10036
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Rosenfeld & Kaplan LLP                                        Line 4.209 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 1180 Ave of the Americas                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 Suite 1920
 New York, NY 10036
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Rosenfeld & Kaplan LLP                                        Line 4.210 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 1180 Ave of the Americas                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 Suite 1920
 New York, NY 10036
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Rosenfeld & Kaplan LLP                                        Line 4.211 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 1180 Ave of the Americas                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 Suite 1920
 New York, NY 10036
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Rosenfeld & Kaplan LLP                                        Line 4.212 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 1180 Ave of the Americas                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 Suite 1920
 New York, NY 10036
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Rosenfeld & Kaplan LLP                                        Line 4.251 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 1180 Ave of the Americas                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 Suite 1920
 New York, NY 10036
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Rosenfeld & Kaplan LLP                                        Line 4.291 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 1180 Ave of the Americas                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 Suite 1920
 New York, NY 10036
                                                               Last 4 digits of account number

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 Debtor 1 Michael P. D'Alessio                                                                            Case number (if know)          18-22552

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Rosenfeld & Kaplan LLP                                        Line 4.325 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 1180 Ave of the Americas                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 Suite 1920
 New York, NY 10036
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Rosenfeld & Kaplan LLP                                        Line 4.333 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 1180 Ave of the Americas                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 Suite 1920
 New York, NY 10036
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Rosenfeld & Kaplan LLP                                        Line 4.334 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 1180 Ave of the Americas                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 Suite 1920
 New York, NY 10036
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Rosenfeld & Kaplan LLP                                        Line 4.335 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 1180 Ave of the Americas                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 Suite 1920
 New York, NY 10036
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Rosenfeld & Kaplan LLP                                        Line 4.336 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 1180 Ave of the Americas                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 Suite 1920
 New York, NY 10036
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Rosenfeld & Kaplan LLP                                        Line 4.343 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 1180 Ave of the Americas                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 Suite 1920
 New York, NY 10036
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Rosenfeld & Kaplan LLP                                        Line 4.344 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 1180 Ave of the Americas                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 Suite 1920
 New York, NY 10036
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Rosenfeld & Kaplan LLP                                        Line 4.345 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 1180 Ave of the Americas                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 Suite 1920
 New York, NY 10036
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Rosenfeld & Kaplan LLP                                        Line 4.346 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 1180 Ave of the Americas                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 Suite 1920
 New York, NY 10036
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Rosenfeld & Kaplan LLP                                        Line 4.347 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 1180 Ave of the Americas                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 Suite 1920
 New York, NY 10036
                                                               Last 4 digits of account number

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 Debtor 1 Michael P. D'Alessio                                                                            Case number (if know)          18-22552

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Rosenfeld & Kaplan LLP                                        Line 4.348 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 1180 Ave of the Americas                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 Suite 1920
 New York, NY 10036
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Rosenfeld & Kaplan LLP                                        Line 4.388 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 1180 Ave of the Americas                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 Suite 1920
 New York, NY 10036
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Rosenfeld & Kaplan LLP                                        Line 4.389 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 1180 Ave of the Americas                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 Suite 1920
 New York, NY 10036
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Rosenfeld & Kaplan LLP                                        Line 4.390 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 1180 Ave of the Americas                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 Suite 1920
 New York, NY 10036
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Rosenfeld & Kaplan LLP                                        Line 4.391 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 1180 Ave of the Americas                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 Suite 1920
 New York, NY 10036
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Rosenfeld & Kaplan LLP                                        Line 4.470 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 1180 Ave of the Americas                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 Suite 1920
 New York, NY 10036
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Rosenfeld & Kaplan LLP                                        Line 4.475 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 1180 Ave of the Americas                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 Suite 1920
 New York, NY 10036
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Rosenfeld & Kaplan LLP                                        Line 4.476 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 1180 Ave of the Americas                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 Suite 1920
 New York, NY 10036
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Rosenfeld & Kaplan LLP                                        Line 4.477 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 1180 Ave of the Americas                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 Suite 1920
 New York, NY 10036
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Rosenfeld & Kaplan LLP                                        Line 4.502 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 1180 Ave of the Americas                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 Suite 1920
 New York, NY 10036
                                                               Last 4 digits of account number

Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                          Page 226 of 228
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 Debtor 1 Michael P. D'Alessio                                                                            Case number (if know)          18-22552

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Rosenfeld & Kaplan LLP                                        Line 4.506 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 1180 Ave of the Americas                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 Suite 1920
 New York, NY 10036
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Rosenfeld & Kaplan LLP                                        Line 4.509 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 1180 Ave of the Americas                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 Suite 1920
 New York, NY 10036
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Rosenfeld & Kaplan LLP                                        Line 4.510 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 1180 Ave of the Americas                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 Suite 1920
 New York, NY 10036
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Rosenfeld & Kaplan LLP                                        Line 4.511 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 1180 Ave of the Americas                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 Suite 1920
 New York, NY 10036
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Rosenfeld & Kaplan LLP                                        Line 4.559 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 1180 Ave of the Americas                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 Suite 1920
 New York, NY 10036
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Rosenfeld & Kaplan LLP                                        Line 4.560 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 1180 Ave of the Americas                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 Suite 1920
 New York, NY 10036
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Rosenfeld & Kaplan LLP                                        Line 4.590 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 1180 Ave of the Americas                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 Suite 1920
 New York, NY 10036
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Schwartz Sladkus Reich Greenbe                                Line 4.409 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 rg & Atlas LLP                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 270 Madison Ave, 9th Fl
 New York, NY 10016
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Schwartz Sladkus Reich Greenbe                                Line 4.410 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 rg & Atlas LLP                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 270 Madison Ave, 9th Fl
 New York, NY 10016
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Schwartz Sladkus Reich Greenbe                                Line 4.501 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 rg & Atlas LLP                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 270 Madison Ave, 9th Fl
 New York, NY 10016
                                                               Last 4 digits of account number

Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                          Page 227 of 228
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 Debtor 1 Michael P. D'Alessio                                                                          Case number (if know)      18-22552

 Part 4:      Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                          Total Claim
                        6a.   Domestic support obligations                                               6a.      $                   7,200.00
        Total
      claims
  from Part 1           6b.   Taxes and certain other debts you owe the government                       6b.      $                       0.00
                        6c.   Claims for death or personal injury while you were intoxicated             6c.      $                       0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.    6d.      $                       0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                   6e.      $                   7,200.00

                                                                                                                          Total Claim
                        6f.   Student loans                                                              6f.      $                       0.00
        Total
      claims
  from Part 2           6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                      6g.      $                       0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts          6h.      $                       0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount       6i.
                              here.                                                                               $             163,733,051.02

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                6j.      $             163,733,051.02




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 Fill in this information to identify your case:

 Debtor 1                  Michael P. D'Alessio
                           First Name                         Middle Name            Last Name

 Debtor 2
 (Spouse if, filing)       First Name                         Middle Name            Last Name


 United States Bankruptcy Court for the:               SOUTHERN DISTRICT OF NEW YORK

 Case number           18-22552
 (if known)                                                                                                                             Check if this is an
                                                                                                                                        amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                     12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.     Do you have any executory contracts or unexpired leases?
         No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
              Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
       example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
       and unexpired leases.


           Person or company with whom you have the contract or lease                   State what the contract or lease is for
                           Name, Number, Street, City, State and ZIP Code

     2.1       GS Mark LLC                                                                Apartment (FL)
               1201 Hays Street
               Tallahassee, FL 32301

     2.2       Townhouse Compnay II LLC                                                   Apartment
               9 West 57th St.
               New York, NY 10019




Official Form 106G                                 Schedule G: Executory Contracts and Unexpired Leases                                                 Page 1 of 1
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 Fill in this information to identify your case:

 Debtor 1                   Michael P. D'Alessio
                            First Name                           Middle Name       Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name       Last Name


 United States Bankruptcy Court for the:                 SOUTHERN DISTRICT OF NEW YORK

 Case number           18-22552
 (if known)                                                                                                                   Check if this is an
                                                                                                                              amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                    12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

           No
           Yes

       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
       Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

           No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?


   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
      in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
      Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
      out Column 2.

                Column 1: Your codebtor                                                             Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                      Check all schedules that apply:


    3.1         1232 Avenida de las Casas LLC                                                        Schedule D, line
                12 Water Street                                                                      Schedule E/F, line     4.640
                Suite 204
                                                                                                     Schedule G
                White Plains, NY 10601
                                                                                                   Unity Servicing LLC




    3.2         145-147 East 62nd Street                                                             Schedule D, line
                Associates LLC 12 Water St                                                           Schedule E/F, line 4.589
                Suite 204
                                                                                                     Schedule G
                White Plains, NY 10601
                                                                                                   SS&C Mortgage Service




    3.3         145-147 East 62nd Street                                                             Schedule D, line
                Associates LLC 12 Water St                                                           Schedule E/F, line   4.643
                Suite 204
                                                                                                     Schedule G
                White Plains, NY 10601
                                                                                                   Vail Associates Architects




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            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                        Column 2: The creditor to whom you owe the debt
                                                                                            Check all schedules that apply:


    3.4      145-147 East 62nd Street Holdi                                                    Schedule D, line
             ng LLC 12 Water Street                                                            Schedule E/F, line     4.55
             Suite 204
                                                                                               Schedule G
             White Plains, NY 10601
                                                                                            Attis Properties Inc




    3.5      145-147 East 62nd Street Holdi                                                    Schedule D, line
             ng LLC 12 Water Street                                                            Schedule E/F, line  4.209
             Suite 204
                                                                                               Schedule G
             White Plains, NY 10601
                                                                                            Ellen Goldstein Living Trust 11/30/10, E




    3.6      145-147 East 62nd Street Holdi                                                   Schedule D, line
             ng LLC 12 Water Street                                                           Schedule E/F, line      4.251
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Glen Feller




    3.7      145-147 East 62nd Street Holdi                                                   Schedule D, line
             ng LLC 12 Water Street                                                           Schedule E/F, line      4.319
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            John Pantanelli




    3.8      145-147 East 62nd Street Holdi                                                   Schedule D, line
             ng LLC 12 Water Street                                                           Schedule E/F, line 4.333
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Joshua & Angie Brown




    3.9      145-147 East 62nd Street Holdi                                                   Schedule D, line
             ng LLC 12 Water Street                                                           Schedule E/F, line 4.379
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Macquesten Construction




Official Form 106H                                                      Schedule H: Your Codebtors                            Page 2 of 109
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 Debtor 1 Michael P. D'Alessio                                                         Case number (if known)   18-22552


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                        Column 2: The creditor to whom you owe the debt
                                                                                            Check all schedules that apply:
    3.10     145-147 East 62nd Street Holdi                                                   Schedule D, line
             ng LLC 12 Water Street                                                           Schedule E/F, line      4.388
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Marilyn Shendell




    3.11     145-147 East 62nd Street Holdi                                                   Schedule D, line
             ng LLC 12 Water Street                                                           Schedule E/F, line      4.413
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Melvin & Karen Adler




    3.12     145-147 East 62nd Street Holdi                                                   Schedule D, line
             ng LLC 12 Water Street                                                           Schedule E/F, line      4.440
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Neil Greenberg




    3.13     145-147 East 62nd Street Holdi                                                   Schedule D, line
             ng LLC 12 Water Street                                                           Schedule E/F, line      4.516
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Robert Rosen




    3.14     145-147 East 62nd Street Holdi                                                   Schedule D, line
             ng LLC 12 Water Street                                                           Schedule E/F, line      4.559
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Sanley Company




    3.15     15 Circle Rd - MBI LLC                                                           Schedule D, line
             12 Water Street                                                                  Schedule E/F, line  4.216
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Fairfield County Bank




    3.16     15 Circle Rd - MBI LLC                                                           Schedule D, line
             12 Water Street                                                                  Schedule E/F, line  4.217
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Fairfield County Bank




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                                                                                            Check all schedules that apply:


    3.17     15 Circle Rd - MBI LLC                                                           Schedule D, line
             12 Water Street                                                                  Schedule E/F, line 4.546
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            RVB Construction Inc




    3.18     15-17 Circle Holding LLC                                                         Schedule D, line
             12 Water Street                                                                  Schedule E/F, line      4.47
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Antonia Polcini




    3.19     15-17 Circle Holding LLC                                                          Schedule D, line
             12 Water Street                                                                   Schedule E/F, line     4.57
             Suite 204
                                                                                               Schedule G
             White Plains, NY 10601
                                                                                            Attis Properties Inc




    3.20     15-17 Circle Holding LLC                                                         Schedule D, line
             12 Water Street                                                                  Schedule E/F, line      4.75
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Barry Blitstein




    3.21     15-17 Circle Holding LLC                                                         Schedule D, line
             12 Water Street                                                                  Schedule E/F, line      4.99
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Bruce Azus




    3.22     15-17 Circle Holding LLC                                                         Schedule D, line
             12 Water Street                                                                  Schedule E/F, line      4.107
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Carl Bonomo




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                                                                                            Check all schedules that apply:
    3.23     15-17 Circle Holding LLC                                                         Schedule D, line
             12 Water Street                                                                  Schedule E/F, line      4.124
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Charles Barovian




    3.24     15-17 Circle Holding LLC                                                          Schedule D, line
             12 Water Street                                                                   Schedule E/F, line   4.135
             Suite 204
                                                                                               Schedule G
             White Plains, NY 10601
                                                                                            Clifford & Gail Bassett




    3.25     15-17 Circle Holding LLC                                                         Schedule D, line
             12 Water Street                                                                  Schedule E/F, line  4.140
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Costello & Goldan LLC




    3.26     15-17 Circle Holding LLC                                                         Schedule D, line
             12 Water Street                                                                  Schedule E/F, line      4.166
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            David S. Cohen




    3.27     15-17 Circle Holding LLC                                                         Schedule D, line
             12 Water Street                                                                  Schedule E/F, line 4.176
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Diamond Enterprises LLC




    3.28     15-17 Circle Holding LLC                                                         Schedule D, line
             12 Water Street                                                                  Schedule E/F, line      4.253
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Glenn Messinger




    3.29     15-17 Circle Holding LLC                                                         Schedule D, line
             12 Water Street                                                                  Schedule E/F, line      4.271
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Harrilyn Dolman




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                                                                                            Check all schedules that apply:


    3.30     15-17 Circle Holding LLC                                                         Schedule D, line
             12 Water Street                                                                  Schedule E/F, line 4.334
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Joshua & Angie Brown




    3.31     15-17 Circle Holding LLC                                                         Schedule D, line
             12 Water Street                                                                  Schedule E/F, line      4.443
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Neil Ptashnik




    3.32     15-17 Circle Holding LLC                                                         Schedule D, line
             12 Water Street                                                                  Schedule E/F, line    4.475
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Philip Goldstein Living Trust 11/30/10




    3.33     15-17 Circle Holding LLC                                                         Schedule D, line
             12 Water Street                                                                  Schedule E/F, line      4.478
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Philip Iervolino




    3.34     15-17 Circle Holding LLC                                                         Schedule D, line
             12 Water Street                                                                  Schedule E/F, line      4.541
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Ross Weissman




    3.35     15-17 Circle Holding LLC                                                         Schedule D, line
             12 Water Street                                                                  Schedule E/F, line      4.553
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Salvatore Como




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                                                                                            Check all schedules that apply:
    3.36     15-17 Circle Holding LLC                                                         Schedule D, line
             12 Water Street                                                                  Schedule E/F, line      4.557
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Samantha West




    3.37     15-17 Circle Holding LLC                                                         Schedule D, line
             12 Water Street                                                                  Schedule E/F, line      4.560
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Sanley Company




    3.38     15-17 Circle Holding LLC                                                         Schedule D, line
             12 Water Street                                                                  Schedule E/F, line      4.608
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Susan Kass




    3.39     15-17 Circle Holding LLC                                                         Schedule D, line
             12 Water Street                                                                  Schedule E/F, line      4.624
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Thomas Orrico




    3.40     15-17 Circle Holding LLC                                                         Schedule D, line
             12 Water Street                                                                  Schedule E/F, line      4.650
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            William Bonomo




    3.41     163-165 East 62nd Street                                                         Schedule D, line
             Associates LLC 12 Water St                                                       Schedule E/F, line   4.120
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Celtic Services NYC Inc




    3.42     163-165 East 62nd Street                                                         Schedule D, line
             Associates LLC 12 Water St                                                       Schedule E/F, line  4.138
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Consolidated Scaffold & Bridge Corp




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                                                                                            Check all schedules that apply:


    3.43     163-165 East 62nd Street                                                         Schedule D, line
             Associates LLC 12 Water St                                                       Schedule E/F, line  4.184
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Dominick R. Pilla Associates PC




    3.44     163-165 East 62nd Street                                                         Schedule D, line
             Associates LLC 12 Water St                                                       Schedule E/F, line      4.196
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Dynaire Corporation




    3.45     163-165 East 62nd Street                                                         Schedule D, line
             Associates LLC 12 Water St                                                       Schedule E/F, line      4.243
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            GeoLand Corp




    3.46     163-165 East 62nd Street                                                         Schedule D, line
             Associates LLC 12 Water St                                                       Schedule E/F, line  4.401
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Masters Exterminating & Pest Control Inc




    3.47     163-165 East 62nd Street                                                         Schedule D, line
             Associates LLC 12 Water St                                                       Schedule E/F, line  4.500
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Regional Testing Corp




    3.48     163-165 East 62nd Street                                                         Schedule D, line
             Associates LLC 12 Water St                                                       Schedule E/F, line 4.545
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            RVB Construction Inc




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                                                                                            Check all schedules that apply:
    3.49     163-165 East 62nd Street                                                         Schedule D, line
             Associates LLC 12 Water St                                                       Schedule E/F, line 4.586
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            SLC Construction Inc




    3.50     163-165 East 62nd Street                                                         Schedule D, line
             Associates LLC 12 Water St                                                       Schedule E/F, line 4.625
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            ThyssenKrupp Elevator Americas




    3.51     163-165 East 62nd Street                                                         Schedule D, line
             Associates LLC 12 Water St                                                       Schedule E/F, line 4.635
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Tuchman, Korngold, Weiss,




    3.52     163-165 East 62nd Street                                                         Schedule D, line
             Associates LLC 12 Water St                                                       Schedule E/F, line   4.642
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Vail Associates Architects




    3.53     163-165 East 62nd Street Holdi                                                   Schedule D, line
             ng LLC 12 Water Street                                                           Schedule E/F, line  4.2
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            1516 Realty Group LLC




    3.54     163-165 East 62nd Street Holdi                                                   Schedule D, line
             ng LLC 12 Water Street                                                           Schedule E/F, line      4.6
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Adam Fields




    3.55     163-165 East 62nd Street Holdi                                                    Schedule D, line
             ng LLC 12 Water Street                                                            Schedule E/F, line     4.20
             Suite 204
                                                                                               Schedule G
             White Plains, NY 10601
                                                                                            Allan Miller




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                                                                                            Check all schedules that apply:


    3.56     163-165 East 62nd Street Holdi                                                    Schedule D, line
             ng LLC 12 Water Street                                                            Schedule E/F, line   4.24
             Suite 204
                                                                                               Schedule G
             White Plains, NY 10601
                                                                                            Allstate Sprinkler Corp




    3.57     163-165 East 62nd Street Holdi                                                   Schedule D, line
             ng LLC 12 Water Street                                                           Schedule E/F, line      4.36
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Andrew West




    3.58     163-165 East 62nd Street Holdi                                                   Schedule D, line
             ng LLC 12 Water Street                                                           Schedule E/F, line      4.39
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Anita Gupta




    3.59     163-165 East 62nd Street Holdi                                                   Schedule D, line
             ng LLC 12 Water Street                                                           Schedule E/F, line      4.42
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Anthony Bastone




    3.60     163-165 East 62nd Street Holdi                                                   Schedule D, line
             ng LLC 12 Water Street                                                           Schedule E/F, line      4.43
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Anthony Sr Bonomo




    3.61     163-165 East 62nd Street Holdi                                                   Schedule D, line
             ng LLC 12 Water Street                                                           Schedule E/F, line 4.45
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Anthony, Jr. Bonomo




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                                                                                            Check all schedules that apply:
    3.62     163-165 East 62nd Street Holdi                                                   Schedule D, line
             ng LLC 12 Water Street                                                           Schedule E/F, line      4.48
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Antonio Zaino




    3.63     163-165 East 62nd Street Holdi                                                   Schedule D, line
             ng LLC 12 Water Street                                                           Schedule E/F, line      4.50
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Arnold Waldman




    3.64     163-165 East 62nd Street Holdi                                                    Schedule D, line
             ng LLC 12 Water Street                                                            Schedule E/F, line     4.53
             Suite 204
                                                                                               Schedule G
             White Plains, NY 10601
                                                                                            Attis Properties Inc




    3.65     163-165 East 62nd Street Holdi                                                   Schedule D, line
             ng LLC 12 Water Street                                                           Schedule E/F, line    4.71
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Barbara J. Fiederlein Trust for David, D




    3.66     163-165 East 62nd Street Holdi                                                   Schedule D, line
             ng LLC 12 Water Street                                                           Schedule E/F, line      4.76
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Barry Blitstein




    3.67     163-165 East 62nd Street Holdi                                                   Schedule D, line
             ng LLC 12 Water Street                                                           Schedule E/F, line      4.77
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Barry Drucker




    3.68     163-165 East 62nd Street Holdi                                                   Schedule D, line
             ng LLC 12 Water Street                                                           Schedule E/F, line      4.78
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Barry Ipp




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                                                                                            Check all schedules that apply:


    3.69     163-165 East 62nd Street Holdi                                                   Schedule D, line
             ng LLC 12 Water Street                                                           Schedule E/F, line      4.97
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Bruce Azus




    3.70     163-165 East 62nd Street Holdi                                                   Schedule D, line
             ng LLC 12 Water Street                                                           Schedule E/F, line 4.102
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Canzone Contracting Corp




    3.71     163-165 East 62nd Street Holdi                                                   Schedule D, line
             ng LLC 12 Water Street                                                           Schedule E/F, line      4.108
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Carl Bonomo




    3.72     163-165 East 62nd Street Holdi                                                   Schedule D, line
             ng LLC 12 Water Street                                                           Schedule E/F, line      4.109
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Carmine Lippolis




    3.73     163-165 East 62nd Street Holdi                                                   Schedule D, line
             ng LLC 12 Water Street                                                           Schedule E/F, line      4.112
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Carol Merkel




    3.74     163-165 East 62nd Street Holdi                                                   Schedule D, line
             ng LLC 12 Water Street                                                           Schedule E/F, line      4.121
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Chantal Pick




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                                                                                            Check all schedules that apply:
    3.75     163-165 East 62nd Street Holdi                                                   Schedule D, line
             ng LLC 12 Water Street                                                           Schedule E/F, line      4.125
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Charles Barovian




    3.76     163-165 East 62nd Street Holdi                                                    Schedule D, line
             ng LLC 12 Water Street                                                            Schedule E/F, line   4.134
             Suite 204
                                                                                               Schedule G
             White Plains, NY 10601
                                                                                            Clifford & Gail Bassett




    3.77     163-165 East 62nd Street Holdi                                                   Schedule D, line
             ng LLC 12 Water Street                                                           Schedule E/F, line 4.136
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Cohen Children Trust




    3.78     163-165 East 62nd Street Holdi                                                   Schedule D, line
             ng LLC 12 Water Street                                                           Schedule E/F, line      4.137
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Conrad Strohl




    3.79     163-165 East 62nd Street Holdi                                                   Schedule D, line
             ng LLC 12 Water Street                                                           Schedule E/F, line      4.142
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Cy Blanco




    3.80     163-165 East 62nd Street Holdi                                                   Schedule D, line
             ng LLC 12 Water Street                                                           Schedule E/F, line      4.143
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Cynthia Petretti




    3.81     163-165 East 62nd Street Holdi                                                   Schedule D, line
             ng LLC 12 Water Street                                                           Schedule E/F, line      4.147
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Daniel Rifkin




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                                                                                            Check all schedules that apply:


    3.82     163-165 East 62nd Street Holdi                                                   Schedule D, line
             ng LLC 12 Water Street                                                           Schedule E/F, line      4.150
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Darren Kay




    3.83     163-165 East 62nd Street Holdi                                                   Schedule D, line
             ng LLC 12 Water Street                                                           Schedule E/F, line 4.154
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            David & Susan Diamond




    3.84     163-165 East 62nd Street Holdi                                                   Schedule D, line
             ng LLC 12 Water Street                                                           Schedule E/F, line      4.158
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            David Bauer




    3.85     163-165 East 62nd Street Holdi                                                   Schedule D, line
             ng LLC 12 Water Street                                                           Schedule E/F, line      4.161
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            David Katz




    3.86     163-165 East 62nd Street Holdi                                                   Schedule D, line
             ng LLC 12 Water Street                                                           Schedule E/F, line      4.162
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            David Levy




    3.87     163-165 East 62nd Street Holdi                                                   Schedule D, line
             ng LLC 12 Water Street                                                           Schedule E/F, line      4.167
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            David S. Cohen




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                                                                                            Check all schedules that apply:
    3.88     163-165 East 62nd Street Holdi                                                   Schedule D, line
             ng LLC 12 Water Street                                                           Schedule E/F, line      4.170
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            David Tesser




    3.89     163-165 East 62nd Street Holdi                                                   Schedule D, line
             ng LLC 12 Water Street                                                           Schedule E/F, line      4.174
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Dennis Korchinski




    3.90     163-165 East 62nd Street Holdi                                                   Schedule D, line
             ng LLC 12 Water Street                                                           Schedule E/F, line 4.177
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Diamond Enterprises LLC




    3.91     163-165 East 62nd Street Holdi                                                   Schedule D, line
             ng LLC 12 Water Street                                                           Schedule E/F, line      4.182
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Dodd Farber




    3.92     163-165 East 62nd Street Holdi                                                   Schedule D, line
             ng LLC 12 Water Street                                                           Schedule E/F, line      4.187
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Donald Konrad




    3.93     163-165 East 62nd Street Holdi                                                   Schedule D, line
             ng LLC 12 Water Street                                                           Schedule E/F, line      4.191
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Douglas Scibelli




    3.94     163-165 East 62nd Street Holdi                                                   Schedule D, line
             ng LLC 12 Water Street                                                           Schedule E/F, line      4.192
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Dov Kesselman




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             Column 1: Your codebtor                                                        Column 2: The creditor to whom you owe the debt
                                                                                            Check all schedules that apply:


    3.95     163-165 East 62nd Street Holdi                                                   Schedule D, line
             ng LLC 12 Water Street                                                           Schedule E/F, line      4.201
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Ed Tesser




    3.96     163-165 East 62nd Street Holdi                                                    Schedule D, line
             ng LLC 12 Water Street                                                            Schedule E/F, line     4.204
             Suite 204
                                                                                               Schedule G
             White Plains, NY 10601
                                                                                            Elizabeth Armstrong




    3.97     163-165 East 62nd Street Holdi                                                    Schedule D, line
             ng LLC 12 Water Street                                                            Schedule E/F, line     4.213
             Suite 204
                                                                                               Schedule G
             White Plains, NY 10601
                                                                                            Erin Diamond




    3.98     163-165 East 62nd Street Holdi                                                   Schedule D, line
             ng LLC 12 Water Street                                                           Schedule E/F, line      4.220
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Fallon Rose LLC




    3.99     163-165 East 62nd Street Holdi                                                   Schedule D, line
             ng LLC 12 Water Street                                                           Schedule E/F, line  4.221
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Federlein Family 2012 Gift Trust, Barbar




    3.10     163-165 East 62nd Street Holdi                                                    Schedule D, line
    0        ng LLC 12 Water Street                                                            Schedule E/F, line  4.235
             Suite 204
                                                                                               Schedule G
             White Plains, NY 10601
                                                                                            Friedricks Associates LTD




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                                                                                            Check all schedules that apply:
    3.10     163-165 East 62nd Street Holdi                                                   Schedule D, line
    1        ng LLC 12 Water Street                                                           Schedule E/F, line      4.245
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Gerald Levy




    3.10     163-165 East 62nd Street Holdi                                                   Schedule D, line
    2        ng LLC 12 Water Street                                                           Schedule E/F, line      4.254
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Glenn Messinger




    3.10     163-165 East 62nd Street Holdi                                                   Schedule D, line
    3        ng LLC 12 Water Street                                                           Schedule E/F, line 4.258
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Golden Touch Investments, LLC




    3.10     163-165 East 62nd Street Holdi                                                   Schedule D, line
    4        ng LLC 12 Water Street                                                           Schedule E/F, line      4.264
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Grant & Fox LLC




    3.10     163-165 East 62nd Street Holdi                                                   Schedule D, line
    5        ng LLC 12 Water Street                                                           Schedule E/F, line      4.268
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Gregory Calabro




    3.10     163-165 East 62nd Street Holdi                                                   Schedule D, line
    6        ng LLC 12 Water Street                                                           Schedule E/F, line      4.272
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Harrilyn Dolman




    3.10     163-165 East 62nd Street Holdi                                                   Schedule D, line
    7        ng LLC 12 Water Street                                                           Schedule E/F, line      4.273
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Harvey Stevens




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             Column 1: Your codebtor                                                        Column 2: The creditor to whom you owe the debt
                                                                                            Check all schedules that apply:


    3.10     163-165 East 62nd Street Holdi                                                   Schedule D, line
    8        ng LLC 12 Water Street                                                           Schedule E/F, line      4.276
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Herminio Torres




    3.10     163-165 East 62nd Street Holdi                                                   Schedule D, line
    9        ng LLC 12 Water Street                                                           Schedule E/F, line  4.278
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Hewlett Trading Co. LLC




    3.11     163-165 East 62nd Street Holdi                                                    Schedule D, line
    0        ng LLC 12 Water Street                                                            Schedule E/F, line  4.281
             Suite 204
                                                                                               Schedule G
             White Plains, NY 10601
                                                                                            Integrated Electronic Solutions Inc




    3.11     163-165 East 62nd Street Holdi                                                   Schedule D, line
    1        ng LLC 12 Water Street                                                           Schedule E/F, line      4.288
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Jack Perlman




    3.11     163-165 East 62nd Street Holdi                                                   Schedule D, line
    2        ng LLC 12 Water Street                                                           Schedule E/F, line      4.289
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Jaclyn Bonomo




    3.11     163-165 East 62nd Street Holdi                                                   Schedule D, line
    3        ng LLC 12 Water Street                                                           Schedule E/F, line      4.291
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Jacqueline Martinez




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             Column 1: Your codebtor                                                        Column 2: The creditor to whom you owe the debt
                                                                                            Check all schedules that apply:
    3.11     163-165 East 62nd Street Holdi                                                   Schedule D, line
    4        ng LLC 12 Water Street                                                           Schedule E/F, line      4.294
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Jason Griffith




    3.11     163-165 East 62nd Street Holdi                                                   Schedule D, line
    5        ng LLC 12 Water Street                                                           Schedule E/F, line      4.299
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Jeffrey Mortman




    3.11     163-165 East 62nd Street Holdi                                                   Schedule D, line
    6        ng LLC 12 Water Street                                                           Schedule E/F, line      4.301
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Jeffrey Pinsky




    3.11     163-165 East 62nd Street Holdi                                                   Schedule D, line
    7        ng LLC 12 Water Street                                                           Schedule E/F, line      4.306
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Jerry Pinsky




    3.11     163-165 East 62nd Street Holdi                                                   Schedule D, line
    8        ng LLC 12 Water Street                                                           Schedule E/F, line      4.312
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            John Bonito




    3.11     163-165 East 62nd Street Holdi                                                   Schedule D, line
    9        ng LLC 12 Water Street                                                           Schedule E/F, line      4.315
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            John Ernenwein




    3.12     163-165 East 62nd Street Holdi                                                   Schedule D, line
    0        ng LLC 12 Water Street                                                           Schedule E/F, line      4.324
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Jon Hansburg




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                                                                                            Check all schedules that apply:


    3.12     163-165 East 62nd Street Holdi                                                   Schedule D, line
    1        ng LLC 12 Water Street                                                           Schedule E/F, line      4.325
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Joseph Breda




    3.12     163-165 East 62nd Street Holdi                                                   Schedule D, line
    2        ng LLC 12 Water Street                                                           Schedule E/F, line      4.330
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Joseph Dinoia




    3.12     163-165 East 62nd Street Holdi                                                   Schedule D, line
    3        ng LLC 12 Water Street                                                           Schedule E/F, line      4.332
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Josh Manson




    3.12     163-165 East 62nd Street Holdi                                                   Schedule D, line
    4        ng LLC 12 Water Street                                                           Schedule E/F, line 4.335
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Joshua & Angie Brown




    3.12     163-165 East 62nd Street Holdi                                                   Schedule D, line
    5        ng LLC 12 Water Street                                                           Schedule E/F, line      4.337
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Judah Hammer




    3.12     163-165 East 62nd Street Holdi                                                   Schedule D, line
    6        ng LLC 12 Water Street                                                           Schedule E/F, line      4.339
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Julianne Bonomo




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                                                                                            Check all schedules that apply:
    3.12     163-165 East 62nd Street Holdi                                                   Schedule D, line
    7        ng LLC 12 Water Street                                                           Schedule E/F, line      4.345
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Keith Hummel




    3.12     163-165 East 62nd Street Holdi                                                   Schedule D, line
    8        ng LLC 12 Water Street                                                           Schedule E/F, line      4.351
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Kurt Voellmicke




    3.12     163-165 East 62nd Street Holdi                                                   Schedule D, line
    9        ng LLC 12 Water Street                                                           Schedule E/F, line 4.356
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Lawrence & Fara Tesser




    3.13     163-165 East 62nd Street Holdi                                                   Schedule D, line
    0        ng LLC 12 Water Street                                                           Schedule E/F, line      4.357
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Lawrence Dolin




    3.13     163-165 East 62nd Street Holdi                                                    Schedule D, line
    1        ng LLC 12 Water Street                                                            Schedule E/F, line     4.365
             Suite 204
                                                                                               Schedule G
             White Plains, NY 10601
                                                                                            Lillian Fazio




    3.13     163-165 East 62nd Street Holdi                                                    Schedule D, line
    2        ng LLC 12 Water Street                                                            Schedule E/F, line     4.372
             Suite 204
                                                                                               Schedule G
             White Plains, NY 10601
                                                                                            Lisa West




    3.13     163-165 East 62nd Street Holdi                                                   Schedule D, line
    3        ng LLC 12 Water Street                                                           Schedule E/F, line      4.376
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Luis Flores




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                                                                                            Check all schedules that apply:


    3.13     163-165 East 62nd Street Holdi                                                   Schedule D, line
    4        ng LLC 12 Water Street                                                           Schedule E/F, line      4.377
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Luise Barrack




    3.13     163-165 East 62nd Street Holdi                                                   Schedule D, line
    5        ng LLC 12 Water Street                                                           Schedule E/F, line 4.380
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            MAF Realty Ventures LLC




    3.13     163-165 East 62nd Street Holdi                                                   Schedule D, line
    6        ng LLC 12 Water Street                                                           Schedule E/F, line      4.385
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Maria Pedersen




    3.13     163-165 East 62nd Street Holdi                                                   Schedule D, line
    7        ng LLC 12 Water Street                                                           Schedule E/F, line      4.389
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Marilyn Shendell




    3.13     163-165 East 62nd Street Holdi                                                   Schedule D, line
    8        ng LLC 12 Water Street                                                           Schedule E/F, line      4.396
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Mark Engel




    3.13     163-165 East 62nd Street Holdi                                                   Schedule D, line
    9        ng LLC 12 Water Street                                                           Schedule E/F, line      4.400
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Mary Middelton




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                                                                                            Check all schedules that apply:
    3.14     163-165 East 62nd Street Holdi                                                   Schedule D, line
    0        ng LLC 12 Water Street                                                           Schedule E/F, line      4.404
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Matthew Engel




    3.14     163-165 East 62nd Street Holdi                                                   Schedule D, line
    1        ng LLC 12 Water Street                                                           Schedule E/F, line   4.416
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Michael & Virginia Salvemini




    3.14     163-165 East 62nd Street Holdi                                                   Schedule D, line
    2        ng LLC 12 Water Street                                                           Schedule E/F, line      4.417
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Michael Burden




    3.14     163-165 East 62nd Street Holdi                                                   Schedule D, line
    3        ng LLC 12 Water Street                                                           Schedule E/F, line      4.422
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Michael Eigner




    3.14     163-165 East 62nd Street Holdi                                                   Schedule D, line
    4        ng LLC 12 Water Street                                                           Schedule E/F, line      4.424
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Michael Kesselman




    3.14     163-165 East 62nd Street Holdi                                                   Schedule D, line
    5        ng LLC 12 Water Street                                                           Schedule E/F, line      4.429
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Michael Shenker




    3.14     163-165 East 62nd Street Holdi                                                   Schedule D, line
    6        ng LLC 12 Water Street                                                           Schedule E/F, line      4.433
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Michele DeFranco




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                                                                                            Check all schedules that apply:


    3.14     163-165 East 62nd Street Holdi                                                   Schedule D, line
    7        ng LLC 12 Water Street                                                           Schedule E/F, line  4.434
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Monica Spier as Trustee of the Monica




    3.14     163-165 East 62nd Street Holdi                                                   Schedule D, line
    8        ng LLC 12 Water Street                                                           Schedule E/F, line      4.437
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Nadia Nedelcheva




    3.14     163-165 East 62nd Street Holdi                                                   Schedule D, line
    9        ng LLC 12 Water Street                                                           Schedule E/F, line  4.438
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Nathan & Pearl Halegua




    3.15     163-165 East 62nd Street Holdi                                                   Schedule D, line
    0        ng LLC 12 Water Street                                                           Schedule E/F, line      4.441
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Neil Levy




    3.15     163-165 East 62nd Street Holdi                                                   Schedule D, line
    1        ng LLC 12 Water Street                                                           Schedule E/F, line      4.444
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Neil Ptashnik




    3.15     163-165 East 62nd Street Holdi                                                   Schedule D, line
    2        ng LLC 12 Water Street                                                           Schedule E/F, line      4.447
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Nellie Giblaint




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                                                                                            Check all schedules that apply:
    3.15     163-165 East 62nd Street Holdi                                                   Schedule D, line
    3        ng LLC 12 Water Street                                                           Schedule E/F, line      4.453
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Nicholas Guerriero




    3.15     163-165 East 62nd Street Holdi                                                   Schedule D, line
    4        ng LLC 12 Water Street                                                           Schedule E/F, line      4.454
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            P&R Family LLC




    3.15     163-165 East 62nd Street Holdi                                                   Schedule D, line
    5        ng LLC 12 Water Street                                                           Schedule E/F, line      4.457
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Paul Bunt




    3.15     163-165 East 62nd Street Holdi                                                   Schedule D, line
    6        ng LLC 12 Water Street                                                           Schedule E/F, line 4.458
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            PCJ Investments LLC




    3.15     163-165 East 62nd Street Holdi                                                   Schedule D, line
    7        ng LLC 12 Water Street                                                           Schedule E/F, line 4.462
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Pensco Trust Company FBO Howard Rosen




    3.15     163-165 East 62nd Street Holdi                                                   Schedule D, line
    8        ng LLC 12 Water Street                                                           Schedule E/F, line 4.464
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Pensco Trust Company FBO James Wacht




    3.15     163-165 East 62nd Street Holdi                                                   Schedule D, line
    9        ng LLC 12 Water Street                                                           Schedule E/F, line      4.465
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Peter Dreyfuss




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                                                                                            Check all schedules that apply:


    3.16     163-165 East 62nd Street Holdi                                                   Schedule D, line
    0        ng LLC 12 Water Street                                                           Schedule E/F, line      4.467
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Peter Rosenthal




    3.16     163-165 East 62nd Street Holdi                                                   Schedule D, line
    1        ng LLC 12 Water Street                                                           Schedule E/F, line      4.471
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Philip Fiederlein




    3.16     163-165 East 62nd Street Holdi                                                   Schedule D, line
    2        ng LLC 12 Water Street                                                           Schedule E/F, line    4.476
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Philip Goldstein Living Trust 11/30/10




    3.16     163-165 East 62nd Street Holdi                                                   Schedule D, line
    3        ng LLC 12 Water Street                                                           Schedule E/F, line      4.479
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Philip Malakoff




    3.16     163-165 East 62nd Street Holdi                                                   Schedule D, line
    4        ng LLC 12 Water Street                                                           Schedule E/F, line   4.482
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Phyllis C. Cohen Irrevocable Trust,




    3.16     163-165 East 62nd Street Holdi                                                   Schedule D, line
    5        ng LLC 12 Water Street                                                           Schedule E/F, line      4.495
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Ram Gupta




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                                                                                            Check all schedules that apply:
    3.16     163-165 East 62nd Street Holdi                                                   Schedule D, line
    6        ng LLC 12 Water Street                                                           Schedule E/F, line      4.501
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Rejis Realty LLC




    3.16     163-165 East 62nd Street Holdi                                                   Schedule D, line
    7        ng LLC 12 Water Street                                                           Schedule E/F, line      4.502
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Rella Fogliano




    3.16     163-165 East 62nd Street Holdi                                                   Schedule D, line
    8        ng LLC 12 Water Street                                                           Schedule E/F, line      4.503
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Richard Giliotti




    3.16     163-165 East 62nd Street Holdi                                                   Schedule D, line
    9        ng LLC 12 Water Street                                                           Schedule E/F, line      4.506
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            RNG WEA LLC




    3.17     163-165 East 62nd Street Holdi                                                   Schedule D, line
    0        ng LLC 12 Water Street                                                           Schedule E/F, line      4.509
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Robert Cicero




    3.17     163-165 East 62nd Street Holdi                                                   Schedule D, line
    1        ng LLC 12 Water Street                                                           Schedule E/F, line      4.512
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Robert Feldman




    3.17     163-165 East 62nd Street Holdi                                                   Schedule D, line
    2        ng LLC 12 Water Street                                                           Schedule E/F, line      4.513
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Robert Hochman




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                                                                                            Check all schedules that apply:


    3.17     163-165 East 62nd Street Holdi                                                   Schedule D, line
    3        ng LLC 12 Water Street                                                           Schedule E/F, line      4.517
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Robert Rosen




    3.17     163-165 East 62nd Street Holdi                                                   Schedule D, line
    4        ng LLC 12 Water Street                                                           Schedule E/F, line      4.518
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Robert Rosenthal




    3.17     163-165 East 62nd Street Holdi                                                   Schedule D, line
    5        ng LLC 12 Water Street                                                           Schedule E/F, line      4.523
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Rochelle Kesselman




    3.17     163-165 East 62nd Street Holdi                                                   Schedule D, line
    6        ng LLC 12 Water Street                                                           Schedule E/F, line      4.524
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Roger Colonna




    3.17     163-165 East 62nd Street Holdi                                                   Schedule D, line
    7        ng LLC 12 Water Street                                                           Schedule E/F, line      4.525
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Roger Schneier




    3.17     163-165 East 62nd Street Holdi                                                   Schedule D, line
    8        ng LLC 12 Water Street                                                           Schedule E/F, line      4.531
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Ronald Garfunkel




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                                                                                            Check all schedules that apply:
    3.17     163-165 East 62nd Street Holdi                                                   Schedule D, line
    9        ng LLC 12 Water Street                                                           Schedule E/F, line      4.536
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Ross Epstein




    3.18     163-165 East 62nd Street Holdi                                                   Schedule D, line
    0        ng LLC 12 Water Street                                                           Schedule E/F, line      4.538
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Ross Goldenberg




    3.18     163-165 East 62nd Street Holdi                                                   Schedule D, line
    1        ng LLC 12 Water Street                                                           Schedule E/F, line      4.542
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Ross Weissman




    3.18     163-165 East 62nd Street Holdi                                                   Schedule D, line
    2        ng LLC 12 Water Street                                                           Schedule E/F, line      4.561
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Saulyco LLC




    3.18     163-165 East 62nd Street Holdi                                                   Schedule D, line
    3        ng LLC 12 Water Street                                                           Schedule E/F, line      4.564
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Scott DeCarolis




    3.18     163-165 East 62nd Street Holdi                                                   Schedule D, line
    4        ng LLC 12 Water Street                                                           Schedule E/F, line      4.573
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Shoshana Abramoff




    3.18     163-165 East 62nd Street Holdi                                                    Schedule D, line
    5        ng LLC 12 Water Street                                                            Schedule E/F, line  4.585
             Suite 204
                                                                                               Schedule G
             White Plains, NY 10601
                                                                                            Six Six Holdings 62nd St LLC




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                                                                                            Check all schedules that apply:


    3.18     163-165 East 62nd Street Holdi                                                   Schedule D, line
    6        ng LLC 12 Water Street                                                           Schedule E/F, line      4.592
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Stephen Nardoni




    3.18     163-165 East 62nd Street Holdi                                                   Schedule D, line
    7        ng LLC 12 Water Street                                                           Schedule E/F, line      4.593
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Stephen Wolinetz




    3.18     163-165 East 62nd Street Holdi                                                   Schedule D, line
    8        ng LLC 12 Water Street                                                           Schedule E/F, line      4.603
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Steven Napoli




    3.18     163-165 East 62nd Street Holdi                                                   Schedule D, line
    9        ng LLC 12 Water Street                                                           Schedule E/F, line 4.615
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            The Hyman Cohen Revocable Trust




    3.19     163-165 East 62nd Street Holdi                                                   Schedule D, line
    0        ng LLC 12 Water Street                                                           Schedule E/F, line 4.617
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            The Joshua Epstein 2009 Trust




    3.19     163-165 East 62nd Street Holdi                                                   Schedule D, line
    1        ng LLC 12 Water Street                                                           Schedule E/F, line   4.618
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            The Payroll Store Investments




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             Column 1: Your codebtor                                                        Column 2: The creditor to whom you owe the debt
                                                                                            Check all schedules that apply:
    3.19     163-165 East 62nd Street Holdi                                                   Schedule D, line
    2        ng LLC 12 Water Street                                                           Schedule E/F, line      4.627
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Timothy Gold




    3.19     163-165 East 62nd Street Holdi                                                   Schedule D, line
    3        ng LLC 12 Water Street                                                           Schedule E/F, line      4.629
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            TLM Holdings LLC




    3.19     163-165 East 62nd Street Holdi                                                   Schedule D, line
    4        ng LLC 12 Water Street                                                           Schedule E/F, line      4.649
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            William Bonomo




    3.19     163-165 East 62nd Street Holdi                                                   Schedule D, line
    5        ng LLC 12 Water Street                                                           Schedule E/F, line      4.651
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            William Jebaily




    3.19     163-165 East 62nd Street Holdi                                                   Schedule D, line
    6        ng LLC 12 Water Street                                                           Schedule E/F, line      4.654
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Yehuda Biber




    3.19     163-165 East 62nd Street Holdi                                                   Schedule D, line
    7        ng LLC 12 Water Street                                                           Schedule E/F, line   4.656
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Yoser & Elisheva Oratz




    3.19     163-165 East 62nd Street Holdi                                                   Schedule D, line
    8        ng LLC 12 Water Street                                                           Schedule E/F, line      4.659
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Zachary Stone




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                                                                                            Check all schedules that apply:


    3.19     17 Circle Rd - MBI LLC                                                           Schedule D, line
    9        12 Water Street                                                                  Schedule E/F, line 4.37
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Angelo Spray Foam Corp




    3.20     17 Circle Rd - MBI LLC                                                           Schedule D, line
    0        12 Water Street                                                                  Schedule E/F, line  4.144
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Daimler Construction LLC




    3.20     17 Circle Rd - MBI LLC                                                           Schedule D, line
    1        12 Water Street                                                                  Schedule E/F, line  4.200
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Eastern Metal Works Inc




    3.20     17 Circle Rd - MBI LLC                                                           Schedule D, line
    2        12 Water Street                                                                  Schedule E/F, line  4.218
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Fairfield County Bank




    3.20     17 Circle Rd - MBI LLC                                                           Schedule D, line
    3        12 Water Street                                                                  Schedule E/F, line  4.219
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Fairfield County Bank




    3.20     17 Circle Rd - MBI LLC                                                           Schedule D, line
    4        12 Water Street                                                                  Schedule E/F, line 4.450
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            New Plumbing & Heating Corp




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                                                                                            Check all schedules that apply:
    3.20     17 Circle Rd - MBI LLC                                                           Schedule D, line
    5        12 Water Street                                                                  Schedule E/F, line    4.456
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            P.S. Electrical Contracting Corp




    3.20     17 Circle Rd - MBI LLC                                                           Schedule D, line
    6        12 Water Street                                                                  Schedule E/F, line  4.527
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Rogliano Construction




    3.20     17 Circle Rd - MBI LLC                                                           Schedule D, line
    7        12 Water Street                                                                  Schedule E/F, line 4.546
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            RVB Construction Inc




    3.20     17 Circle Rd - MBI LLC                                                           Schedule D, line
    8        12 Water Street                                                                  Schedule E/F, line      4.634
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Total Comfort Inc




    3.20     17 Circle Rd - MBI LLC                                                           Schedule D, line
    9        12 Water Street                                                                  Schedule E/F, line 4.637
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            United Overhead Door Corp




    3.21     184 East 64th Street                                                             Schedule D, line
    0        Associates LLC 12 Water St                                                       Schedule E/F, line  4.105
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Carefree Air & Water Management Inc




    3.21     184 East 64th Street                                                             Schedule D, line
    1        Associates LLC 12 Water St                                                       Schedule E/F, line  4.145
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Daimler Construction LLC




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                                                                                            Check all schedules that apply:


    3.21     184 East 64th Street                                                             Schedule D, line
    2        Associates LLC 12 Water St                                                       Schedule E/F, line      4.229
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Fort Cica




    3.21     184 East 64th Street                                                              Schedule D, line
    3        Associates LLC 12 Water St                                                        Schedule E/F, line     4.369
             Suite 204
                                                                                               Schedule G
             White Plains, NY 10601
                                                                                            Lippolis Electric Inc




    3.21     184 East 64th Street                                                             Schedule D, line
    4        Associates LLC 12 Water St                                                       Schedule E/F, line 4.448
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            New Plumbing & Heating Corp




    3.21     184 East 64th Street                                                             Schedule D, line
    5        Associates LLC 12 Water St                                                       Schedule E/F, line      4.487
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Preferred Bank




    3.21     184 East 64th Street                                                             Schedule D, line
    6        Associates LLC 12 Water St                                                       Schedule E/F, line      4.544
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Rufo A. Arias Corp




    3.21     184 East 64th Street Holding                                                     Schedule D, line
    7        LLC 12 Water Street                                                              Schedule E/F, line  4.1
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            1516 Realty Group LLC




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                                                                                            Check all schedules that apply:
    3.21     184 East 64th Street Holding                                                     Schedule D, line
    8        LLC 12 Water Street                                                              Schedule E/F, line      4.4
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Adam Cohen




    3.21     184 East 64th Street Holding                                                     Schedule D, line
    9        LLC 12 Water Street                                                              Schedule E/F, line      4.7
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Adam Fields




    3.22     184 East 64th Street Holding                                                     Schedule D, line
    0        LLC 12 Water Street                                                              Schedule E/F, line      4.28
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Alyse Lefton




    3.22     184 East 64th Street Holding                                                     Schedule D, line
    1        LLC 12 Water Street                                                              Schedule E/F, line      4.40
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Anita Gupta




    3.22     184 East 64th Street Holding                                                     Schedule D, line
    2        LLC 12 Water Street                                                              Schedule E/F, line      4.44
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Anthony Sr Bonomo




    3.22     184 East 64th Street Holding                                                     Schedule D, line
    3        LLC 12 Water Street                                                              Schedule E/F, line 4.46
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Anthony, Jr. Bonomo




    3.22     184 East 64th Street Holding                                                      Schedule D, line
    4        LLC 12 Water Street                                                               Schedule E/F, line     4.49
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Arlene Blatt




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             Column 1: Your codebtor                                                        Column 2: The creditor to whom you owe the debt
                                                                                            Check all schedules that apply:


    3.22     184 East 64th Street Holding                                                     Schedule D, line
    5        LLC 12 Water Street                                                              Schedule E/F, line      4.51
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Arnold Waldman




    3.22     184 East 64th Street Holding                                                     Schedule D, line
    6        LLC 12 Water Street                                                              Schedule E/F, line    4.72
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Barbara J. Fiederlein Trust for David, D




    3.22     184 East 64th Street Holding                                                     Schedule D, line
    7        LLC 12 Water Street                                                              Schedule E/F, line      4.82
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Beverly Hazelkorn




    3.22     184 East 64th Street Holding                                                     Schedule D, line
    8        LLC 12 Water Street                                                              Schedule E/F, line 4.88
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            BMG Consulting Group LLC




    3.22     184 East 64th Street Holding                                                     Schedule D, line
    9        LLC 12 Water Street                                                              Schedule E/F, line      4.96
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Bruce Azus




    3.23     184 East 64th Street Holding                                                     Schedule D, line
    0        LLC 12 Water Street                                                              Schedule E/F, line      4.113
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Carol Merkel




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                                                                                            Check all schedules that apply:
    3.23     184 East 64th Street Holding                                                     Schedule D, line
    1        LLC 12 Water Street                                                              Schedule E/F, line      4.122
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Chantal Pick




    3.23     184 East 64th Street Holding                                                     Schedule D, line
    2        LLC 12 Water Street                                                              Schedule E/F, line      4.148
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Daniel Rifkin




    3.23     184 East 64th Street Holding                                                     Schedule D, line
    3        LLC 12 Water Street                                                              Schedule E/F, line      4.152
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            David & Rita Levy




    3.23     184 East 64th Street Holding                                                     Schedule D, line
    4        LLC 12 Water Street                                                              Schedule E/F, line      4.171
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            David Tesser




    3.23     184 East 64th Street Holding                                                     Schedule D, line
    5        LLC 12 Water Street                                                              Schedule E/F, line 4.178
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Diamond Enterprises LLC




    3.23     184 East 64th Street Holding                                                     Schedule D, line
    6        LLC 12 Water Street                                                              Schedule E/F, line    4.198
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            East 64th Street Realty Partners LLC




    3.23     184 East 64th Street Holding                                                     Schedule D, line
    7        LLC 12 Water Street                                                              Schedule E/F, line  4.222
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Federlein Family 2012 Gift Trust, Barbar




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                                                                                            Check all schedules that apply:


    3.23     184 East 64th Street Holding                                                      Schedule D, line
    8        LLC 12 Water Street                                                               Schedule E/F, line 4.227
             Suite 204
                                                                                               Schedule G
             White Plains, NY 10601
                                                                                            Fiederlein Family LLC




    3.23     184 East 64th Street Holding                                                      Schedule D, line
    9        LLC 12 Water Street                                                               Schedule E/F, line     4.236
             Suite 204
                                                                                               Schedule G
             White Plains, NY 10601
                                                                                            Frima Edelstein




    3.24     184 East 64th Street Holding                                                     Schedule D, line
    0        LLC 12 Water Street                                                              Schedule E/F, line 4.240
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Gamor Company LLC




    3.24     184 East 64th Street Holding                                                     Schedule D, line
    1        LLC 12 Water Street                                                              Schedule E/F, line      4.247
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Gerald Levy




    3.24     184 East 64th Street Holding                                                     Schedule D, line
    2        LLC 12 Water Street                                                              Schedule E/F, line      4.269
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Gregory Calabro




    3.24     184 East 64th Street Holding                                                     Schedule D, line
    3        LLC 12 Water Street                                                              Schedule E/F, line      4.290
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Jaclyn Bonomo




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                                                                                            Check all schedules that apply:
    3.24     184 East 64th Street Holding                                                     Schedule D, line
    4        LLC 12 Water Street                                                              Schedule E/F, line      4.295
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Jason Griffith




    3.24     184 East 64th Street Holding                                                     Schedule D, line
    5        LLC 12 Water Street                                                              Schedule E/F, line      4.314
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            John Cannon




    3.24     184 East 64th Street Holding                                                     Schedule D, line
    6        LLC 12 Water Street                                                              Schedule E/F, line      4.316
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            John Ernenwein




    3.24     184 East 64th Street Holding                                                     Schedule D, line
    7        LLC 12 Water Street                                                              Schedule E/F, line      4.329
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Joseph Dinoia




    3.24     184 East 64th Street Holding                                                     Schedule D, line
    8        LLC 12 Water Street                                                              Schedule E/F, line      4.340
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Julianne Bonomo




    3.24     184 East 64th Street Holding                                                     Schedule D, line
    9        LLC 12 Water Street                                                              Schedule E/F, line      4.358
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Lawrence Dolin




    3.25     184 East 64th Street Holding                                                      Schedule D, line
    0        LLC 12 Water Street                                                               Schedule E/F, line     4.373
             Suite 204
                                                                                               Schedule G
             White Plains, NY 10601
                                                                                            Lisa West




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                                                                                            Check all schedules that apply:


    3.25     184 East 64th Street Holding                                                     Schedule D, line
    1        LLC 12 Water Street                                                              Schedule E/F, line      4.392
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Marilyn Yukelson




    3.25     184 East 64th Street Holding                                                     Schedule D, line
    2        LLC 12 Water Street                                                              Schedule E/F, line      4.397
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Mark Engel




    3.25     184 East 64th Street Holding                                                     Schedule D, line
    3        LLC 12 Water Street                                                              Schedule E/F, line      4.405
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Matthew Engel




    3.25     184 East 64th Street Holding                                                     Schedule D, line
    4        LLC 12 Water Street                                                              Schedule E/F, line  4.409
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Mautner-Glick Corp Profit Sharing Plan




    3.25     184 East 64th Street Holding                                                     Schedule D, line
    5        LLC 12 Water Street                                                              Schedule E/F, line      4.425
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Michael Kesselman




    3.25     184 East 64th Street Holding                                                     Schedule D, line
    6        LLC 12 Water Street                                                              Schedule E/F, line      4.428
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Michael Rothschild




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                                                                                            Check all schedules that apply:
    3.25     184 East 64th Street Holding                                                     Schedule D, line
    7        LLC 12 Water Street                                                              Schedule E/F, line  4.439
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Nathan & Pearl Halegua




    3.25     184 East 64th Street Holding                                                     Schedule D, line
    8        LLC 12 Water Street                                                              Schedule E/F, line 4.463
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Pensco Trust Company FBO Howard Rosen




    3.25     184 East 64th Street Holding                                                     Schedule D, line
    9        LLC 12 Water Street                                                              Schedule E/F, line      4.472
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Philip Fiederlein




    3.26     184 East 64th Street Holding                                                     Schedule D, line
    0        LLC 12 Water Street                                                              Schedule E/F, line      4.496
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Ram Gupta




    3.26     184 East 64th Street Holding                                                     Schedule D, line
    1        LLC 12 Water Street                                                              Schedule E/F, line      4.519
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Robert Rosenthal




    3.26     184 East 64th Street Holding                                                     Schedule D, line
    2        LLC 12 Water Street                                                              Schedule E/F, line      4.526
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Roger Schneier




    3.26     184 East 64th Street Holding                                                     Schedule D, line
    3        LLC 12 Water Street                                                              Schedule E/F, line      4.532
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Ronald Garfunkel




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                                                                                            Check all schedules that apply:


    3.26     184 East 64th Street Holding                                                     Schedule D, line
    4        LLC 12 Water Street                                                              Schedule E/F, line      4.537
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Ross Epstein




    3.26     184 East 64th Street Holding                                                      Schedule D, line
    5        LLC 12 Water Street                                                               Schedule E/F, line     4.549
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            S.T.V. Realty, LLC




    3.26     184 East 64th Street Holding                                                     Schedule D, line
    6        LLC 12 Water Street                                                              Schedule E/F, line      4.562
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Saulyco LLC




    3.26     184 East 64th Street Holding                                                     Schedule D, line
    7        LLC 12 Water Street                                                              Schedule E/F, line      4.563
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Scott & Ella Chick




    3.26     184 East 64th Street Holding                                                     Schedule D, line
    8        LLC 12 Water Street                                                              Schedule E/F, line      4.569
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Scott Silberman




    3.26     184 East 64th Street Holding                                                      Schedule D, line
    9        LLC 12 Water Street                                                               Schedule E/F, line  4.574
             Suite 204
                                                                                               Schedule G
             White Plains, NY 10601
                                                                                            Sierra Real Estate LLC




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                                                                                            Check all schedules that apply:
    3.27     184 East 64th Street Holding                                                     Schedule D, line
    0        LLC 12 Water Street                                                              Schedule E/F, line      4.598
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Steven Engel




    3.27     184 East 64th Street Holding                                                      Schedule D, line
    1        LLC 12 Water Street                                                               Schedule E/F, line     4.628
             Suite 204
                                                                                               Schedule G
             White Plains, NY 10601
                                                                                            Tina Jebaily-Post




    3.27     184 East 64th Street Holding                                                      Schedule D, line
    2        LLC 12 Water Street                                                               Schedule E/F, line     4.646
             Suite 204
                                                                                               Schedule G
             White Plains, NY 10601
                                                                                            Vivian Cardia




    3.27     184 East 64th Street Holding                                                     Schedule D, line
    3        LLC 12 Water Street                                                              Schedule E/F, line      4.652
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            William Jebaily




    3.27     227 E 67th Street Associates                                                      Schedule D, line
    4        LLC 12 Water Street                                                               Schedule E/F, line     4.370
             Suite 204
                                                                                               Schedule G
             White Plains, NY 10601
                                                                                            Lippolis Electric Inc




    3.27     227 E 67th Street Associates                                                     Schedule D, line
    5        LLC 12 Water Street                                                              Schedule E/F, line      4.486
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Preferred Bank




    3.27     227 E 67th Street Holding LLC                                                    Schedule D, line
    6        12 Water Street                                                                  Schedule E/F, line      4.5
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Adam Cohen




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                                                                                            Check all schedules that apply:


    3.27     227 E 67th Street Holding LLC                                                    Schedule D, line
    7        12 Water Street                                                                  Schedule E/F, line      4.8
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Adam Fields




    3.27     227 E 67th Street Holding LLC                                                    Schedule D, line
    8        12 Water Street                                                                  Schedule E/F, line   4.16
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Alan Snider, Trustee of the Alan Snider




    3.27     227 E 67th Street Holding LLC                                                     Schedule D, line
    9        12 Water Street                                                                   Schedule E/F, line     4.21
             Suite 204
                                                                                               Schedule G
             White Plains, NY 10601
                                                                                            Allan Miller




    3.28     227 E 67th Street Holding LLC                                                    Schedule D, line
    0        12 Water Street                                                                  Schedule E/F, line      4.29
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Alyse Lefton




    3.28     227 E 67th Street Holding LLC                                                    Schedule D, line
    1        12 Water Street                                                                  Schedule E/F, line      4.41
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Anita Gupta




    3.28     227 E 67th Street Holding LLC                                                    Schedule D, line
    2        12 Water Street                                                                  Schedule E/F, line      4.52
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Arnold Waldman




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                                                                                            Check all schedules that apply:
    3.28     227 E 67th Street Holding LLC                                                     Schedule D, line
    3        12 Water Street                                                                   Schedule E/F, line     4.60
             Suite 204
                                                                                               Schedule G
             White Plains, NY 10601
                                                                                            Attis Properties Inc




    3.28     227 E 67th Street Holding LLC                                                    Schedule D, line
    4        12 Water Street                                                                  Schedule E/F, line      4.80
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Beverly Griffith




    3.28     227 E 67th Street Holding LLC                                                    Schedule D, line
    5        12 Water Street                                                                  Schedule E/F, line      4.84
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Beverly Hazelkorn




    3.28     227 E 67th Street Holding LLC                                                    Schedule D, line
    6        12 Water Street                                                                  Schedule E/F, line      4.89
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Bonni Stanley




    3.28     227 E 67th Street Holding LLC                                                    Schedule D, line
    7        12 Water Street                                                                  Schedule E/F, line      4.94
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Bruce Azus




    3.28     227 E 67th Street Holding LLC                                                    Schedule D, line
    8        12 Water Street                                                                  Schedule E/F, line      4.114
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Carol Merkel




    3.28     227 E 67th Street Holding LLC                                                    Schedule D, line
    9        12 Water Street                                                                  Schedule E/F, line      4.117
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Caroline Graves




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                                                                                            Check all schedules that apply:


    3.29     227 E 67th Street Holding LLC                                                    Schedule D, line
    0        12 Water Street                                                                  Schedule E/F, line      4.129
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Chris Canzone




    3.29     227 E 67th Street Holding LLC                                                    Schedule D, line
    1        12 Water Street                                                                  Schedule E/F, line      4.159
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            David Cohen




    3.29     227 E 67th Street Holding LLC                                                    Schedule D, line
    2        12 Water Street                                                                  Schedule E/F, line      4.163
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            David Levy




    3.29     227 E 67th Street Holding LLC                                                    Schedule D, line
    3        12 Water Street                                                                  Schedule E/F, line      4.164
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            David Miller




    3.29     227 E 67th Street Holding LLC                                                    Schedule D, line
    4        12 Water Street                                                                  Schedule E/F, line      4.169
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            David Samuels




    3.29     227 E 67th Street Holding LLC                                                    Schedule D, line
    5        12 Water Street                                                                  Schedule E/F, line 4.179
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Diamond Enterprises LLC




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                                                                                            Check all schedules that apply:
    3.29     227 E 67th Street Holding LLC                                                    Schedule D, line
    6        12 Water Street                                                                  Schedule E/F, line      4.195
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Dynaire Corporation




    3.29     227 E 67th Street Holding LLC                                                    Schedule D, line
    7        12 Water Street                                                                  Schedule E/F, line      4.197
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            EAA Investments




    3.29     227 E 67th Street Holding LLC                                                     Schedule D, line
    8        12 Water Street                                                                   Schedule E/F, line     4.205
             Suite 204
                                                                                               Schedule G
             White Plains, NY 10601
                                                                                            Elizabeth Armstrong




    3.29     227 E 67th Street Holding LLC                                                     Schedule D, line
    9        12 Water Street                                                                   Schedule E/F, line     4.206
             Suite 204
                                                                                               Schedule G
             White Plains, NY 10601
                                                                                            Elizabeth Canzone




    3.30     227 E 67th Street Holding LLC                                                     Schedule D, line
    0        12 Water Street                                                                   Schedule E/F, line  4.210
             Suite 204
                                                                                               Schedule G
             White Plains, NY 10601
                                                                                            Ellen Goldstein Living Trust 11/30/10, E




    3.30     227 E 67th Street Holding LLC                                                     Schedule D, line
    1        12 Water Street                                                                   Schedule E/F, line 4.228
             Suite 204
                                                                                               Schedule G
             White Plains, NY 10601
                                                                                            Fiederlein Family LLC




    3.30     227 E 67th Street Holding LLC                                                    Schedule D, line
    2        12 Water Street                                                                  Schedule E/F, line      4.233
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Frank Canzone




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                                                                                            Check all schedules that apply:


    3.30     227 E 67th Street Holding LLC                                                    Schedule D, line
    3        12 Water Street                                                                  Schedule E/F, line      4.234
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Frank Delucia




    3.30     227 E 67th Street Holding LLC                                                    Schedule D, line
    4        12 Water Street                                                                  Schedule E/F, line      4.248
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Gerald Levy




    3.30     227 E 67th Street Holding LLC                                                    Schedule D, line
    5        12 Water Street                                                                  Schedule E/F, line 4.259
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Golden Touch Investments, LLC




    3.30     227 E 67th Street Holding LLC                                                    Schedule D, line
    6        12 Water Street                                                                  Schedule E/F, line      4.274
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Herbert Ash




    3.30     227 E 67th Street Holding LLC                                                     Schedule D, line
    7        12 Water Street                                                                   Schedule E/F, line     4.283
             Suite 204
                                                                                               Schedule G
             White Plains, NY 10601
                                                                                            Ira Gordon




    3.30     227 E 67th Street Holding LLC                                                    Schedule D, line
    8        12 Water Street                                                                  Schedule E/F, line      4.292
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            James Slattery




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                                                                                            Check all schedules that apply:
    3.30     227 E 67th Street Holding LLC                                                    Schedule D, line
    9        12 Water Street                                                                  Schedule E/F, line      4.296
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Jason Griffith




    3.31     227 E 67th Street Holding LLC                                                    Schedule D, line
    0        12 Water Street                                                                  Schedule E/F, line      4.297
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Jason Lieberman




    3.31     227 E 67th Street Holding LLC                                                    Schedule D, line
    1        12 Water Street                                                                  Schedule E/F, line      4.300
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Jeffrey Mortman




    3.31     227 E 67th Street Holding LLC                                                    Schedule D, line
    2        12 Water Street                                                                  Schedule E/F, line      4.307
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Jerry Pinsky




    3.31     227 E 67th Street Holding LLC                                                    Schedule D, line
    3        12 Water Street                                                                  Schedule E/F, line      4.317
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            John Ernenwein




    3.31     227 E 67th Street Holding LLC                                                    Schedule D, line
    4        12 Water Street                                                                  Schedule E/F, line      4.331
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Joseph Raab




    3.31     227 E 67th Street Holding LLC                                                    Schedule D, line
    5        12 Water Street                                                                  Schedule E/F, line      4.346
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Keith Hummel




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                                                                                            Check all schedules that apply:


    3.31     227 E 67th Street Holding LLC                                                    Schedule D, line
    6        12 Water Street                                                                  Schedule E/F, line      4.359
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Lawrence Dolin




    3.31     227 E 67th Street Holding LLC                                                     Schedule D, line
    7        12 Water Street                                                                   Schedule E/F, line     4.366
             Suite 204
                                                                                               Schedule G
             White Plains, NY 10601
                                                                                            Lillian Fazio




    3.31     227 E 67th Street Holding LLC                                                     Schedule D, line
    8        12 Water Street                                                                   Schedule E/F, line     4.374
             Suite 204
                                                                                               Schedule G
             White Plains, NY 10601
                                                                                            Lisa West




    3.31     227 E 67th Street Holding LLC                                                    Schedule D, line
    9        12 Water Street                                                                  Schedule E/F, line      4.381
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Marc Engel




    3.32     227 E 67th Street Holding LLC                                                    Schedule D, line
    0        12 Water Street                                                                  Schedule E/F, line      4.390
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Marilyn Shendell




    3.32     227 E 67th Street Holding LLC                                                    Schedule D, line
    1        12 Water Street                                                                  Schedule E/F, line      4.398
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Mark Engel




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                                                                                            Check all schedules that apply:
    3.32     227 E 67th Street Holding LLC                                                    Schedule D, line
    2        12 Water Street                                                                  Schedule E/F, line      4.406
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Matthew Engel




    3.32     227 E 67th Street Holding LLC                                                    Schedule D, line
    3        12 Water Street                                                                  Schedule E/F, line      4.408
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Matthew Levy




    3.32     227 E 67th Street Holding LLC                                                    Schedule D, line
    4        12 Water Street                                                                  Schedule E/F, line  4.410
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Mautner-Glick Corp Profit Sharing Plan




    3.32     227 E 67th Street Holding LLC                                                    Schedule D, line
    5        12 Water Street                                                                  Schedule E/F, line      4.427
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Michael Klarman




    3.32     227 E 67th Street Holding LLC                                                    Schedule D, line
    6        12 Water Street                                                                  Schedule E/F, line      4.430
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Michael Strauss




    3.32     227 E 67th Street Holding LLC                                                    Schedule D, line
    7        12 Water Street                                                                  Schedule E/F, line      4.431
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Michael Wurf




    3.32     227 E 67th Street Holding LLC                                                    Schedule D, line
    8        12 Water Street                                                                  Schedule E/F, line  4.435
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Monica Spier as Trustee of the Monica




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                                                                                            Check all schedules that apply:


    3.32     227 E 67th Street Holding LLC                                                    Schedule D, line
    9        12 Water Street                                                                  Schedule E/F, line      4.442
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Neil Levy




    3.33     227 E 67th Street Holding LLC                                                    Schedule D, line
    0        12 Water Street                                                                  Schedule E/F, line      4.473
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Philip Fiederlein




    3.33     227 E 67th Street Holding LLC                                                    Schedule D, line
    1        12 Water Street                                                                  Schedule E/F, line    4.477
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Philip Goldstein Living Trust 11/30/10




    3.33     227 E 67th Street Holding LLC                                                    Schedule D, line
    2        12 Water Street                                                                  Schedule E/F, line      4.497
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Ram Gupta




    3.33     227 E 67th Street Holding LLC                                                    Schedule D, line
    3        12 Water Street                                                                  Schedule E/F, line      4.499
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Rebecca Levy




    3.33     227 E 67th Street Holding LLC                                                     Schedule D, line
    4        12 Water Street                                                                   Schedule E/F, line     4.505
             Suite 204
                                                                                               Schedule G
             White Plains, NY 10601
                                                                                            Rita Levy




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             Column 1: Your codebtor                                                        Column 2: The creditor to whom you owe the debt
                                                                                            Check all schedules that apply:
    3.33     227 E 67th Street Holding LLC                                                    Schedule D, line
    5        12 Water Street                                                                  Schedule E/F, line      4.510
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Robert Cicero




    3.33     227 E 67th Street Holding LLC                                                    Schedule D, line
    6        12 Water Street                                                                  Schedule E/F, line      4.534
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Ronald Marchand




    3.33     227 E 67th Street Holding LLC                                                    Schedule D, line
    7        12 Water Street                                                                  Schedule E/F, line      4.539
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Ross Goldenberg




    3.33     227 E 67th Street Holding LLC                                                     Schedule D, line
    8        12 Water Street                                                                   Schedule E/F, line     4.550
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            S.T.V. Realty, LLC




    3.33     227 E 67th Street Holding LLC                                                    Schedule D, line
    9        12 Water Street                                                                  Schedule E/F, line      4.570
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Scott Silberman




    3.34     227 E 67th Street Holding LLC                                                    Schedule D, line
    0        12 Water Street                                                                  Schedule E/F, line      4.571
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Sheldon Mann




    3.34     227 E 67th Street Holding LLC                                                    Schedule D, line
    1        12 Water Street                                                                  Schedule E/F, line      4.572
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Sheri Daniels




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                                                                                            Check all schedules that apply:


    3.34     227 E 67th Street Holding LLC                                                    Schedule D, line
    2        12 Water Street                                                                  Schedule E/F, line      4.590
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Stacy Gendels




    3.34     227 E 67th Street Holding LLC                                                    Schedule D, line
    3        12 Water Street                                                                  Schedule E/F, line      4.599
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Steven Engel




    3.34     227 E 67th Street Holding LLC                                                    Schedule D, line
    4        12 Water Street                                                                  Schedule E/F, line      4.601
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Steven Gutenplan




    3.34     227 E 67th Street Holding LLC                                                    Schedule D, line
    5        12 Water Street                                                                  Schedule E/F, line      4.602
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Steven Hertz




    3.34     227 E 67th Street Holding LLC                                                    Schedule D, line
    6        12 Water Street                                                                  Schedule E/F, line      4.604
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Steven Napoli




    3.34     227 E 67th Street Holding LLC                                                    Schedule D, line
    7        12 Water Street                                                                  Schedule E/F, line 4.613
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            The Debra Rein Exempt GST Trust,




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             Column 1: Your codebtor                                                        Column 2: The creditor to whom you owe the debt
                                                                                            Check all schedules that apply:
    3.34     227 E 67th Street Holding LLC                                                    Schedule D, line
    8        12 Water Street                                                                  Schedule E/F, line      4.632
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Todd Hazelkorn




    3.34     2800 Bruckner Holding LLC                                                         Schedule D, line
    9        12 Water Street                                                                   Schedule E/F, line     4.22
             Suite 204
                                                                                               Schedule G
             White Plains, NY 10601
                                                                                            Allan Miller




    3.35     2800 Bruckner Holding LLC                                                         Schedule D, line
    0        12 Water Street                                                                   Schedule E/F, line     4.59
             Suite 204
                                                                                               Schedule G
             White Plains, NY 10601
                                                                                            Attis Properties Inc




    3.35     2800 Bruckner Holding LLC                                                        Schedule D, line
    1        12 Water Street                                                                  Schedule E/F, line      4.62
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            B.A.T. Man LLC




    3.35     2800 Bruckner Holding LLC                                                        Schedule D, line
    2        12 Water Street                                                                  Schedule E/F, line      4.63
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            B.E. Kopaskie




    3.35     2800 Bruckner Holding LLC                                                        Schedule D, line
    3        12 Water Street                                                                  Schedule E/F, line      4.116
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Carol Scibelli




    3.35     2800 Bruckner Holding LLC                                                        Schedule D, line
    4        12 Water Street                                                                  Schedule E/F, line      4.130
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Christine Phillips




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                                                                                            Check all schedules that apply:


    3.35     2800 Bruckner Holding LLC                                                        Schedule D, line
    5        12 Water Street                                                                  Schedule E/F, line 4.156
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            David & Susan Diamond




    3.35     2800 Bruckner Holding LLC                                                        Schedule D, line
    6        12 Water Street                                                                  Schedule E/F, line      4.165
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            David Miller




    3.35     2800 Bruckner Holding LLC                                                        Schedule D, line
    7        12 Water Street                                                                  Schedule E/F, line      4.173
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Denise Zollo




    3.35     2800 Bruckner Holding LLC                                                        Schedule D, line
    8        12 Water Street                                                                  Schedule E/F, line 4.180
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Diamond Enterprises LLC




    3.35     2800 Bruckner Holding LLC                                                        Schedule D, line
    9        12 Water Street                                                                  Schedule E/F, line      4.188
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Donato Ciaccia




    3.36     2800 Bruckner Holding LLC                                                         Schedule D, line
    0        12 Water Street                                                                   Schedule E/F, line     4.208
             Suite 204
                                                                                               Schedule G
             White Plains, NY 10601
                                                                                            Elizabeth Strange




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             Column 1: Your codebtor                                                        Column 2: The creditor to whom you owe the debt
                                                                                            Check all schedules that apply:
    3.36     2800 Bruckner Holding LLC                                                         Schedule D, line
    1        12 Water Street                                                                   Schedule E/F, line  4.212
             Suite 204
                                                                                               Schedule G
             White Plains, NY 10601
                                                                                            Ellen Goldstein Living Trust 11/30/10, E




    3.36     2800 Bruckner Holding LLC                                                         Schedule D, line
    2        12 Water Street                                                                   Schedule E/F, line     4.214
             Suite 204
                                                                                               Schedule G
             White Plains, NY 10601
                                                                                            Erin Diamond




    3.36     2800 Bruckner Holding LLC                                                        Schedule D, line
    3        12 Water Street                                                                  Schedule E/F, line      4.231
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Francis Carbone




    3.36     2800 Bruckner Holding LLC                                                        Schedule D, line
    4        12 Water Street                                                                  Schedule E/F, line      4.238
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Gabriel Carbone




    3.36     2800 Bruckner Holding LLC                                                        Schedule D, line
    5        12 Water Street                                                                  Schedule E/F, line      4.242
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Gene Greenfest




    3.36     2800 Bruckner Holding LLC                                                        Schedule D, line
    6        12 Water Street                                                                  Schedule E/F, line      4.277
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Herminio Torres




    3.36     2800 Bruckner Holding LLC                                                        Schedule D, line
    7        12 Water Street                                                                  Schedule E/F, line      4.302
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Jeffrey Rosenthal




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             Column 1: Your codebtor                                                        Column 2: The creditor to whom you owe the debt
                                                                                            Check all schedules that apply:


    3.36     2800 Bruckner Holding LLC                                                        Schedule D, line
    8        12 Water Street                                                                  Schedule E/F, line      4.305
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Jennifer Chervin




    3.36     2800 Bruckner Holding LLC                                                        Schedule D, line
    9        12 Water Street                                                                  Schedule E/F, line  4.311
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            John & Catherine Strange Irrevocable




    3.37     2800 Bruckner Holding LLC                                                        Schedule D, line
    0        12 Water Street                                                                  Schedule E/F, line      4.321
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            John Quattrochi




    3.37     2800 Bruckner Holding LLC                                                        Schedule D, line
    1        12 Water Street                                                                  Schedule E/F, line      4.322
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            John Strange




    3.37     2800 Bruckner Holding LLC                                                        Schedule D, line
    2        12 Water Street                                                                  Schedule E/F, line 4.336
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Joshua & Angie Brown




    3.37     2800 Bruckner Holding LLC                                                        Schedule D, line
    3        12 Water Street                                                                  Schedule E/F, line      4.341
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Karen Greenbaum




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             Column 1: Your codebtor                                                        Column 2: The creditor to whom you owe the debt
                                                                                            Check all schedules that apply:
    3.37     2800 Bruckner Holding LLC                                                        Schedule D, line
    4        12 Water Street                                                                  Schedule E/F, line      4.342
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Karen Greenbaum




    3.37     2800 Bruckner Holding LLC                                                        Schedule D, line
    5        12 Water Street                                                                  Schedule E/F, line      4.347
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Keith Hummel




    3.37     2800 Bruckner Holding LLC                                                        Schedule D, line
    6        12 Water Street                                                                  Schedule E/F, line      4.350
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Kuldeepak Acharya




    3.37     2800 Bruckner Holding LLC                                                        Schedule D, line
    7        12 Water Street                                                                  Schedule E/F, line      4.353
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Lance Kuba




    3.37     2800 Bruckner Holding LLC                                                        Schedule D, line
    8        12 Water Street                                                                  Schedule E/F, line      4.378
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Luise Barrack




    3.37     2800 Bruckner Holding LLC                                                        Schedule D, line
    9        12 Water Street                                                                  Schedule E/F, line      4.384
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Marc Strange




    3.38     2800 Bruckner Holding LLC                                                        Schedule D, line
    0        12 Water Street                                                                  Schedule E/F, line      4.386
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Marianne Tesler




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                                                                                            Check all schedules that apply:


    3.38     2800 Bruckner Holding LLC                                                        Schedule D, line
    1        12 Water Street                                                                  Schedule E/F, line      4.421
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Michael Cirenza




    3.38     2800 Bruckner Holding LLC                                                        Schedule D, line
    2        12 Water Street                                                                  Schedule E/F, line      4.480
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Philip Malakoff




    3.38     2800 Bruckner Holding LLC                                                        Schedule D, line
    3        12 Water Street                                                                  Schedule E/F, line      4.507
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Robert Blanda




    3.38     2800 Bruckner Holding LLC                                                        Schedule D, line
    4        12 Water Street                                                                  Schedule E/F, line      4.511
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Robert Cicero




    3.38     2800 Bruckner Holding LLC                                                        Schedule D, line
    5        12 Water Street                                                                  Schedule E/F, line      4.514
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Robert Palestra




    3.38     2800 Bruckner Holding LLC                                                        Schedule D, line
    6        12 Water Street                                                                  Schedule E/F, line      4.521
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Robert Rosenthal




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                                                                                            Check all schedules that apply:
    3.38     2800 Bruckner Holding LLC                                                        Schedule D, line
    7        12 Water Street                                                                  Schedule E/F, line      4.552
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Salvatore Barone




    3.38     2800 Bruckner Holding LLC                                                        Schedule D, line
    8        12 Water Street                                                                  Schedule E/F, line      4.566
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Scott Levine




    3.38     2800 Bruckner Holding LLC                                                        Schedule D, line
    9        12 Water Street                                                                  Schedule E/F, line      4.591
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Stephanie Milo




    3.39     2800 Bruckner Holding LLC                                                        Schedule D, line
    0        12 Water Street                                                                  Schedule E/F, line      4.606
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Steven Napoli




    3.39     2800 Bruckner Holding LLC                                                        Schedule D, line
    1        12 Water Street                                                                  Schedule E/F, line 4.614
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            The Debra Rein Exempt GST Trust,




    3.39     2800 Bruckner Holding LLC                                                        Schedule D, line
    2        12 Water Street                                                                  Schedule E/F, line      4.622
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Theodore Strange




    3.39     2800 Bruckner Holding LLC                                                         Schedule D, line
    3        12 Water Street                                                                   Schedule E/F, line     4.644
             Suite 204
                                                                                               Schedule G
             White Plains, NY 10601
                                                                                            Victoria Strange




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             Column 1: Your codebtor                                                        Column 2: The creditor to whom you owe the debt
                                                                                            Check all schedules that apply:


    3.39     3 Sandpiper Court Holding LLC                                                    Schedule D, line
    4        12 Water Street                                                                  Schedule E/F, line      4.27
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Alyse Lefton




    3.39     3 Sandpiper Court Holding LLC                                                    Schedule D, line
    5        12 Water Street                                                                  Schedule E/F, line      4.38
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Anita Gupta




    3.39     3 Sandpiper Court Holding LLC                                                     Schedule D, line
    6        12 Water Street                                                                   Schedule E/F, line     4.54
             Suite 204
                                                                                               Schedule G
             White Plains, NY 10601
                                                                                            Attis Properties Inc




    3.39     3 Sandpiper Court Holding LLC                                                    Schedule D, line
    7        12 Water Street                                                                  Schedule E/F, line      4.83
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Beverly Hazelkorn




    3.39     3 Sandpiper Court Holding LLC                                                    Schedule D, line
    8        12 Water Street                                                                  Schedule E/F, line      4.98
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Bruce Azus




    3.39     3 Sandpiper Court Holding LLC                                                    Schedule D, line
    9        12 Water Street                                                                  Schedule E/F, line      4.111
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Carol Merkel




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             Column 1: Your codebtor                                                        Column 2: The creditor to whom you owe the debt
                                                                                            Check all schedules that apply:
    3.40     3 Sandpiper Court Holding LLC                                                    Schedule D, line
    0        12 Water Street                                                                  Schedule E/F, line      4.153
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            David & Rita Levy




    3.40     3 Sandpiper Court Holding LLC                                                     Schedule D, line
    1        12 Water Street                                                                   Schedule E/F, line 4.225
             Suite 204
                                                                                               Schedule G
             White Plains, NY 10601
                                                                                            Fiederlein Family LLC




    3.40     3 Sandpiper Court Holding LLC                                                    Schedule D, line
    2        12 Water Street                                                                  Schedule E/F, line      4.246
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Gerald Levy




    3.40     3 Sandpiper Court Holding LLC                                                    Schedule D, line
    3        12 Water Street                                                                  Schedule E/F, line      4.343
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Keith Hummel




    3.40     3 Sandpiper Court Holding LLC                                                    Schedule D, line
    4        12 Water Street                                                                  Schedule E/F, line      4.363
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Leonard Shendell




    3.40     3 Sandpiper Court Holding LLC                                                    Schedule D, line
    5        12 Water Street                                                                  Schedule E/F, line      4.382
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Marc Engel




    3.40     3 Sandpiper Court Holding LLC                                                    Schedule D, line
    6        12 Water Street                                                                  Schedule E/F, line      4.395
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Mark Engel




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             Column 1: Your codebtor                                                        Column 2: The creditor to whom you owe the debt
                                                                                            Check all schedules that apply:


    3.40     3 Sandpiper Court Holding LLC                                                    Schedule D, line
    7        12 Water Street                                                                  Schedule E/F, line      4.403
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Matthew Engel




    3.40     3 Sandpiper Court Holding LLC                                                    Schedule D, line
    8        12 Water Street                                                                  Schedule E/F, line      4.494
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Ram Gupta




    3.40     3 Sandpiper Court Holding LLC                                                    Schedule D, line
    9        12 Water Street                                                                  Schedule E/F, line      4.568
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Scott Silberman




    3.41     3 Sandpiper Court Holding LLC                                                    Schedule D, line
    0        12 Water Street                                                                  Schedule E/F, line      4.597
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Steven Engel




    3.41     3 Sandpiper Court Holding LLC                                                    Schedule D, line
    1        12 Water Street                                                                  Schedule E/F, line      4.630
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Todd Hazelkorn




    3.41     3 Sandpiper Court LLC                                                            Schedule D, line
    2        12 Water St                                                                      Schedule E/F, line  4.185
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Dominick R. Pilla Associates PC




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             Column 1: Your codebtor                                                        Column 2: The creditor to whom you owe the debt
                                                                                            Check all schedules that apply:
    3.41     3 Sandpiper Court LLC                                                            Schedule D, line
    3        12 Water St                                                                      Schedule E/F, line     4.303
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Jeffrey T. Butler, P.E. P.C.




    3.41     3 Sandpiper Court LLC                                                            Schedule D, line
    4        12 Water St                                                                      Schedule E/F, line 4.326
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Joseph Crocco Architect PC




    3.41     3 Sandpiper Court LLC                                                             Schedule D, line
    5        12 Water St                                                                       Schedule E/F, line  4.483
             Suite 204
                                                                                               Schedule G
             White Plains, NY 10601
                                                                                            Pilot Real Estate Group




    3.41     3 Sandpiper Court LLC                                                            Schedule D, line
    6        12 Water St                                                                      Schedule E/F, line 4.587
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Squires, Holden Weisenbacher




    3.41     3100 Tremont Associates Inc                                                       Schedule D, line
    7        12 Water Street                                                                   Schedule E/F, line     4.575
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Signature Bank




    3.41     3100 Tremont Associates Inc                                                       Schedule D, line
    8        12 Water Street                                                                   Schedule E/F, line     4.576
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Signature Bank




    3.41     3100 Tremont Associates LLC                                                      Schedule D, line
    9        12 Water Street                                                                  Schedule E/F, line
             Suite 204                                                                        Schedule G
             White Plains, NY 10601                                                         Meyer Suozzi English & Klein P.C.




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                                                                                            Check all schedules that apply:


    3.42     3200 Tremont Associates Inc                                                       Schedule D, line
    0        12 Water Street                                                                   Schedule E/F, line     4.577
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Signature Bank




    3.42     3200 Tremont Associates Inc                                                       Schedule D, line
    1        12 Water Street                                                                   Schedule E/F, line     4.578
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Signature Bank




    3.42     3219 Tremont Corp.                                                               Schedule D, line
    2        12 Water Steet                                                                   Schedule E/F, line
             Suite 204                                                                        Schedule G
             White Plains, NY 10601                                                         Meyer Suozzi, English & Klein P.C.




    3.42     3219 Tremont Corp.                                                                Schedule D, line
    3        12 Water Street                                                                   Schedule E/F, line     4.579
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Signature Bank




    3.42     3219 Tremont Corp.                                                                Schedule D, line
    4        12 Water Street                                                                   Schedule E/F, line     4.580
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Signature Bank




    3.42     3225 East Tremont Associates                                                      Schedule D, line
    5        LLC 12 Water Street                                                               Schedule E/F, line     4.582
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Signature Bank




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                                                                                            Check all schedules that apply:
    3.42     3225 East Tremont Associates                                                      Schedule D, line
    6        LLC 12 Water Street                                                               Schedule E/F, line     4.581
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Signature Bank




    3.42     3225 East Tremont Associates LLC                                                 Schedule D, line
    7        12 Water Street                                                                  Schedule E/F, line
             Suite 24                                                                         Schedule G
             White Plains, NY 10601                                                         Meyer Suozzi, English & Klein P.C.




    3.42     323 East 53rd Associates LLC                                                      Schedule D, line
    8        12 Water Street                                                                   Schedule E/F, line  4.14
             Suite 204
                                                                                               Schedule G
             White Plains, NY 10601
                                                                                            AirSeal Insulation Systems




    3.42     323 East 53rd Associates LLC                                                      Schedule D, line
    9        12 Water Street                                                                   Schedule E/F, line  4.15
             Suite 204
                                                                                               Schedule G
             White Plains, NY 10601
                                                                                            AirSeal Insulation Systems




    3.43     323 East 53rd Associates LLC                                                      Schedule D, line
    0        12 Water Street                                                                   Schedule E/F, line  4.17
             Suite 204
                                                                                               Schedule G
             White Plains, NY 10601
                                                                                            All Star Security & Communications Inc




    3.43     323 East 53rd Associates LLC                                                      Schedule D, line
    1        12 Water Street                                                                   Schedule E/F, line   4.23
             Suite 204
                                                                                               Schedule G
             White Plains, NY 10601
                                                                                            Allstate Sprinkler Corp




    3.43     323 East 53rd Associates LLC                                                     Schedule D, line
    2        12 Water Street                                                                  Schedule E/F, line      4.30
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Alyse Lefton




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                                                                                            Check all schedules that apply:


    3.43     323 East 53rd Associates LLC                                                     Schedule D, line
    3        12 Water Street                                                                  Schedule E/F, line  4.104
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Carefree Air & Water Management Inc




    3.43     323 East 53rd Associates LLC                                                     Schedule D, line
    4        12 Water Street                                                                  Schedule E/F, line   4.3
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            323 E 53rd Street Lender LLC




    3.43     323 East 53rd Associates LLC                                                     Schedule D, line
    5        12 Water Street                                                                  Schedule E/F, line  4.139
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Consolidated Scaffold & Bridge Corp




    3.43     323 East 53rd Associates LLC                                                     Schedule D, line
    6        12 Water Street                                                                  Schedule E/F, line  4.146
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Daimler Construction LLC




    3.43     323 East 53rd Associates LLC                                                     Schedule D, line
    7        12 Water Street                                                                  Schedule E/F, line  4.186
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Dominick R. Pilla Associates PC




    3.43     323 East 53rd Associates LLC                                                      Schedule D, line
    8        12 Water Street                                                                   Schedule E/F, line     4.286
             Suite 204
                                                                                               Schedule G
             White Plains, NY 10601
                                                                                            Irwin Associates Inc




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                                                                                            Check all schedules that apply:
    3.43     323 East 53rd Associates LLC                                                      Schedule D, line
    9        12 Water Street                                                                   Schedule E/F, line 4.287
             Suite 204
                                                                                               Schedule G
             White Plains, NY 10601
                                                                                            J.S.K. Construction Corp




    3.44     323 East 53rd Associates LLC                                                      Schedule D, line
    0        12 Water Street                                                                   Schedule E/F, line     4.368
             Suite 204
                                                                                               Schedule G
             White Plains, NY 10601
                                                                                            Lippolis Electric Inc




    3.44     323 East 53rd Associates LLC                                                     Schedule D, line
    1        12 Water Street                                                                  Schedule E/F, line 4.449
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            New Plumbing & Heating Corp




    3.44     323 East 53rd Associates LLC                                                     Schedule D, line
    2        12 Water Street                                                                  Schedule E/F, line      4.547
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            S.R. Interiors, Inc




    3.44     323 East 53rd Associates LLC                                                     Schedule D, line
    3        12 Water Street                                                                  Schedule E/F, line      4.626
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Times Buildings PC




    3.44     323 East 53rd Associates LLC                                                     Schedule D, line
    4        12 Water Street                                                                  Schedule E/F, line 4.641
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Up Construction and Restoration Inc




    3.44     323 East 53rd Associates LLC                                                      Schedule D, line
    5        12 Water Street                                                                   Schedule E/F, line     4.645
             Suite 204
                                                                                               Schedule G
             White Plains, NY 10601
                                                                                            Virtual Services




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                                                                                            Check all schedules that apply:


    3.44     323 East 53rd Associates LLC                                                     Schedule D, line
    6        12 Water Street                                                                  Schedule E/F, line      4.653
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Window Fix Inc




    3.44     323 East 53rd Holding LLC                                                        Schedule D, line
    7        12 Water Street                                                                  Schedule E/F, line      4.9
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Adam Fields




    3.44     323 East 53rd Holding LLC                                                        Schedule D, line
    8        12 Water Street                                                                  Schedule E/F, line    4.73
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Barbara J. Fiederlein Trust for David, D




    3.44     323 East 53rd Holding LLC                                                        Schedule D, line
    9        12 Water Street                                                                  Schedule E/F, line      4.81
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Beverly Griffith




    3.45     323 East 53rd Holding LLC                                                        Schedule D, line
    0        12 Water Street                                                                  Schedule E/F, line      4.95
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Bruce Azus




    3.45     323 East 53rd Holding LLC                                                        Schedule D, line
    1        12 Water Street                                                                  Schedule E/F, line      4.115
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Carol Merkel




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             Column 1: Your codebtor                                                        Column 2: The creditor to whom you owe the debt
                                                                                            Check all schedules that apply:
    3.45     323 East 53rd Holding LLC                                                        Schedule D, line
    2        12 Water Street                                                                  Schedule E/F, line      4.118
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Caroline Graves




    3.45     323 East 53rd Holding LLC                                                        Schedule D, line
    3        12 Water Street                                                                  Schedule E/F, line      4.123
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Chantal Pick




    3.45     323 East 53rd Holding LLC                                                        Schedule D, line
    4        12 Water Street                                                                  Schedule E/F, line      4.151
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Darren Kay




    3.45     323 East 53rd Holding LLC                                                        Schedule D, line
    5        12 Water Street                                                                  Schedule E/F, line 4.155
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            David & Susan Diamond




    3.45     323 East 53rd Holding LLC                                                        Schedule D, line
    6        12 Water Street                                                                  Schedule E/F, line      4.157
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            David Azus




    3.45     323 East 53rd Holding LLC                                                        Schedule D, line
    7        12 Water Street                                                                  Schedule E/F, line      4.160
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            David Cohen




    3.45     323 East 53rd Holding LLC                                                        Schedule D, line
    8        12 Water Street                                                                  Schedule E/F, line 4.190
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Douglas & Diane Simon




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                                                                                            Check all schedules that apply:


    3.45     323 East 53rd Holding LLC                                                         Schedule D, line
    9        12 Water Street                                                                   Schedule E/F, line     4.203
             Suite 204
                                                                                               Schedule G
             White Plains, NY 10601
                                                                                            Elizabeth Armstrong




    3.46     323 East 53rd Holding LLC                                                         Schedule D, line
    0        12 Water Street                                                                   Schedule E/F, line     4.207
             Suite 204
                                                                                               Schedule G
             White Plains, NY 10601
                                                                                            Elizabeth Canzone




    3.46     323 East 53rd Holding LLC                                                         Schedule D, line
    1        12 Water Street                                                                   Schedule E/F, line  4.211
             Suite 204
                                                                                               Schedule G
             White Plains, NY 10601
                                                                                            Ellen Goldstein Living Trust 11/30/10, E




    3.46     323 East 53rd Holding LLC                                                        Schedule D, line
    2        12 Water Street                                                                  Schedule E/F, line  4.223
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Federlein Family 2012 Gift Trust, Barbar




    3.46     323 East 53rd Holding LLC                                                        Schedule D, line
    3        12 Water Street                                                                  Schedule E/F, line      4.249
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Gerald Levy




    3.46     323 East 53rd Holding LLC                                                        Schedule D, line
    4        12 Water Street                                                                  Schedule E/F, line      4.252
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Glen Irwin




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             Column 1: Your codebtor                                                        Column 2: The creditor to whom you owe the debt
                                                                                            Check all schedules that apply:
    3.46     323 East 53rd Holding LLC                                                        Schedule D, line
    5        12 Water Street                                                                  Schedule E/F, line 4.260
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Golden Touch Investments, LLC




    3.46     323 East 53rd Holding LLC                                                        Schedule D, line
    6        12 Water Street                                                                  Schedule E/F, line      4.270
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Gregory Calabro




    3.46     323 East 53rd Holding LLC                                                         Schedule D, line
    7        12 Water Street                                                                   Schedule E/F, line  4.282
             Suite 204
                                                                                               Schedule G
             White Plains, NY 10601
                                                                                            Integrated Electronic Solutions Inc




    3.46     323 East 53rd Holding LLC                                                         Schedule D, line
    8        12 Water Street                                                                   Schedule E/F, line     4.284
             Suite 204
                                                                                               Schedule G
             White Plains, NY 10601
                                                                                            Ira Gordon




    3.46     323 East 53rd Holding LLC                                                        Schedule D, line
    9        12 Water Street                                                                  Schedule E/F, line      4.298
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Jason Lieberman




    3.47     323 East 53rd Holding LLC                                                        Schedule D, line
    0        12 Water Street                                                                  Schedule E/F, line      4.318
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            John Ernenwein




    3.47     323 East 53rd Holding LLC                                                        Schedule D, line
    1        12 Water Street                                                                  Schedule E/F, line  4.323
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Joint Venture MBP, LLC




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             Column 1: Your codebtor                                                        Column 2: The creditor to whom you owe the debt
                                                                                            Check all schedules that apply:


    3.47     323 East 53rd Holding LLC                                                        Schedule D, line
    2        12 Water Street                                                                  Schedule E/F, line      4.338
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Judah Hammer




    3.47     323 East 53rd Holding LLC                                                        Schedule D, line
    3        12 Water Street                                                                  Schedule E/F, line      4.360
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Lawrence Dolin




    3.47     323 East 53rd Holding LLC                                                         Schedule D, line
    4        12 Water Street                                                                   Schedule E/F, line     4.375
             Suite 204
                                                                                               Schedule G
             White Plains, NY 10601
                                                                                            Lisa West




    3.47     323 East 53rd Holding LLC                                                        Schedule D, line
    5        12 Water Street                                                                  Schedule E/F, line      4.383
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Marc Engel




    3.47     323 East 53rd Holding LLC                                                        Schedule D, line
    6        12 Water Street                                                                  Schedule E/F, line      4.391
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Marilyn Shendell




    3.47     323 East 53rd Holding LLC                                                        Schedule D, line
    7        12 Water Street                                                                  Schedule E/F, line      4.399
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Mark Engel




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             Column 1: Your codebtor                                                        Column 2: The creditor to whom you owe the debt
                                                                                            Check all schedules that apply:
    3.47     323 East 53rd Holding LLC                                                        Schedule D, line
    8        12 Water Street                                                                  Schedule E/F, line      4.407
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Matthew Engel




    3.47     323 East 53rd Holding LLC                                                        Schedule D, line
    9        12 Water Street                                                                  Schedule E/F, line      4.412
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Meir Milgraum




    3.48     323 East 53rd Holding LLC                                                        Schedule D, line
    0        12 Water Street                                                                  Schedule E/F, line      4.420
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Michael Callari




    3.48     323 East 53rd Holding LLC                                                        Schedule D, line
    1        12 Water Street                                                                  Schedule E/F, line      4.426
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Michael Kesselman




    3.48     323 East 53rd Holding LLC                                                        Schedule D, line
    2        12 Water Street                                                                  Schedule E/F, line      4.432
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Michael Wurf




    3.48     323 East 53rd Holding LLC                                                        Schedule D, line
    3        12 Water Street                                                                  Schedule E/F, line      4.455
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            P&R Family LLC




    3.48     323 East 53rd Holding LLC                                                        Schedule D, line
    4        12 Water Street                                                                  Schedule E/F, line 4.459
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            PCJ Investments LLC




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                                                                                            Check all schedules that apply:


    3.48     323 East 53rd Holding LLC                                                        Schedule D, line
    5        12 Water Street                                                                  Schedule E/F, line  4.460
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Pearl Halegua Family Trust




    3.48     323 East 53rd Holding LLC                                                        Schedule D, line
    6        12 Water Street                                                                  Schedule E/F, line  4.461
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Pearl Halegua Family Trust




    3.48     323 East 53rd Holding LLC                                                        Schedule D, line
    7        12 Water Street                                                                  Schedule E/F, line      4.466
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Peter Dreyfuss




    3.48     323 East 53rd Holding LLC                                                        Schedule D, line
    8        12 Water Street                                                                  Schedule E/F, line      4.468
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Peter Rosenthal




    3.48     323 East 53rd Holding LLC                                                        Schedule D, line
    9        12 Water Street                                                                  Schedule E/F, line      4.474
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Philip Fiederlein




    3.49     323 East 53rd Holding LLC                                                        Schedule D, line
    0        12 Water Street                                                                  Schedule E/F, line      4.498
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Ram Gupta




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                                                                                            Check all schedules that apply:
    3.49     323 East 53rd Holding LLC                                                        Schedule D, line
    1        12 Water Street                                                                  Schedule E/F, line      4.504
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Richard Giliotti




    3.49     323 East 53rd Holding LLC                                                        Schedule D, line
    2        12 Water Street                                                                  Schedule E/F, line      4.520
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Robert Rosenthal




    3.49     323 East 53rd Holding LLC                                                        Schedule D, line
    3        12 Water Street                                                                  Schedule E/F, line      4.533
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Ronald Garfunkel




    3.49     323 East 53rd Holding LLC                                                        Schedule D, line
    4        12 Water Street                                                                  Schedule E/F, line      4.540
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Ross Goldenberg




    3.49     323 East 53rd Holding LLC                                                         Schedule D, line
    5        12 Water Street                                                                   Schedule E/F, line     4.551
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            S.T.V. Realty, LLC




    3.49     323 East 53rd Holding LLC                                                        Schedule D, line
    6        12 Water Street                                                                  Schedule E/F, line      4.565
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Scott DeCarolis




    3.49     323 East 53rd Holding LLC                                                        Schedule D, line
    7        12 Water Street                                                                  Schedule E/F, line  4.595
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Steven & Lvana Alesio




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                                                                                            Check all schedules that apply:


    3.49     323 East 53rd Holding LLC                                                        Schedule D, line
    8        12 Water Street                                                                  Schedule E/F, line      4.600
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Steven Engel




    3.49     323 East 53rd Holding LLC                                                        Schedule D, line
    9        12 Water Street                                                                  Schedule E/F, line      4.605
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Steven Napoli




    3.50     323 East 53rd Holding LLC                                                        Schedule D, line
    0        12 Water Street                                                                  Schedule E/F, line 4.616
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            The Hyman Cohen Revocable Trust




    3.50     323 East 53rd Holding LLC                                                        Schedule D, line
    1        12 Water Street                                                                  Schedule E/F, line   4.619
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            The Payroll Store Investments




    3.50     323 East 53rd Holding LLC                                                        Schedule D, line
    2        12 Water Street                                                                  Schedule E/F, line      4.633
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Todd Hazelkorn




    3.50     323 East 53rd Holding LLC                                                        Schedule D, line
    3        12 Water Street                                                                  Schedule E/F, line 4.648
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Westminster Asset Management Corp




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                                                                                            Check all schedules that apply:
    3.50     3600 Tremont Associates Inc                                                       Schedule D, line
    4        12 Water Street                                                                   Schedule E/F, line     4.583
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Signature Bank




    3.50     3600 Tremont Associates Inc                                                       Schedule D, line
    5        12 Water Street                                                                   Schedule E/F, line     4.584
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Signature Bank




    3.50     39 Middle Pond Road                                                              Schedule D, line
    6        Associates LLC 12 Water St                                                       Schedule E/F, line      4.488
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Preferred Bank




    3.50     41 Middle Pond Road Associates                                                   Schedule D, line
    7        LLC 12 Water Street                                                              Schedule E/F, line      4.119
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Case's Creek




    3.50     41-45 MPR Holding LLC                                                             Schedule D, line
    8        12 Water Street                                                                   Schedule E/F, line     4.61
             Suite 204
                                                                                               Schedule G
             White Plains, NY 10601
                                                                                            Attis Ventures LLC




    3.50     41-45 MPR Holding LLC                                                            Schedule D, line
    9        12 Water Street                                                                  Schedule E/F, line      4.110
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Carol Merkel




    3.51     41-45 MPR Holding LLC                                                            Schedule D, line
    0        12 Water Street                                                                  Schedule E/F, line      4.181
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Diane Rosenberg




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                                                                                            Check all schedules that apply:


    3.51     41-45 MPR Holding LLC                                                            Schedule D, line
    1        12 Water Street                                                                  Schedule E/F, line  4.361
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            LDSP LLC Attn: Phil Healy




    3.51     41Middle Pond Road Associates                                                    Schedule D, line
    2        LLC 12 Water St                                                                  Schedule E/F, line     4.304
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Jeffrey T. Butler, P.E. P.C.




    3.51     41Middle Pond Road Associates                                                    Schedule D, line
    3        LLC 12 Water St                                                                  Schedule E/F, line 4.327
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Joseph Crocco Architect PC




    3.51     41Middle Pond Road Associates                                                     Schedule D, line
    4        LLC 12 Water St                                                                   Schedule E/F, line     4.371
             Suite 204
                                                                                               Schedule G
             White Plains, NY 10601
                                                                                            Lippolis Electric Inc




    3.51     41Middle Pond Road Associates                                                     Schedule D, line
    5        LLC 12 Water St                                                                   Schedule E/F, line 4.492
             Suite 204
                                                                                               Schedule G
             White Plains, NY 10601
                                                                                            R. W. Behan Contracting Inc




    3.51     41Middle Pond Road Associates                                                    Schedule D, line
    6        LLC 12 Water St                                                                  Schedule E/F, line 4.588
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Squires, Holden Weisenbacher




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             Column 1: Your codebtor                                                        Column 2: The creditor to whom you owe the debt
                                                                                            Check all schedules that apply:
    3.51     41Middle Pond Road Associates                                                    Schedule D, line
    7        LLC 12 Water St                                                                  Schedule E/F, line 4.636
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Twomey, Latham, Shea,




    3.51     41Middle Pond Road Associates                                                    Schedule D, line
    8        LLC 12 Water St                                                                  Schedule E/F, line      4.638
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Unity Servicing LLC




    3.51     43 Middle Pond Road Associates                                                   Schedule D, line
    9        LLC 12 Water Street                                                              Schedule E/F, line     4.304
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Jeffrey T. Butler, P.E. P.C.




    3.52     43 Middle Pond Road Associates                                                   Schedule D, line
    0        LLC 12 Water Street                                                              Schedule E/F, line 4.327
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Joseph Crocco Architect PC




    3.52     43 Middle Pond Road Associates                                                    Schedule D, line
    1        LLC 12 Water Street                                                               Schedule E/F, line     4.371
             Suite 204
                                                                                               Schedule G
             White Plains, NY 10601
                                                                                            Lippolis Electric Inc




    3.52     43 Middle Pond Road Associates                                                   Schedule D, line
    2        LLC 12 Water Street                                                              Schedule E/F, line      4.411
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Maxim Capital Group




    3.52     43 Middle Pond Road Associates                                                   Schedule D, line
    3        LLC 12 Water Street                                                              Schedule E/F, line 4.588
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Squires, Holden Weisenbacher




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                                                                                            Check all schedules that apply:


    3.52     43 Middle Pond Road Associates                                                   Schedule D, line
    4        LLC 12 Water Street                                                              Schedule E/F, line 4.636
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Twomey, Latham, Shea,




    3.52     43 Middle Pond Road Holding                                                       Schedule D, line
    5        LLC 12 Water Street                                                               Schedule E/F, line     4.19
             Suite 204
                                                                                               Schedule G
             White Plains, NY 10601
                                                                                            Allan Miller




    3.52     43 Middle Pond Road Holding                                                      Schedule D, line
    6        LLC 12 Water Street                                                              Schedule E/F, line      4.26
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Alyse Lefton




    3.52     43 Middle Pond Road Holding                                                      Schedule D, line
    7        LLC 12 Water Street                                                              Schedule E/F, line      4.74
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Barbara Vega




    3.52     43 Middle Pond Road Holding                                                      Schedule D, line
    8        LLC 12 Water Street                                                              Schedule E/F, line      4.119
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Case's Creek




    3.52     43 Middle Pond Road Holding                                                      Schedule D, line
    9        LLC 12 Water Street                                                              Schedule E/F, line      4.168
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            David Samuels




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                                                                                            Check all schedules that apply:
    3.53     43 Middle Pond Road Holding                                                       Schedule D, line
    0        LLC 12 Water Street                                                               Schedule E/F, line 4.226
             Suite 204
                                                                                               Schedule G
             White Plains, NY 10601
                                                                                            Fiederlein Family LLC




    3.53     43 Middle Pond Road Holding                                                      Schedule D, line
    1        LLC 12 Water Street                                                              Schedule E/F, line      4.244
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Gerald Dolman




    3.53     43 Middle Pond Road Holding                                                      Schedule D, line
    2        LLC 12 Water Street                                                              Schedule E/F, line      4.275
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Herminio Torres




    3.53     43 Middle Pond Road Holding                                                      Schedule D, line
    3        LLC 12 Water Street                                                              Schedule E/F, line      4.344
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Keith Hummel




    3.53     43 Middle Pond Road Holding                                                       Schedule D, line
    4        LLC 12 Water Street                                                               Schedule E/F, line     4.364
             Suite 204
                                                                                               Schedule G
             White Plains, NY 10601
                                                                                            Lillian Fazio




    3.53     43 Middle Pond Road Holding                                                      Schedule D, line
    5        LLC 12 Water Street                                                              Schedule E/F, line      4.394
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Mark Engel




    3.53     43 Middle Pond Road Holding                                                      Schedule D, line
    6        LLC 12 Water Street                                                              Schedule E/F, line      4.402
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Matthew Engel




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                                                                                            Check all schedules that apply:


    3.53     43 Middle Pond Road Holding                                                      Schedule D, line
    7        LLC 12 Water Street                                                              Schedule E/F, line      4.419
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Michael Callari




    3.53     43 Middle Pond Road Holding                                                      Schedule D, line
    8        LLC 12 Water Street                                                              Schedule E/F, line      4.452
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Nicholas Guerriero




    3.53     43 Middle Pond Road Holding                                                       Schedule D, line
    9        LLC 12 Water Street                                                               Schedule E/F, line     4.548
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            S.T.V. Realty, LLC




    3.54     43 Middle Pond Road Holding                                                      Schedule D, line
    0        LLC 12 Water Street                                                              Schedule E/F, line      4.558
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Samantha West




    3.54     43 Middle Pond Road Holding                                                      Schedule D, line
    1        LLC 12 Water Street                                                              Schedule E/F, line      4.596
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Steven Engel




    3.54     43 Middle Pond Road Holding                                                      Schedule D, line
    2        LLC 12 Water Street                                                              Schedule E/F, line      4.607
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Steven Samuels




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                                                                                            Check all schedules that apply:
    3.54     43 Middle Pond Road Holding                                                      Schedule D, line
    3        LLC 12 Water Street                                                              Schedule E/F, line      4.631
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Todd Hazelkorn




    3.54     45 Middle Pond Road Associates                                                   Schedule D, line
    4        LLC 12 Water Street                                                              Schedule E/F, line      4.119
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Case's Creek




    3.54     45 Middle Pond Road Associates                                                   Schedule D, line
    5        LLC 12 Water Street                                                              Schedule E/F, line     4.304
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Jeffrey T. Butler, P.E. P.C.




    3.54     45 Middle Pond Road Associates                                                   Schedule D, line
    6        LLC 12 Water Street                                                              Schedule E/F, line 4.327
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Joseph Crocco Architect PC




    3.54     45 Middle Pond Road Associates                                                    Schedule D, line
    7        LLC 12 Water Street                                                               Schedule E/F, line     4.371
             Suite 204
                                                                                               Schedule G
             White Plains, NY 10601
                                                                                            Lippolis Electric Inc




    3.54     45 Middle Pond Road Associates                                                    Schedule D, line
    8        LLC 12 Water Street                                                               Schedule E/F, line 4.493
             Suite 204
                                                                                               Schedule G
             White Plains, NY 10601
                                                                                            R. W. Behan Contracting Inc




    3.54     45 Middle Pond Road Associates                                                   Schedule D, line
    9        LLC 12 Water Street                                                              Schedule E/F, line 4.588
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Squires, Holden Weisenbacher




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             Column 1: Your codebtor                                                        Column 2: The creditor to whom you owe the debt
                                                                                            Check all schedules that apply:


    3.55     45 Middle Pond Road Associates                                                   Schedule D, line
    0        LLC 12 Water Street                                                              Schedule E/F, line 4.636
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Twomey, Latham, Shea,




    3.55     45 Middle Pond Road Associates                                                   Schedule D, line
    1        LLC 12 Water Street                                                              Schedule E/F, line      4.639
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Unity Servicing LLC




    3.55     937 Post Road Holding LLC                                                        Schedule D, line
    2        12 Water Street                                                                  Schedule E/F, line      4.320
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            John Pantanelli




    3.55     American Dream Realty LLC                                                        Schedule D, line
    3        12 Water Street                                                                  Schedule E/F, line      4.65
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Bank of America




    3.55     Aspen Management Group LLC                                                       Schedule D, line
    4        12 Water Street                                                                  Schedule E/F, line      4.66
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Bank of America




    3.55     Bluestone 163-165 LLC                                                             Schedule D, line
    5        12 Water Street                                                                   Schedule E/F, line     4.58
             Suite 204
                                                                                               Schedule G
             White Plains, NY 10601
                                                                                            Attis Properties Inc




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                                                                                            Check all schedules that apply:
    3.55     Bluestone 163-165 LLC                                                            Schedule D, line
    6        12 Water Street                                                                  Schedule E/F, line      4.85
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Bianca D'Alessio




    3.55     Bluestone 163-165 LLC                                                            Schedule D, line
    7        12 Water Street                                                                  Schedule E/F, line      4.183
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Domenick Schettino




    3.55     Bluestone 163-165 LLC                                                            Schedule D, line
    8        12 Water Street                                                                  Schedule E/F, line      4.349
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            KMT Group




    3.55     Bluestone 163-165 LLC                                                            Schedule D, line
    9        12 Water Street                                                                  Schedule E/F, line      4.445
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Neil Ptashnik




    3.56     Bluestone 163-165 LLC                                                            Schedule D, line
    0        12 Water Street                                                                  Schedule E/F, line      4.470
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Phil Healy




    3.56     Bluestone 163-165 LLC                                                            Schedule D, line
    1        12 Water Street                                                                  Schedule E/F, line  4.528
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Ronald & Irene D'Alessio




    3.56     Bluestone 163-165 LLC                                                            Schedule D, line
    2        12 Water Street                                                                  Schedule E/F, line      4.554
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Salvatore Como




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             Column 1: Your codebtor                                                        Column 2: The creditor to whom you owe the debt
                                                                                            Check all schedules that apply:


    3.56     Bluestone 184 LLC                                                                Schedule D, line
    3        12 Water Street                                                                  Schedule E/F, line 4.262
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Golden Touch Investments, LLC




    3.56     Bluestone 53 LLC                                                                 Schedule D, line
    4        12 Water Street                                                                  Schedule E/F, line 4.261
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Golden Touch Investments, LLC




    3.56     Bluestone 67 LLC                                                                 Schedule D, line
    5        12 Water Street                                                                  Schedule E/F, line      4.555
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Salvatore Como




    3.56     Bluestone Capital Partners LLC                                                   Schedule D, line
    6        12 Water Street                                                                  Schedule E/F, line      4.423
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Michael Finamore




    3.56     Bluestone Capital Partners LLC                                                   Schedule D, line
    7        12 Water Street                                                                  Schedule E/F, line      4.469
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Peter Rosenthal




    3.56     Bluestone Capital Partners LLC                                                   Schedule D, line
    8        12 Water Street                                                                  Schedule E/F, line      4.522
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Robert Rosenthal




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             Column 1: Your codebtor                                                        Column 2: The creditor to whom you owe the debt
                                                                                            Check all schedules that apply:
    3.56     Bluestone Capital Partners LLC                                                   Schedule D, line
    9        12 Water Street                                                                  Schedule E/F, line  4.529
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Ronald & Irene D'Alessio




    3.57     Bluestone Capital Partners LLC                                                   Schedule D, line
    0        12 Water Street                                                                  Schedule E/F, line      4.556
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Salvatore Como




    3.57     Bluestone Capital Partners LLC                                                   Schedule D, line
    1        12 Water Street                                                                  Schedule E/F, line      4.610
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Taylor Rice




    3.57     Bruckner East LLC                                                                Schedule D, line
    2        12 Water Street                                                                  Schedule E/F, line      4.489
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Preferred Bank




    3.57     Bruckner Transport LLC                                                           Schedule D, line
    3        12 Water Street                                                                  Schedule E/F, line      4.611
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            TD Auto Finance




    3.57     Bruckner Transport LLC                                                           Schedule D, line
    4        12 Water Street                                                                  Schedule E/F, line      4.612
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            TD Auto Finance




    3.57     D'Alessio Enterprises LLC                                                        Schedule D, line
    5        12 Water Street                                                                  Schedule E/F, line      4.67
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Bank of America




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             Column 1: Your codebtor                                                        Column 2: The creditor to whom you owe the debt
                                                                                            Check all schedules that apply:


    3.57     D'Alessio Enterprises LLC                                                        Schedule D, line
    6        12 Water Street                                                                  Schedule E/F, line      4.68
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Bank of America




    3.57     Katsura Consulting Group LLC                                                     Schedule D, line
    7        12 Water Street                                                                  Schedule E/F, line      4.490
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Preferred Bank




    3.57     Katsura Consulting Group LLC                                                     Schedule D, line
    8        12 Water Street                                                                  Schedule E/F, line      4.658
             Suite 201
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Yvonne Schettino




    3.57     Magnolia Consulting LLC                                                          Schedule D, line
    9        12 Water Street                                                                  Schedule E/F, line 4.620
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            The Westchester Bank




    3.58     Michael Paul Enterprises LLC                                                      Schedule D, line
    0        12 Water Street                                                                   Schedule E/F, line  4.18
             Suite 204
                                                                                               Schedule G
             White Plains, NY 10601
                                                                                            All Star Security & Communications Inc




    3.58     Michael Paul Enterprises LLC                                                      Schedule D, line
    1        12 Water Street                                                                   Schedule E/F, line   4.23
             Suite 204
                                                                                               Schedule G
             White Plains, NY 10601
                                                                                            Allstate Sprinkler Corp




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                                                                                            Check all schedules that apply:
    3.58     Michael Paul Enterprises LLC                                                      Schedule D, line
    2        12 Water Street                                                                   Schedule E/F, line   4.24
             Suite 204
                                                                                               Schedule G
             White Plains, NY 10601
                                                                                            Allstate Sprinkler Corp




    3.58     Michael Paul Enterprises LLC                                                      Schedule D, line
    3        12 Water Street                                                                   Schedule E/F, line     4.25
             Suite 204
                                                                                               Schedule G
             White Plains, NY 10601
                                                                                            Ally




    3.58     Michael Paul Enterprises LLC                                                     Schedule D, line
    4        12 Water Street                                                                  Schedule E/F, line      4.69
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Bank of America




    3.58     Michael Paul Enterprises LLC                                                     Schedule D, line
    5        12 Water Street                                                                  Schedule E/F, line      4.86
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Blackman Plumbing




    3.58     Michael Paul Enterprises LLC                                                     Schedule D, line
    6        12 Water Street                                                                  Schedule E/F, line    4.87
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Blue Tarp Financial Inc




    3.58     Michael Paul Enterprises LLC                                                     Schedule D, line
    7        12 Water Street                                                                  Schedule E/F, line 4.90
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Boston Road Equipment Rental




    3.58     Michael Paul Enterprises LLC                                                     Schedule D, line
    8        12 Water Street                                                                  Schedule E/F, line 4.91
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Braga Hardwood Flooring Inc




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                                                                                            Check all schedules that apply:


    3.58     Michael Paul Enterprises LLC                                                      Schedule D, line
    9        12 Water Street                                                                   Schedule E/F, line 4.93
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Bridgehampton National Bank




    3.59     Michael Paul Enterprises LLC                                                     Schedule D, line
    0        12 Water Street                                                                  Schedule E/F, line  4.100
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Cancos Tile and Stone




    3.59     Michael Paul Enterprises LLC                                                     Schedule D, line
    1        12 Water Street                                                                  Schedule E/F, line  4.101
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Cancos Tile and Stone




    3.59     Michael Paul Enterprises LLC                                                     Schedule D, line
    2        12 Water Street                                                                  Schedule E/F, line    4.103
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Capital Industries Corp




    3.59     Michael Paul Enterprises LLC                                                     Schedule D, line
    3        12 Water Street                                                                  Schedule E/F, line  4.104
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Carefree Air & Water Management Inc




    3.59     Michael Paul Enterprises LLC                                                     Schedule D, line
    4        12 Water Street                                                                  Schedule E/F, line  4.105
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Carefree Air & Water Management Inc




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                                                                                            Check all schedules that apply:
    3.59     Michael Paul Enterprises LLC                                                     Schedule D, line
    5        12 Water Street                                                                  Schedule E/F, line  4.106
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Carefree Air & Water Management Inc




    3.59     Michael Paul Enterprises LLC                                                     Schedule D, line
    6        12 Water Street                                                                  Schedule E/F, line      4.119
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Case's Creek




    3.59     Michael Paul Enterprises LLC                                                     Schedule D, line
    7        12 Water Street                                                                  Schedule E/F, line   4.120
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Celtic Services NYC Inc




    3.59     Michael Paul Enterprises LLC                                                      Schedule D, line
    8        12 Water Street                                                                   Schedule E/F, line     4.132
             Suite 204
                                                                                               Schedule G
             White Plains, NY 10601
                                                                                            City Ironsmith Corp




    3.59     Michael Paul Enterprises LLC                                                      Schedule D, line
    9        12 Water Street                                                                   Schedule E/F, line     4.133
             Suite 204
                                                                                               Schedule G
             White Plains, NY 10601
                                                                                            City Ironsmith Corp




    3.60     Michael Paul Enterprises LLC                                                     Schedule D, line
    0        12 Water Street                                                                  Schedule E/F, line  4.139
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Consolidated Scaffold & Bridge Corp




    3.60     Michael Paul Enterprises LLC                                                     Schedule D, line
    1        12 Water Street                                                                  Schedule E/F, line  4.144
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Daimler Construction LLC




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                                                                                            Check all schedules that apply:


    3.60     Michael Paul Enterprises LLC                                                     Schedule D, line
    2        12 Water Street                                                                  Schedule E/F, line  4.145
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Daimler Construction LLC




    3.60     Michael Paul Enterprises LLC                                                     Schedule D, line
    3        12 Water Street                                                                  Schedule E/F, line  4.146
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Daimler Construction LLC




    3.60     Michael Paul Enterprises LLC                                                     Schedule D, line
    4        12 Water Street                                                                  Schedule E/F, line 4.149
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Danisi Energy Company




    3.60     Michael Paul Enterprises LLC                                                     Schedule D, line
    5        12 Water Street                                                                  Schedule E/F, line 4.172
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Decorama Building & Plumbing Supply Inc




    3.60     Michael Paul Enterprises LLC                                                     Schedule D, line
    6        12 Water Street                                                                  Schedule E/F, line 4.175
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Despatch of Southampton M & S LLC




    3.60     Michael Paul Enterprises LLC                                                     Schedule D, line
    7        12 Water Street                                                                  Schedule E/F, line  4.184
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Dominick R. Pilla Associates PC




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             Column 1: Your codebtor                                                        Column 2: The creditor to whom you owe the debt
                                                                                            Check all schedules that apply:
    3.60     Michael Paul Enterprises LLC                                                     Schedule D, line
    8        12 Water Street                                                                  Schedule E/F, line  4.185
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Dominick R. Pilla Associates PC




    3.60     Michael Paul Enterprises LLC                                                     Schedule D, line
    9        12 Water Street                                                                  Schedule E/F, line  4.186
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Dominick R. Pilla Associates PC




    3.61     Michael Paul Enterprises LLC                                                     Schedule D, line
    0        12 Water Street                                                                  Schedule E/F, line      4.196
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Dynaire Corporation




    3.61     Michael Paul Enterprises LLC                                                     Schedule D, line
    1        12 Water Street                                                                  Schedule E/F, line  4.199
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            East End Country Kitchens Cabinets Inc




    3.61     Michael Paul Enterprises LLC                                                     Schedule D, line
    2        12 Water Street                                                                  Schedule E/F, line  4.200
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Eastern Metal Works Inc




    3.61     Michael Paul Enterprises LLC                                                     Schedule D, line
    3        12 Water Street                                                                  Schedule E/F, line  4.202
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Edge & Corner Tile & Marble




    3.61     Michael Paul Enterprises LLC                                                     Schedule D, line
    4        12 Water Street                                                                  Schedule E/F, line   4.215
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Erwin & Bielinski, PLLC




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                                                                                            Check all schedules that apply:


    3.61     Michael Paul Enterprises LLC                                                     Schedule D, line
    5        12 Water Street                                                                  Schedule E/F, line      4.224
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Feldman Lumber




    3.61     Michael Paul Enterprises LLC                                                     Schedule D, line
    6        12 Water Street                                                                  Schedule E/F, line      4.229
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Fort Cica




    3.61     Michael Paul Enterprises LLC                                                     Schedule D, line
    7        12 Water Street                                                                  Schedule E/F, line      4.230
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Fort Cica




    3.61     Michael Paul Enterprises LLC                                                     Schedule D, line
    8        12 Water Street                                                                  Schedule E/F, line 4.237
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Gabor M. Szakal Consulting Engineers, P.




    3.61     Michael Paul Enterprises LLC                                                     Schedule D, line
    9        12 Water Street                                                                  Schedule E/F, line   4.239
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Gabriel E. Senor, P.C.




    3.62     Michael Paul Enterprises LLC                                                     Schedule D, line
    0        12 Water Street                                                                  Schedule E/F, line      4.241
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            GC Warehouse LLC




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                                                                                            Check all schedules that apply:
    3.62     Michael Paul Enterprises LLC                                                     Schedule D, line
    1        12 Water Street                                                                  Schedule E/F, line      4.243
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            GeoLand Corp




    3.62     Michael Paul Enterprises LLC                                                     Schedule D, line
    2        12 Water Street                                                                  Schedule E/F, line 4.255
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            GM Financial Leasing




    3.62     Michael Paul Enterprises LLC                                                     Schedule D, line
    3        12 Water Street                                                                  Schedule E/F, line 4.256
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            GM Financial Leasing




    3.62     Michael Paul Enterprises LLC                                                     Schedule D, line
    4        12 Water Street                                                                  Schedule E/F, line 4.257
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            GM Financial Leasing




    3.62     Michael Paul Enterprises LLC                                                     Schedule D, line
    5        12 Water Street                                                                  Schedule E/F, line 4.267
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Greater Hudson Bank




    3.62     Michael Paul Enterprises LLC                                                      Schedule D, line
    6        12 Water Street                                                                   Schedule E/F, line     4.279
             Suite 204
                                                                                               Schedule G
             White Plains, NY 10601
                                                                                            Hilti Inc




    3.62     Michael Paul Enterprises LLC                                                      Schedule D, line
    7        12 Water Street                                                                   Schedule E/F, line    4.280
             Suite 204
                                                                                               Schedule G
             White Plains, NY 10601
                                                                                            Infiniti Financial Services




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                                                                                            Check all schedules that apply:


    3.62     Michael Paul Enterprises LLC                                                      Schedule D, line
    8        12 Water Street                                                                   Schedule E/F, line 4.287
             Suite 204
                                                                                               Schedule G
             White Plains, NY 10601
                                                                                            J.S.K. Construction Corp




    3.62     Michael Paul Enterprises LLC                                                     Schedule D, line
    9        12 Water Street                                                                  Schedule E/F, line      4.293
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Janovic




    3.63     Michael Paul Enterprises LLC                                                     Schedule D, line
    0        12 Water Street                                                                  Schedule E/F, line     4.303
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Jeffrey T. Butler, P.E. P.C.




    3.63     Michael Paul Enterprises LLC                                                      Schedule D, line
    1        12 Water Street                                                                   Schedule E/F, line     4.309
             Suite 204
                                                                                               Schedule G
             White Plains, NY 10601
                                                                                            Jilco Window Corp




    3.63     Michael Paul Enterprises LLC                                                     Schedule D, line
    2        12 Water Street                                                                  Schedule E/F, line 4.328
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Joseph Crocco Architect PC




    3.63     Michael Paul Enterprises LLC                                                     Schedule D, line
    3        12 Water Street                                                                  Schedule E/F, line 4.362
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Leiberts Royal Green




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                                                                                            Check all schedules that apply:
    3.63     Michael Paul Enterprises LLC                                                      Schedule D, line
    4        12 Water Street                                                                   Schedule E/F, line     4.367
             Suite 204
                                                                                               Schedule G
             White Plains, NY 10601
                                                                                            Lippolis Electric Inc




    3.63     Michael Paul Enterprises LLC                                                      Schedule D, line
    5        12 Water Street                                                                   Schedule E/F, line     4.368
             Suite 204
                                                                                               Schedule G
             White Plains, NY 10601
                                                                                            Lippolis Electric Inc




    3.63     Michael Paul Enterprises LLC                                                      Schedule D, line
    6        12 Water Street                                                                   Schedule E/F, line     4.369
             Suite 204
                                                                                               Schedule G
             White Plains, NY 10601
                                                                                            Lippolis Electric Inc




    3.63     Michael Paul Enterprises LLC                                                      Schedule D, line
    7        12 Water Street                                                                   Schedule E/F, line     4.370
             Suite 204
                                                                                               Schedule G
             White Plains, NY 10601
                                                                                            Lippolis Electric Inc




    3.63     Michael Paul Enterprises LLC                                                      Schedule D, line
    8        12 Water Street                                                                   Schedule E/F, line     4.371
             Suite 204
                                                                                               Schedule G
             White Plains, NY 10601
                                                                                            Lippolis Electric Inc




    3.63     Michael Paul Enterprises LLC                                                     Schedule D, line
    9        12 Water Street                                                                  Schedule E/F, line  4.401
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Masters Exterminating & Pest Control Inc




    3.64     Michael Paul Enterprises LLC                                                     Schedule D, line
    0        12 Water Street                                                                  Schedule E/F, line 4.414
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Mercedes Benz Financial Svc




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                                                                                            Check all schedules that apply:


    3.64     Michael Paul Enterprises LLC                                                     Schedule D, line
    1        12 Water Street                                                                  Schedule E/F, line 4.415
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Mercedes Benz Financial Svc




    3.64     Michael Paul Enterprises LLC                                                     Schedule D, line
    2        12 Water Street                                                                  Schedule E/F, line      4.436
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Mr. John Inc




    3.64     Michael Paul Enterprises LLC                                                     Schedule D, line
    3        12 Water Street                                                                  Schedule E/F, line 4.448
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            New Plumbing & Heating Corp




    3.64     Michael Paul Enterprises LLC                                                     Schedule D, line
    4        12 Water Street                                                                  Schedule E/F, line 4.449
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            New Plumbing & Heating Corp




    3.64     Michael Paul Enterprises LLC                                                     Schedule D, line
    5        12 Water Street                                                                  Schedule E/F, line 4.450
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            New Plumbing & Heating Corp




    3.64     Michael Paul Enterprises LLC                                                     Schedule D, line
    6        12 Water Street                                                                  Schedule E/F, line      4.451
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            NFR/SO




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                                                                                            Check all schedules that apply:
    3.64     Michael Paul Enterprises LLC                                                     Schedule D, line
    7        12 Water Street                                                                  Schedule E/F, line    4.456
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            P.S. Electrical Contracting Corp




    3.64     Michael Paul Enterprises LLC                                                      Schedule D, line
    8        12 Water Street                                                                   Schedule E/F, line  4.484
             Suite 204
                                                                                               Schedule G
             White Plains, NY 10601
                                                                                            Planet Waste Services Inc




    3.64     Michael Paul Enterprises LLC                                                     Schedule D, line
    9        12 Water Street                                                                  Schedule E/F, line      4.485
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Ponce DeLeon Bank




    3.65     Michael Paul Enterprises LLC                                                     Schedule D, line
    0        12 Water Street                                                                  Schedule E/F, line  4.491
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Pro Glass Solutions Corp




    3.65     Michael Paul Enterprises LLC                                                      Schedule D, line
    1        12 Water Street                                                                   Schedule E/F, line 4.492
             Suite 204
                                                                                               Schedule G
             White Plains, NY 10601
                                                                                            R. W. Behan Contracting Inc




    3.65     Michael Paul Enterprises LLC                                                      Schedule D, line
    2        12 Water Street                                                                   Schedule E/F, line 4.493
             Suite 204
                                                                                               Schedule G
             White Plains, NY 10601
                                                                                            R. W. Behan Contracting Inc




    3.65     Michael Paul Enterprises LLC                                                     Schedule D, line
    3        12 Water Street                                                                  Schedule E/F, line  4.500
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Regional Testing Corp




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             Column 1: Your codebtor                                                        Column 2: The creditor to whom you owe the debt
                                                                                            Check all schedules that apply:


    3.65     Michael Paul Enterprises LLC                                                     Schedule D, line
    4        12 Water Street                                                                  Schedule E/F, line  4.527
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Rogliano Construction




    3.65     Michael Paul Enterprises LLC                                                     Schedule D, line
    5        12 Water Street                                                                  Schedule E/F, line      4.544
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Rufo A. Arias Corp




    3.65     Michael Paul Enterprises LLC                                                     Schedule D, line
    6        12 Water Street                                                                  Schedule E/F, line 4.545
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            RVB Construction Inc




    3.65     Michael Paul Enterprises LLC                                                     Schedule D, line
    7        12 Water Street                                                                  Schedule E/F, line 4.546
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            RVB Construction Inc




    3.65     Michael Paul Enterprises LLC                                                     Schedule D, line
    8        12 Water Street                                                                  Schedule E/F, line      4.547
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            S.R. Interiors, Inc




    3.65     Michael Paul Enterprises LLC                                                     Schedule D, line
    9        12 Water Street                                                                  Schedule E/F, line 4.586
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            SLC Construction Inc




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             Column 1: Your codebtor                                                        Column 2: The creditor to whom you owe the debt
                                                                                            Check all schedules that apply:
    3.66     Michael Paul Enterprises LLC                                                     Schedule D, line
    0        12 Water Street                                                                  Schedule E/F, line 4.587
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Squires, Holden Weisenbacher




    3.66     Michael Paul Enterprises LLC                                                     Schedule D, line
    1        12 Water Street                                                                  Schedule E/F, line 4.588
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Squires, Holden Weisenbacher




    3.66     Michael Paul Enterprises LLC                                                     Schedule D, line
    2        12 Water Street                                                                  Schedule E/F, line   4.594
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Sterling National Bank




    3.66     Michael Paul Enterprises LLC                                                     Schedule D, line
    3        12 Water Street                                                                  Schedule E/F, line 4.609
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Tamarack Country Club




    3.66     Michael Paul Enterprises LLC                                                     Schedule D, line
    4        12 Water Street                                                                  Schedule E/F, line 4.621
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            The Westchester Bank




    3.66     Michael Paul Enterprises LLC                                                     Schedule D, line
    5        12 Water Street                                                                  Schedule E/F, line 4.625
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            ThyssenKrupp Elevator Americas




    3.66     Michael Paul Enterprises LLC                                                     Schedule D, line
    6        12 Water Street                                                                  Schedule E/F, line      4.626
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Times Buildings PC




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 Debtor 1 Michael P. D'Alessio                                                         Case number (if known)   18-22552


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                        Column 2: The creditor to whom you owe the debt
                                                                                            Check all schedules that apply:


    3.66     Michael Paul Enterprises LLC                                                     Schedule D, line
    7        12 Water Street                                                                  Schedule E/F, line      4.634
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Total Comfort Inc




    3.66     Michael Paul Enterprises LLC                                                     Schedule D, line
    8        12 Water Street                                                                  Schedule E/F, line 4.635
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Tuchman, Korngold, Weiss,




    3.66     Michael Paul Enterprises LLC                                                     Schedule D, line
    9        12 Water Street                                                                  Schedule E/F, line 4.636
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Twomey, Latham, Shea,




    3.67     Michael Paul Enterprises LLC                                                     Schedule D, line
    0        12 Water Street                                                                  Schedule E/F, line 4.637
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            United Overhead Door Corp




    3.67     Michael Paul Enterprises LLC                                                     Schedule D, line
    1        12 Water Street                                                                  Schedule E/F, line 4.641
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Up Construction and Restoration Inc




    3.67     Michael Paul Enterprises LLC                                                     Schedule D, line
    2        12 Water Street                                                                  Schedule E/F, line   4.642
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Vail Associates Architects




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 Debtor 1 Michael P. D'Alessio                                                         Case number (if known)   18-22552


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                        Column 2: The creditor to whom you owe the debt
                                                                                            Check all schedules that apply:
    3.67     Michael Paul Enterprises LLC                                                     Schedule D, line
    3        12 Water Street                                                                  Schedule E/F, line   4.643
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Vail Associates Architects




    3.67     Michael Paul Enterprises LLC                                                      Schedule D, line
    4        12 Water Street                                                                   Schedule E/F, line     4.645
             Suite 204
                                                                                               Schedule G
             White Plains, NY 10601
                                                                                            Virtual Services




    3.67     Michael Paul Enterprises LLC                                                     Schedule D, line
    5        12 Water Street                                                                  Schedule E/F, line      4.647
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Wayside Fence Co




    3.67     Michael Paul Enterprises LLC                                                     Schedule D, line
    6        12 Water Street                                                                  Schedule E/F, line      4.653
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Window Fix Inc




    3.67     Michael Paul Enterprises LLC                                                     Schedule D, line
    7        12 Water Street                                                                  Schedule E/F, line      4.655
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Yorkshire Stone Inc




    3.67     Purchase Capital Partners LLC                                                     Schedule D, line
    8        12 Water Street                                                                   Schedule E/F, line     4.56
             Suite 204
                                                                                               Schedule G
             White Plains, NY 10601
                                                                                            Attis Properties Inc




    3.67     Purchase Capital Partners LLC                                                    Schedule D, line
    9        12 Water Street                                                                  Schedule E/F, line      4.79
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Barry Ipp




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 Debtor 1 Michael P. D'Alessio                                                         Case number (if known)   18-22552


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                        Column 2: The creditor to whom you owe the debt
                                                                                            Check all schedules that apply:


    3.68     Purchase Capital Partners LLC                                                    Schedule D, line
    0        12 Water Street                                                                  Schedule E/F, line      4.189
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Donato Ciaccia




    3.68     Purchase Capital Partners LLC                                                    Schedule D, line
    1        12 Water Street                                                                  Schedule E/F, line      4.232
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Francis Carbone




    3.68     Purchase Capital Partners LLC                                                    Schedule D, line
    2        12 Water Street                                                                  Schedule E/F, line      4.250
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Gianbattista Davi




    3.68     Purchase Capital Partners LLC                                                    Schedule D, line
    3        12 Water Street                                                                  Schedule E/F, line      4.265
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Grazia DeFranco




    3.68     Purchase Capital Partners LLC                                                    Schedule D, line
    4        12 Water Street                                                                  Schedule E/F, line      4.310
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Joanna Blum




    3.68     Purchase Capital Partners LLC                                                    Schedule D, line
    5        12 Water Street                                                                  Schedule E/F, line      4.348
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Keith Hummel




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 Debtor 1 Michael P. D'Alessio                                                         Case number (if known)   18-22552


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                        Column 2: The creditor to whom you owe the debt
                                                                                            Check all schedules that apply:
    3.68     Purchase Capital Partners LLC                                                    Schedule D, line
    6        12 Water Street                                                                  Schedule E/F, line      4.352
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Kurt Voellmicke




    3.68     Purchase Capital Partners LLC                                                    Schedule D, line
    7        12 Water Street                                                                  Schedule E/F, line      4.354
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Lance Kuba




    3.68     Purchase Capital Partners LLC                                                    Schedule D, line
    8        12 Water Street                                                                  Schedule E/F, line      4.355
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Laurie Waters




    3.68     Purchase Capital Partners LLC                                                    Schedule D, line
    9        12 Water Street                                                                  Schedule E/F, line      4.387
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Marianne Tesler




    3.69     Purchase Capital Partners LLC                                                    Schedule D, line
    0        12 Water Street                                                                  Schedule E/F, line      4.418
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Michael Burden




    3.69     Purchase Capital Partners LLC                                                    Schedule D, line
    1        12 Water Street                                                                  Schedule E/F, line      4.446
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Neil Ptashnik




    3.69     Purchase Capital Partners LLC                                                    Schedule D, line
    2        12 Water Street                                                                  Schedule E/F, line      4.481
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Philippe Tesler




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 Debtor 1 Michael P. D'Alessio                                                         Case number (if known)   18-22552


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                        Column 2: The creditor to whom you owe the debt
                                                                                            Check all schedules that apply:


    3.69     Purchase Capital Partners LLC                                                    Schedule D, line
    3        12 Water Street                                                                  Schedule E/F, line      4.508
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Robert Blanda




    3.69     Purchase Capital Partners LLC                                                    Schedule D, line
    4        12 Water Street                                                                  Schedule E/F, line      4.515
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Robert Palestra




    3.69     Purchase Capital Partners LLC                                                    Schedule D, line
    5        12 Water Street                                                                  Schedule E/F, line      4.543
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Ross Weissman




    3.69     Purchase Capital Partners LLC                                                    Schedule D, line
    6        12 Water Street                                                                  Schedule E/F, line      4.567
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Scott Levine




    3.69     Purchase Capital Partners LLC                                                    Schedule D, line
    7        12 Water Street                                                                  Schedule E/F, line      4.623
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Theodore Strange




    3.69     Schurz 9 LLC                                                                     Schedule D, line
    8        12 Water Street                                                                  Schedule E/F, line 4.266
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Greater Hudson Bank




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 Debtor 1 Michael P. D'Alessio                                                         Case number (if known)   18-22552


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                        Column 2: The creditor to whom you owe the debt
                                                                                            Check all schedules that apply:
    3.69     Schurz Avenue Development LLC                                                     Schedule D, line
    9        12 Water Street                                                                   Schedule E/F, line 4.92
             Suite 204
                                                                                              Schedule G
             White Plains, NY 10601
                                                                                            Bridgehampton National Bank




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Fill in this information to identify your case:

Debtor 1                      Michael P. D'Alessio

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:       SOUTHERN DISTRICT OF NEW YORK

Case number               18-22552                                                                       Check if this is:
(If known)
                                                                                                             An amended filing
                                                                                                             A supplement showing postpetition chapter
                                                                                                             13 income as of the following date:

Official Form 106I                                                                                           MM / DD/ YYYY
Schedule I: Your Income                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                     Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                     Employed
       attach a separate page with           Employment status
                                                                      Not employed                                 Not employed
       information about additional
       employers.
                                             Occupation            General contractor
       Include part-time, seasonal, or
       self-employed work.                   Employer's name       Michael Paul Enterprises LLC

       Occupation may include student        Employer's address    12 Water Street
       or homemaker, if it applies.                                Suite 204
                                                                   White Plains, NY 10601

                                             How long employed there?

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                       For Debtor 1          For Debtor 2 or
                                                                                                                             non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.     $              0.00       $             N/A

3.     Estimate and list monthly overtime pay.                                              3.    +$              0.00       +$            N/A

4.     Calculate gross Income. Add line 2 + line 3.                                         4.     $           0.00              $      N/A




Official Form 106I                                                      Schedule I: Your Income                                                  page 1
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Debtor 1     Michael P. D'Alessio                                                                 Case number (if known)     18-22552


                                                                                                      For Debtor 1            For Debtor 2 or
                                                                                                                              non-filing spouse
      Copy line 4 here                                                                     4.         $              0.00     $             N/A

5.    List all payroll deductions:
      5a.     Tax, Medicare, and Social Security deductions                                5a.        $              0.00     $               N/A
      5b.     Mandatory contributions for retirement plans                                 5b.        $              0.00     $               N/A
      5c.     Voluntary contributions for retirement plans                                 5c.        $              0.00     $               N/A
      5d.     Required repayments of retirement fund loans                                 5d.        $              0.00     $               N/A
      5e.     Insurance                                                                    5e.        $              0.00     $               N/A
      5f.     Domestic support obligations                                                 5f.        $              0.00     $               N/A
      5g.     Union dues                                                                   5g.        $              0.00     $               N/A
      5h.     Other deductions. Specify:                                                   5h.+       $              0.00 +   $               N/A
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $                  0.00     $               N/A
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $                  0.00     $               N/A
8.    List all other income regularly received:
      8a. Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                           8a.        $              0.00     $               N/A
      8b. Interest and dividends                                                           8b.        $              0.00     $               N/A
      8c. Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                          8c.        $              0.00     $               N/A
      8d. Unemployment compensation                                                        8d.        $              0.00     $               N/A
      8e. Social Security                                                                  8e.        $              0.00     $               N/A
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                      8f.  $                    0.00   $                 N/A
      8g. Pension or retirement income                                                     8g. $                     0.00   $                 N/A
      8h. Other monthly income. Specify:                                                   8h.+ $                    0.00 + $                 N/A

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $                  0.00     $               N/A

10. Calculate monthly income. Add line 7 + line 9.                                     10. $                 0.00 + $              N/A = $            0.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                  0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                         12.   $           0.00
                                                                                                                                          Combined
                                                                                                                                          monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain: Debtor expects to earn income from future development activities




Official Form 106I                                                     Schedule I: Your Income                                                      page 2
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Fill in this information to identify your case:

Debtor 1                 Michael P. D'Alessio                                                              Check if this is:
                                                                                                               An amended filing
Debtor 2                                                                                                       A supplement showing postpetition chapter
(Spouse, if filing)                                                                                            13 expenses as of the following date:

United States Bankruptcy Court for the:   SOUTHERN DISTRICT OF NEW YORK                                              MM / DD / YYYY

Case number           18-22552
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?
                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and              Yes.
                                                   Fill out this information for   Dependent’s relationship to          Dependent’s     Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age             live with you?

      Do not state the                                                                                                                       No
      dependents names.                                                            Daughter                             22                   Yes
                                                                                                                                             No
                                                                                                                                             Yes
                                                                                                                                             No
                                                                                                                                             Yes
                                                                                                                                             No
                                                                                                                                             Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                        Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                             5,666.00

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                                 0.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                                 0.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                                 0.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                                 0.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                                 0.00




Official Form 106J                                                   Schedule J: Your Expenses                                                            page 1
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Debtor 1     Michael P. D'Alessio                                                                      Case number (if known)      18-22552

6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                                 360.00
      6b. Water, sewer, garbage collection                                                   6b. $                                                   0.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                                                   0.00
      6d. Other. Specify:                                                                    6d. $                                                   0.00
7.    Food and housekeeping supplies                                                           7. $                                                800.00
8.    Childcare and children’s education costs                                                 8. $                                                  0.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                                250.00
10.   Personal care products and services                                                    10. $                                                 100.00
11.   Medical and dental expenses                                                            11. $                                                   0.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                 150.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                   0.00
14.   Charitable contributions and religious donations                                       14. $                                                   0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                     0.00
      15b. Health insurance                                                                15b. $                                                     0.00
      15c. Vehicle insurance                                                               15c. $                                                     0.00
      15d. Other insurance. Specify:                                                       15d. $                                                     0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                               16. $                                                    0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                     0.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                     0.00
      17c. Other. Specify:                                                                 17c. $                                                     0.00
      17d. Other. Specify:                                                                 17d. $                                                     0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                              3,600.00
19.   Other payments you make to support others who do not live with you.                         $                                                 0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                     0.00
      20b. Real estate taxes                                                               20b. $                                                     0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                     0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                     0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                     0.00
21.   Other: Specify:                                                                        21. +$                                                   0.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                     $                      10,926.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                      10,926.00
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                                   0.00
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                             10,926.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                            -10,926.00

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
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 Fill in this information to identify your case:

 Debtor 1                    Michael P. D'Alessio
                             First Name                     Middle Name             Last Name

 Debtor 2
 (Spouse if, filing)         First Name                     Middle Name             Last Name


 United States Bankruptcy Court for the:              SOUTHERN DISTRICT OF NEW YORK

 Case number              18-22552
 (if known)                                                                                                                           Check if this is an
                                                                                                                                      amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                          12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                       Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

                No

                Yes. Name of person                                                                             Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                                Declaration, and Signature (Official Form 119)


       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

        X /s/ Michael P. D'Alessio                                                  X
              Michael P. D'Alessio                                                      Signature of Debtor 2
              Signature of Debtor 1

              Date       May 30, 2018                                                   Date




Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
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 Fill in this information to identify your case:

 Debtor 1                  Michael P. D'Alessio
                           First Name                       Middle Name                  Last Name

 Debtor 2
 (Spouse if, filing)       First Name                       Middle Name                  Last Name


 United States Bankruptcy Court for the:              SOUTHERN DISTRICT OF NEW YORK

 Case number           18-22552
 (if known)                                                                                                                                  Check if this is an
                                                                                                                                             amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                4/16
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

               Married
               Not married

2.     During the last 3 years, have you lived anywhere other than where you live now?

               No
               Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1 Prior Address:                                  Dates Debtor 1             Debtor 2 Prior Address:                              Dates Debtor 2
                                                                 lived there                                                                     lived there
        1 Katsura Drive                                          From-To:                      Same as Debtor 1                                     Same as Debtor 1
        Purchase, NY 10577                                       02/2015 - 10/2017                                                               From-To:




3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

               No
               Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2         Explain the Sources of Your Income

4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

               No
               Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income             Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.         (before deductions
                                                                                    exclusions)                                                  and exclusions)

 From January 1 of current year until                 Wages, commissions,                       $31,200.00           Wages, commissions,
 the date you filed for bankruptcy:                                                                                bonuses, tips
                                                   bonuses, tips

                                                       Operating a business                                           Operating a business

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 Debtor 1      Michael P. D'Alessio                                                                        Case number (if known)   18-22552


                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income            Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.        (before deductions
                                                                                    exclusions)                                                 and exclusions)

 For last calendar year:                              Wages, commissions,                      $124,800.00           Wages, commissions,
 (January 1 to December 31, 2017 )                                                                                 bonuses, tips
                                                   bonuses, tips

                                                       Operating a business                                           Operating a business


 For the calendar year before that:                   Wages, commissions,                      $124,800.00           Wages, commissions,
 (January 1 to December 31, 2016 )                                                                                 bonuses, tips
                                                   bonuses, tips

                                                       Operating a business                                           Operating a business


5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
      and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
      winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

            No
            Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income from              Sources of income            Gross income
                                                   Describe below.                  each source                    Describe below.              (before deductions
                                                                                    (before deductions and                                      and exclusions)
                                                                                    exclusions)
 For last calendar year:                           K1 Income                                   $408,627.00
 (January 1 to December 31, 2017 )

 For the calendar year before that:                K1 Income                                   $614,096.00
 (January 1 to December 31, 2016 )


 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
           No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                 individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?
                          No.      Go to line 7.
                          Yes    List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the total amount you
                                 paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                 not include payments to an attorney for this bankruptcy case.
                     * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

            Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                          No.      Go to line 7.
                          Yes      List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                   include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                   attorney for this bankruptcy case.


       Creditor's Name and Address                               Dates of payment            Total amount          Amount you       Was this payment for ...
                                                                                                     paid            still owe




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 Debtor 1      Michael P. D'Alessio                                                                        Case number (if known)   18-22552


       Creditor's Name and Address                               Dates of payment            Total amount          Amount you       Was this payment for ...
                                                                                                     paid            still owe
       Throgs Neck Debt LLC                                      3/1, 3/23, 3/28, 4/1.      $1,869,960.4         $1,265,857.7         Mortgage
       c/o Bluestone Group                                                                             7                    3         Car
       225 Broadway, 32nd Fl.                                                                                                         Credit Card
       New York, NY 10007                                                                                                             Loan Repayment
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Other


7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
      of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
      a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
      alimony.

            No
            Yes. List all payments to an insider.
       Insider's Name and Address                                Dates of payment            Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe
       Carolyn D'Alessio                                         04/01/2017 -                 $43,200.00           $10,800.00       Child support
       21 D'Alessio Court                                        04/01/2018
       Scarsdale, NY 10583

       Yvonne Schettino - D'Alessio                              12/18/17                            $0.00                $0.00     Divorce Judgement-
       20 Scott Circle                                                                                                              Transfer of debtor's
       Purchase, NY 10577                                                                                                           interest in 3200 Tremont
                                                                                                                                    Associates Inc and 3600
                                                                                                                                    Tremont Associates Inc

       Yvonne Schettino - D'Alessio                              12/18/17                    $191,150.00          $408,850.00       Debtor caused Scott
       20 Scott Circle                                                                                                              Consultants II LLC to
       Purchase, NY 10577                                                                                                           convey proceeds of sale of
                                                                                                                                    real property located at 20
                                                                                                                                    Scott Circle, Purchase, NY.
                                                                                                                                    Divorce Judgement

       Yvonne Schettino - D'Alessio                              12/18/17                            $0.00        $970,000.00       Debtor caused Katsura
       20 Scott Circle                                                                                                              Consulting Group LLC to
       Purchase, NY 10577                                                                                                           convey mortgage for
                                                                                                                                    $970,000 to Yvonne to
                                                                                                                                    secure debtors obligation
                                                                                                                                    to pay 40% net proceeds of
                                                                                                                                    sale of Katsura.
                                                                                                                                    Divorce Judgement


8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

            No
            Yes. List all payments to an insider
       Insider's Name and Address                                Dates of payment            Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe      Include creditor's name




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 Part 4:      Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
      modifications, and contract disputes.

            No
            Yes. Fill in the details.
       Case title                                                Nature of the case         Court or agency                         Status of the case
       Case number
       Rella Fogliano, Marilyn Shendell,                                                    Supreme Court,                             Pending
       Attis Properties Inc, Glen Feller,                                                   Weschester County                          On appeal
       Joshua Brown, Angie Brown,                                                           111 Dr. Martin Luther King
                                                                                                                                       Concluded
       Philip Goldstein, Ellen Goldstein &                                                  Jr. Blvd.
       Sanley Company                                                                       White Plains, NY 10601
       v.
       145-147 East 62nd Street Holding
       LLC, 145-147 East 62nd Street
       Associates LLC, Michael P.
       D'Alessio, Anthony Carbone,
       Michael Paul Enterprises LLC and
       FCP 145 Holding LLC
       53635/2018

       Rella Fogliano, Joseph Breda,                                                        Supreme Court,                             Pending
       Marilyn Shendell & Attis Properties                                                  Westchester County                         On appeal
       Inc, RNG WEA LLC, Jacqueline                                                         111 Dr. Martin Luther King
                                                                                                                                       Concluded
       Martinez, Douglas Scibelli, Joshua                                                   Jr. Blvd.
       Brown, Angie Brown, Philip                                                           White Plains, NY 10601
       Goldstein, Ellen Goldstein, Robert
       Cicero, Keith Hummel & Philip
       Healy
       v.
       163-165 East 62nd Street Holding
       LLC & Bluestone 163-165 LLC,
       Michael Paul D'Alessio, Michael
       Paul Enterprises LLC and 163-165
       East 62nd Associates LLC,
       53540/2018

       East 64th Street Realty Partners                                                     Supreme Court,                             Pending
       LLV                                                                                  Westchester County                         On appeal
       v.                                                                                   111 Dr. Martin Luther King
                                                                                                                                       Concluded
       184 East 64th Street Holding LLC &                                                   Jr. Blvd.
       Bluestone 184 LLC, Michael Paul                                                      White Plains, NY 10601
       D'Alessio, Michael Paul
       Enterprises LLC and 184 East 64th
       Associates LLC
       53547/2018




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       Case title                                                Nature of the case         Court or agency                         Status of the case
       Case number
       Stacey Gendels, Bonni Stanley,                                                       Supreme Court,                             Pending
       Marilyn Shendell, Attis Properties                                                   Westchester County                         On appeal
       Inc, Philip Goldstein, Ellen                                                         111 Dr. Martin Luther King
                                                                                                                                       Concluded
       Goldstein Robert Cicero & Keith                                                      Jr. Blvd.
       Hummel                                                                               White Plains, NY 10601
       v.
       227 E 67th Street Holding LLC &
       Bluestone 67 LLC, Michael Paul
       D'Alessio, Michael Paul
       Enterprises LLC and 227 East 67th
       Associates LLC
       53520/2018

       Ronald Marchand Jr.                                                                  Supreme Court, New York                    Pending
       v.                                                                                   County                                     On appeal
       227 E. 67th Street Holding LLC,                                                      60 Centre Street
                                                                                                                                       Concluded
       Michael P. D'Alessio                                                                 New York, NY 10007
       613617/2017

       The Mautner-Glick Profit Corp.                                                       Supreme Court, New York                    Pending
       Sharing Plans, Individually and                                                      County                                     On appeal
       Deivatively on Behalf of 184 East                                                    60 Centre Street
                                                                                                                                       Concluded
       64th Street Holding LLC and 227                                                      New York, NY 10007
       East 67th Holding LLC
       v.
       Michael Paul D'Alessio, Michael
       Paul Enterprises, 184 East 64th
       Street Holding LLC, 184 East 64th
       Street Associates LLC, Bluestone
       184 LLC, 227 East 67th Street
       Holding LLC and 227 East 67th
       Street Associates LLC
       651184/2018

       BNB Bank, as                                                                         Supreme Court, County of                   Pending
       successor-in-interest to                                                             Suffolk                                    On appeal
       Bridgehampton National Bank                                                          1 Court Street
                                                                                                                                       Concluded
       v.                                                                                   Riverhead, NY 11901
       Michael Paul Enterprises LLC and
       Michael D'Alessio
       604688/2018

       KMT Group LLC                                                                        Supreme Court, County of                   Pending
       v.                                                                                   Suffolk                                    On appeal
       Bluestone 163-165 LLC and                                                            1 Court Street
                                                                                                                                       Concluded
       Michael P. D'Alessio                                                                 Riverhead, NY 11901
       604933/2018

       Lawrence L. Moulton and Margaret                          Breach of real             Superior Court Windham                     Pending
       J. Moulton                                                estate purchase            Unit Vermont                               On appeal
       v.                                                        agreement                  7 Court Street
                                                                                                                                       Concluded
       Michael D'Alessio and Four                                                           Newfane, VT 05345
       Seasons Sotheby's International
       Realty




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 Debtor 1      Michael P. D'Alessio                                                                        Case number (if known)   18-22552


       Case title                                                Nature of the case         Court or agency                         Status of the case
       Case number
       The Westchester Bank                                                                 Supreme Court,                             Pending
       v.                                                                                   Westchester County                         On appeal
       Michael P. D'Alessio A/K/A Michael                                                   111 Dr. Martin Luther King
                                                                                                                                       Concluded
       P. Dalessio and Michael Paul                                                         Jr. Blvd.
       Enterprises LLC                                                                      White Plains, NY 10601
       53400/2018

       Herminio Torres and Barbara Vega                                                     Supreme Court, New York                    Pending
       v.                                                                                   County                                     On appeal
       Michael P. D'Alessio, Michael Paul                                                   60 Centre Street
                                                                                                                                       Concluded
       Enterprises LLC, 163-165 East                                                        New York, NY 10007
       62nd Street Holding LLC, 163-165
       East 62nd Street Associates LLC,
       Bluestone 163-165 LLC, 43 Middle
       Pond Road LLC, 43 Middle Pond
       Road Holding LLC
       651423/2018

       Attis Prperties Inc, Keith Hummel &                                                  Supreme Court,                             Pending
       Philip Healy                                                                         Westchester County                         On appeal
       v.                                                                                   111 Dr. Martin Luther King
                                                                                                                                       Concluded
       41-45 MPR Holding LLC, 41 Middle                                                     Jr. Blvd.
       Pond Road Associates LLC, 43                                                         White Plains, NY 10601
       Middle Pond Road Associates LLC,
       45 Middle Pond Road Associates
       LLC, Michael Paul D'Alessio,
       Michael Paul Enterprises LLC &
       3700 Tremont Associates Inc
       54513/2018

       Marilyn Shendell, Attis Properties                                                   Supreme Court,                             Pending
       Inc & Keith Hummel                                                                   Westchester County                         On appeal
       v.                                                                                   111 Dr. Martin Luther King
                                                                                                                                       Concluded
       3 Sandpiper Court Holding LLC, 3                                                     Jr. Blvd.
       Sandpiper Court LLC, Michael Paul                                                    White Plains, NY 10601
       D'Alessio, Michael Paul
       Enterprises LLC & Bluestone
       Sandpiper LLC
       54501/2018

       Planned Security Services Inc                             Breach of contract         Supreme Court Essex                        Pending
       v.                                                        for services               County                                     On appeal
       Michael Paul D'Alessio, Michael                           rendered and               50 W Market St
                                                                                                                                       Concluded
       Paul Enterprises LLC, 336 East 54                         disputed by                Newark, NJ 07102
       Street Associates LLC, 336 East 54                        Michael Paul
       Street Associates Holding LLC                             D'Alessio
       Docket No.: ESX-L-2709-17

       Attis Properties Inc, Joshua                                                         Supreme Court, County of                   Pending
       Brown, Angie Brown, Philip                                                           Westchester                                On appeal
       Goldstein, Ellen Goldstein &                                                         111 Dr. Martin Luther King
                                                                                                                                       Concluded
       Sanley Company                                                                       Jr. Blvd.
       vs.                                                                                  White Plains, NY 10601
       15-17 Circle Holding LLC, 15 Circle
       Rd-MBI LLC, 17 Circle Rd-MBI LLC,
       Michael P. D'Alessio, William
       Orrico, Michael Paul Enterprises
       LLC & MBI Partners LLC
       54583/2018

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       Case title                                                Nature of the case         Court or agency                          Status of the case
       Case number
       Marina District Development                                                          Superior Court NJ, Atlantic                 Pending
       Company, LLC d/b/a Borgata Hotel                                                     County                                      On appeal
       Casino & Spa                                                                         1201 Bacharach Blvd.
                                                                                                                                        Concluded
       Vs. Michael P. D'Alessio                                                             Atlantic City, NJ 08401
       ATL-L-531-18

       Preferred Bank                                                                       Supreme Court, County of                    Pending
       vs.                                                                                  New York                                    On appeal
       184 East 64th Street Associates                                                      60 Centre Street
                                                                                                                                        Concluded
       LLC, W Financial Fund LP, North                                                      White Plains, NY 10601
       American Mortgage Company,
       Carefree Air & Water Management,
       Inc., City Ironsmith Corporation,
       Michael D'Alessio and John Does
       One through John Does Ten
       850122-2018

       Preferred Bank                                                                       Supreme Court, County of                    Pending
       vs.                                                                                  New York                                    On appeal
       227 E 67th Street Associates LLC,                                                    60 Centre Street
                                                                                                                                        Concluded
       Maxim Credit Group LLC, Michael                                                      White Plains, NY 10601
       D'Alessio and John Does One
       through John Does Ten
       850123-2018

       Ponce Bank, formerly known as                                                        Supreme Court, County of                    Pending
       Ponce De Leon Federal Bank                                                           Westchester                                 On appeal
       v.                                                                                   111 Dr. Martin Luther King
                                                                                                                                        Concluded
       Michael Paul Enterprises LLC &                                                       Blvd.
       Michael P. D'Alessio                                                                 White Plains, NY 10601
       Index: 56085/2018

       Preferred Bank                                            Foreclosure                Supreme Court, County of                    Pending
       v.                                                                                   Suffork                                     On appeal
       39 Middle Pond Road Associates                                                       1 Court Street
                                                                                                                                        Concluded
       LLC, Michael P. D'Alessio and                                                        Riverhead, NY 11901
       John Does One through John Does
       Ten
       Index No.: 608873/2018


10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

            No. Go to line 11.
            Yes. Fill in the information below.
       Creditor Name and Address                                 Describe the Property                                        Date                        Value of the
                                                                                                                                                             property
                                                                 Explain what happened

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
        No
            Yes. Fill in the details.
       Creditor Name and Address                                 Describe the action the creditor took                        Date action was                Amount
                                                                                                                              taken
       The Westchester Bank                                                                                                   03/07/2018                     $773.54
       12 Water Street                                           Last 4 digits of account number:     3474
       White Plains, NY 10601

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 Debtor 1      Michael P. D'Alessio                                                                         Case number (if known)   18-22552


       Creditor Name and Address                                 Describe the action the creditor took                        Date action was             Amount
                                                                                                                              taken
       The Westchester Bank                                                                                                   03/07/2018                 $515.36
       12 Water Street                                           Last 4 digits of account number:     3417
       White Plains, NY 10601

       The Westchester Bank                                                                                                   03/07/2018                 $491.77
       12 Water Street                                           Last 4 digits of account number:     3508
       White Plains, NY 10601

       The Westchester Bank                                                                                                   03/07/2018                 $941.91
       12 Water Street                                           Last 4 digits of account number:     261
       White Plains, NY 10601


12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

            No
            Yes

 Part 5:      List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
            No
            Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600                     Describe the gifts                                      Dates you gave                 Value
       per person                                                                                                             the gifts

       Person to Whom You Gave the Gift and
       Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
            No
            Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total                 Describe what you contributed                           Dates you                      Value
       more than $600                                                                                                         contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)

 Part 6:      List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

            No
            Yes. Fill in the details.
       Describe the property you lost and                   Describe any insurance coverage for the loss                      Date of your      Value of property
       how the loss occurred                                Include the amount that insurance has paid. List pending          loss                           lost
                                                            insurance claims on line 33 of Schedule A/B: Property.

 Part 7:      List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                            Description and value of any property                   Date payment             Amount of
       Address                                                        transferred                                             or transfer was           payment
       Email or website address                                                                                               made
       Person Who Made the Payment, if Not You

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 Debtor 1      Michael P. D'Alessio                                                                        Case number (if known)    18-22552


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment                Amount of
       Address                                                       transferred                                              or transfer was              payment
                                                                                                                              made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
         No
            Yes. Fill in the details.
       Person Who Received Transfer                                  Description and value of                   Describe any property or        Date transfer was
       Address                                                       property transferred                       payments received or debts      made
                                                                                                                paid in exchange
       Person's relationship to you
       Irene & Ronald D'Alessio                                      Membership Interest in                     $200,000.00 - Paid down         05/05/2017
       55 North Broadway                                             Magnolia Consulting LLC                    from Promissory Note
       Apt. 2-9
       White Plains, NY 10601

       Parents

       Ronald D'Alessio                                              Membership Interest in                     50,000.00                       3/27/18
       4 Wendover Road                                               Schurz Avenue Development
       Eastchester, NY 10709                                         LLC

       Brother

       Ronald D'Alessio                                              Membership Interest in                     50,000.00                       3/27/18
       4 Wendover Road                                               Schurz 9 LLC
       Eastchester, NY 10709

       Brother


19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
            No
            Yes. Fill in the details.
       Name of trust                                                 Description and value of the property transferred                          Date Transfer was
                                                                                                                                                made

 Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
         No
            Yes. Fill in the details.
       Name of Financial Institution and                         Last 4 digits of          Type of account or           Date account was             Last balance
       Address (Number, Street, City, State and ZIP              account number            instrument                   closed, sold,            before closing or
       Code)                                                                                                            moved, or                         transfer
                                                                                                                        transferred




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       Name of Financial Institution and                         Last 4 digits of          Type of account or           Date account was            Last balance
       Address (Number, Street, City, State and ZIP              account number            instrument                   closed, sold,           before closing or
       Code)                                                                                                            moved, or                        transfer
                                                                                                                        transferred
       Bank of America                                           XXXX-0758                    Checking                  04/04/2018                 $106,544.94
       1107 Third Avenue                                                                      Savings
       New York, NY 10065
                                                                                              Money Market
                                                                                              Brokerage
                                                                                              Other

       Sun Trust                                                 XXXX-0000                    Checking                  04/04/2018                   $15,018.41
       4899 N Federal Hwy                                                                     Savings
       Boca Raton, FL 33431
                                                                                              Money Market
                                                                                              Brokerage
                                                                                              Other

       Chase                                                     XXXX-2386                    Checking                  04/04/2018                     $3,353.82
       1100 Third Avenue                                                                      Savings
       New York, NY 10065
                                                                                              Money Market
                                                                                              Brokerage
                                                                                              Other

       Citibank, N.A.                                            XXXX-4388                    Checking                  04/04/2018                   $44,467.94
       1078 Third Avenue                                                                      Savings
       New York, NY 10065
                                                                                              Money Market
                                                                                              Brokerage
                                                                                              Other

       TD Ameritrade Clearing                                    XXXX-1905                    Checking                  04/04/2018                   $15,311.03
       P.O. Box 2226                                                                          Savings
       Omaha, NE 68103
                                                                                              Money Market
                                                                                              Brokerage
                                                                                              Other

       Iberia Bank                                               XXXX-8156                    Checking                  04/04/2018                   $14,003.49
       1180 N Federal Hwy                                                                     Savings
       Boca Raton, FL 33432
                                                                                              Money Market
                                                                                              Brokerage
                                                                                              Other

       The Westchester Bank                                      XXXX-6718                    Checking                  02/15/2018                         $20.79
       12 Water Street                                                                        Savings
       White Plains, NY 10601
                                                                                              Money Market
                                                                                              Brokerage
                                                                                              Other

       Floridian Community Bank                                  XXXX-0461                    Checking                  4/03/18                      $14,852.55
       140 N. Federal Hwy                                                                     Savings
       Boca Raton, FL 33432
                                                                                              Money Market
                                                                                              Brokerage
                                                                                              Other




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       Name of Financial Institution and                         Last 4 digits of          Type of account or           Date account was           Last balance
       Address (Number, Street, City, State and ZIP              account number            instrument                   closed, sold,          before closing or
       Code)                                                                                                            moved, or                       transfer
                                                                                                                        transferred
       Paradise Bank                                             XXXX-5922                    Checking                  4/2/18                        $9,999.04
       2420 N. Federal Hwy                                                                    Savings
       Boca Raton, FL 33431
                                                                                              Money Market
                                                                                              Brokerage
                                                                                              Other

       TD Bank                                                   XXXX-0581                    Checking                  2/02/18                   $106,790.71
       1091 Third Avenue                                                                      Savings
       New York, NY 10065
                                                                                              Money Market
                                                                                              Brokerage
                                                                                              Other

       Suma Federal Credit Union                                 XXXX-502                     Checking                  5/11/18                         $882.45
       125 Corporate Blvd.                                                                    Savings
       Yonkers, NY 10701
                                                                                              Money Market
                                                                                              Brokerage
                                                                                              Other

       Santander Bank                                            XXXX-1420                    Checking                  5/11/18                       $3,359.92
       1062 Third Ave.                                                                        Savings
       New York, NY 10065
                                                                                              Money Market
                                                                                              Brokerage
                                                                                              Other


21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

            No
            Yes. Fill in the details.
       Name of Financial Institution                                 Who else had access to it?            Describe the contents               Do you still
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City,                                            have it?
                                                                     State and ZIP Code)

       SunTrust                                                      Michael P. D'Alessio                  Empty                                  No
       4899 N Federal Hwy                                                                                                                         Yes
       Boca Raton, FL 33431

       Iberia Bank                                                   Michael P. D'Alessio                  Empty                                  No
       1180 N Federal Hwy                                                                                                                         Yes
       Boca Raton, FL 33432

       Floridian Community Bank                                      Michael P. D'Alessio                  Empty                                  No
       140 N. Federal Hwy                                                                                                                         Yes
       Boca Raton, FL 33432

       Paradise Bank                                                 Michael P. D'Alessio                  Empty                                  No
       2420 N. Federal Hwy                                                                                                                        Yes
       Boca Raton, FL 33431

       TD Bank                                                       Michael P. D'Alessio                  Empty                                  No
       1091 Third Avenue                                                                                                                          Yes
       New York, NY 10065



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22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

            No
            Yes. Fill in the details.
       Name of Storage Facility                                      Who else has or had access                 Describe the contents               Do you still
       Address (Number, Street, City, State and ZIP Code)            to it?                                                                         have it?
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)

 Part 9:      Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

            No
            Yes. Fill in the details.
       Owner's Name                                                  Where is the property?                     Describe the property                           Value
       Address (Number, Street, City, State and ZIP Code)            (Number, Street, City, State and ZIP
                                                                     Code)

 Part 10:     Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
      regulations controlling the cleanup of these substances, wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
      to own, operate, or utilize it, including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
      hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

            No
            Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you        Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

            No
            Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you        Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No
            Yes. Fill in the details.
       Case Title                                                    Court or agency                            Nature of the case                  Status of the
       Case Number                                                   Name                                                                           case
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)

 Part 11:     Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
                A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

                A member of a limited liability company (LLC) or limited liability partnership (LLP)
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                  A partner in a partnership

                  An officer, director, or managing executive of a corporation

                  An owner of at least 5% of the voting or equity securities of a corporation

             No. None of the above applies. Go to Part 12.

             Yes. Check all that apply above and fill in the details below for each business.
        Business Name                                            Describe the nature of the business             Employer Identification number
        Address                                                                                                  Do not include Social Security number or ITIN.
        (Number, Street, City, State and ZIP Code)               Name of accountant or bookkeeper
                                                                                                                 Dates business existed
        See attached.                                                                                            EIN:

                                                                                                                 From-To


28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

             No
             Yes. Fill in the details below.
        Name                                                     Date Issued
        Address
        (Number, Street, City, State and ZIP Code)

        The Westchester Bank
        12 Water Street
        White Plains, NY 10601

 Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

 /s/ Michael P. D'Alessio
 Michael P. D'Alessio                                                    Signature of Debtor 2
 Signature of Debtor 1

 Date      May 30, 2018                                                  Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
   No
   Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
   No
   Yes. Name of Person                  . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




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                                                                                       Nature Of
             Name of Entity                     Business Address                       Business               Accountant                  Tax ID              Dates Existed
                                            12 Water Street, Suite 204
1   3100 Tremont Associates Inc             White Plains, NY 10601                  Real Estate           Anthony Capeci               XX-XXXXXXX           Feb-00     Current
                                            12 Water Street, Suite 204
2   3200 Tremont Associates Inc             White Plains, NY 10601                  Real Estate           Anthony Capeci               XX-XXXXXXX           Apr-98   12/18/2017
                                            12 Water Street, Suite 204
3   3219 Tremont Corp.                      White Plains, NY 10601                  Real Estate           Anthony Capeci               XX-XXXXXXX           May-94     Current
                                            12 Water Street, Suite 204
4   3600 Tremont Associates Inc             White Plains, NY 10601                  Real Estate           Anthony Capeci               XX-XXXXXXX           Jan-98   12/18/2017
                                            12 Water Street, Suite 204
5   3700 Tremont Associates Inc             White Plains, NY 10601                  Real Estate           Anthony Capeci               XX-XXXXXXX           Mar-99     Current
                                            12 Water Street, Suite 204
6   Raymond Peters Holding Corp.            White Plains, NY 10601                  Real Estate           Anthony Capeci               XX-XXXXXXX           Dec-00     Current
                                            12 Water Street, Suite 204
7   Ski Ya Later Inc                        White Plains, NY 10601                                        Anthony Capeci               XX-XXXXXXX           Jul-16     Current
                                            12 Water Street, Suite 204
6   3 Sandpiper Court Holding LLC           White Plains, NY 10601                  Real Estate           Anthony Capeci               XX-XXXXXXX           Jun-16     Current
                                            12 Water Street, Suite 204
7   3 Sandpiper Court LLC                   White Plains, NY 10601                  Real Estate           Anthony Capeci               XX-XXXXXXX           Mar-16     Current

                                       12 Water Street, Suite 204
8   5D Freestyle Circle Associates LLC White Plains, NY 10601     Real Estate                             Anthony Capeci               XX-XXXXXXX           Jun-17     Current
                                       12 Water Street, Suite 204
9   15 Circle Road - MBI LLC           White Plains, NY 10601     Real Estate                             Anthony Capeci               XX-XXXXXXX           Mar-18     Current

                                            12 Water Street, Suite 204
10 15-17 Circle Holding LLC                 White Plains, NY 10601     Real Estate                        Anthony Capeci               XX-XXXXXXX           Mar-18     Current

                                            12 Water Street, Suite 204
11 17 Circle Road - MBI LLC                 White Plains, NY 10601     Real Estate                        Anthony Capeci               XX-XXXXXXX           Mar-18     Current



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                                     12 Water Street, Suite 204
                                     White Plains, NY 10601
12 28 Middle Pond Road Associates, LLC                          Real Estate                              Anthony Capeci               XX-XXXXXXX           Aug-14   Current

                                    12 Water Street, Suite 204
13 28 Middle Pond Road Holding, LLC White Plains, NY 10601     Real Estate                               Anthony Capeci               XX-XXXXXXX           Aug-14   Current

                                     12 Water Street, Suite 204
                                     White Plains, NY 10601
14 39 Middle Pond Road Associates, LLC                          Real Estate                              Anthony Capeci               XX-XXXXXXX           Aug-14   Current

                                    12 Water Street, Suite 204
15 39 Middle Pond Road Holding, LLC White Plains, NY 10601     Real Estate                               Anthony Capeci               XX-XXXXXXX           Aug-14   Current

                                      12 Water Street, Suite 204
16 39-43 Middle Pond Road Associates, White
                                      LLC Plains, NY 10601       Real Estate                             Anthony Capeci               XX-XXXXXXX           Sep-17   Current

                                    12 Water Street, Suite 204
                                    White Plains, NY 10601
17 39-43 Middle Pond Road Holding, LLC                         Real Estate                               Anthony Capeci               XX-XXXXXXX           Sep-17   Current

                                     12 Water Street, Suite 204
                                     White Plains, NY 10601
18 41 Middle Pond Road Associates, LLC                          Real Estate                              Anthony Capeci               XX-XXXXXXX           Apr-17   Current

                                    12 Water Street, Suite 204
                                    White Plains, NY 10601
19 41-43 Middle Pond Road Holding LLC                          Real Estate                               Anthony Capeci               XX-XXXXXXX           Sep-17   Current

                                           12 Water Street, Suite 204
20 41-45 MPR Associates LLC                White Plains, NY 10601     Real Estate                        Anthony Capeci               XX-XXXXXXX           Sep-17   Current

                                           12 Water Street, Suite 204
21 41-45 MPR Holding LLC                   White Plains, NY 10601     Real Estate                        Anthony Capeci               XX-XXXXXXX           Sep-17   Current

                                     12 Water Street, Suite 204
22 43 Middle Pond Road Associates LLCWhite Plains, NY 10601     Real Estate                              Anthony Capeci               XX-XXXXXXX           Sep-16   Current



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                                   12 Water Street, Suite 204
23 43 Middle Pond Road Holding LLC White Plains, NY 10601     Real Estate                                 Anthony Capeci               XX-XXXXXXX           Nov-16   Current

                                     12 Water Street, Suite 204
24 45 Middle Pond Road Associates LLCWhite Plains, NY 10601     Real Estate                               Anthony Capeci               XX-XXXXXXX           May-17   Current

                                            12 Water Street, Suite 204
25 69 Little Neck Road Holding LLC          White Plains, NY 10601     Real Estate                        Anthony Capeci               XX-XXXXXXX           Jun-16   Current

                                            12 Water Street, Suite 204
26 69 Little Neck Road LLC                  White Plains, NY 10601     Real Estate                        Anthony Capeci               XX-XXXXXXX           May-16   Current

                                       12 Water Street, Suite 204
                                       White Plains, NY 10601
27 145-147 East 62nd Street Associates LLC                        Real Estate                             Daniel Rifkin                XX-XXXXXXX           Jun-16   Current

                                      12 Water Street, Suite 204
                                      White Plains, NY 10601
28 145-147 East 62nd Street Holding LLC                          Real Estate                              Daniel Rifkin                XX-XXXXXXX           Jun-16   Current

                                        12 Water Street, Suite 204
29 161 - 167 East 62nd Street AssociatesWhite
                                         LLC Plains, NY 10601      Real Estate                            Anthony Capeci               XX-XXXXXXX           Jul-15   Current

                                       12 Water Street, Suite 204
                                       White Plains, NY 10601
30 161 - 167 East 62nd Street Holding LLC                         Real Estate                             Anthony Capeci               XX-XXXXXXX           Jul-15   Current

                                        12 Water Street, Suite 204
31 163 - 165 East 62nd Street AssociatesWhite
                                         LLC Plains, NY 10601      Real Estate                            Anthony Capeci               XX-XXXXXXX           May-15   Current

                                       12 Water Street, Suite 204
                                       White Plains, NY 10601
32 163 - 165 East 62nd Street Holding LLC                         Real Estate                             Anthony Capeci               XX-XXXXXXX           May-15   Current

                                       12 Water Street, Suite 204
33 167 East 62nd Street Associates LLC White Plains, NY 10601     Real Estate                             Anthony Capeci               XX-XXXXXXX           Dec-16   Current



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                                       12 Water Street, Suite 204
34 184 East 64th Street Associates LLC White Plains, NY 10601     Real Estate                             Anthony Capeci               XX-XXXXXXX           Apr-15   Current

                                            12 Water Street, Suite 204
35 184 East 64th Street Holding LLC         White Plains, NY 10601     Real Estate                        Anthony Capeci               XX-XXXXXXX           Apr-15   Current

                                      12 Water Street, Suite 204
36 225 East 81 Street Associates, LLC White Plains, NY 10601     Real Estate                              Anthony Capeci               XX-XXXXXXX           Apr-13   Current

                                            12 Water Street, Suite 204
37 227 E 67PH LLC                           White Plains, NY 10601     Real Estate                        Anthony Capeci               XX-XXXXXXX           Nov-16   Current

                                            12 Water Street, Suite 204
38 227 E 67th Street Associates, LLC        White Plains, NY 10601     Real Estate                        Anthony Capeci               XX-XXXXXXX           Jul-14   Current

                                            12 Water Street, Suite 204
39 227 E 67th Street Holding, LLC           White Plains, NY 10601     Real Estate                        Anthony Capeci               XX-XXXXXXX           Jul-14   Current

                                            12 Water Street, Suite 204
40 230 E 63rd Associates LLC                White Plains, NY 10601     Real Estate                        Anthony Capeci               XX-XXXXXXX           Mar-12   Current

                                            12 Water Street, Suite 204
41 323 East 53rd Associates, LLC            White Plains, NY 10601     Real Estate                        Anthony Capeci               XX-XXXXXXX           Jan-15   Current

                                            12 Water Street, Suite 204
42 323 East 53rd Holding, LLC               White Plains, NY 10601     Real Estate                        Anthony Capeci               XX-XXXXXXX           Jan-15   Current

                                            12 Water Street, Suite 204
43 554 E 82nd Associates LLC                White Plains, NY 10601     Real Estate                        Anthony Capeci               XX-XXXXXXX           Sep-12   Current

                                            12 Water Street, Suite 204
44 937 Post Road Associates LLC             White Plains, NY 10601     Real Estate                        Anthony Capeci               XX-XXXXXXX           Feb-17   Current



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                                           12 Water Street, Suite 204
45 937 Post Road Holding LLC               White Plains, NY 10601     Real Estate                        Anthony Capeci               XX-XXXXXXX           Feb-17   Current

                                     12 Water Street, Suite 204
46 2299 W Silver Palm Associates, LLCWhite Plains, NY 10601     Real Estate                              Anthony Capeci               XX-XXXXXXX           Mar-15   Current

                                   12 Water Street, Suite 204
47 2299 W Silver Palm Holding, LLC White Plains, NY 10601     Real Estate                                Anthony Capeci               XX-XXXXXXX           Mar-15   Current

                                   12 Water Street, Suite 204
48 2627 Webster Ave Associates LLC White Plains, NY 10601     Real Estate                                Anthony Capeci               XX-XXXXXXX           May-17   Current

                                           12 Water Street, Suite 204
49 2627 Webster Ave Holdings LLC           White Plains, NY 10601     Real Estate                        Anthony Capeci               XX-XXXXXXX           May-17   Current

                                   12 Water Street, Suite 204
50 2667 N Ocean Boulevard I201 LLC White Plains, NY 10601     Real Estate                                Anthony Capeci               XX-XXXXXXX           Jan-17   Current

                                   12 Water Street, Suite 204
51 2667 N Ocean Boulevard I203 LLC White Plains, NY 10601     Real Estate                                Anthony Capeci               XX-XXXXXXX           Jun-16   Current

                                   12 Water Street, Suite 204
52 2667 N Ocean Boulevard I208 LLC White Plains, NY 10601     Real Estate                                Anthony Capeci               XX-XXXXXXX           Jun-16   Current

                                   12 Water Street, Suite 204
53 2701 N Ocean Boulevard E605 LLC White Plains, NY 10601     Real Estate                                Anthony Capeci               XX-XXXXXXX           Feb-16   Current

                                   12 Water Street, Suite 204
54 2707 N Ocean Boulevard D405 LLC White Plains, NY 10601     Real Estate                                Anthony Capeci               XX-XXXXXXX           Feb-16   Current

                                           12 Water Street, Suite 204
55 2800 Bruckner Associates LLC            White Plains, NY 10601     Real Estate                        Anthony Capeci               XX-XXXXXXX           Jul-17   Current



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                                           12 Water Street, Suite 204
56 2800 Bruckner Holding LLC               White Plains, NY 10601     Real Estate                        Anthony Capeci               XX-XXXXXXX           Jul-17    Current

                                     12 Water Street, Suite 204
57 3225 East Tremont Associates, LLC White Plains, NY 10601     Real Estate                              Anthony Capeci               XX-XXXXXXX           Jan-15    Current

                                           12 Water Street, Suite 204
58 3225 East Tremont Holding, LLC          White Plains, NY 10601     Real Estate                        Anthony Capeci               XX-XXXXXXX           Mar-15    Current

                                           12 Water Street, Suite 204
59 4300 Purchase Associates LLC            White Plains, NY 10601     Real Estate                        Anthony Capeci               XX-XXXXXXX           Sep-17    Current

                                           12 Water Street, Suite 204
60 3800 Tremont Assocaites LLC             White Plains, NY 10601     Real Estate                        Anthony Capeci               XX-XXXXXXX           Oct-16    Current

                                           12 Water Street, Suite 204
61 A & G Realty Consultants, LLC           White Plains, NY 10601     Real Estate                        Anthony Capeci               XX-XXXXXXX           Mar-15    Current

                                           12 Water Street, Suite 204
62 American Dream Realty, LLC              White Plains, NY 10601     Real Estate Company
                                                                                     Anthony Capeci                                   XX-XXXXXXX           Jan-00   1/15/2018

                                           12 Water Street, Suite 204
63 Aspen Management Group, LLC             White Plains, NY 10601     Property Management
                                                                                    Anthony Capeci                                    XX-XXXXXXX           Nov-06   1/15/2018

                                           12 Water Street, Suite 204
64 Beechwood 5 Associates LLC              White Plains, NY 10601     Real Estate                        Anthony Capeci               XX-XXXXXXX           Oct-16    Current

                                           12 Water Street, Suite 204
65 Bella Condo 830 LLC                     White Plains, NY 10601     Real Estate                        Anthony Capeci               XX-XXXXXXX           Mar-17    Current

                                           12 Water Street, Suite 204
66 Blue Lilly 4 LLC                        White Plains, NY 10601     Real Estate                        Anthony Capeci               XX-XXXXXXX           Mar-17    Current



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                                           12 Water Street, Suite 204
67 Blue Maize 44 LLC                       White Plains, NY 10601     Real Estate                        Anthony Capeci               XX-XXXXXXX           Mar-17   Current

                                           12 Water Street, Suite 204
68 Bluestone 28 Middle Pond , LLC          White Plains, NY 10601     Real Estate                        Anthony Capeci               XX-XXXXXXX           Mar-15   Current

                                           12 Water Street, Suite 204
69 Bluestone 41-45 LLC                     White Plains, NY 10601     Real Estate                        Anthony Capeci               XX-XXXXXXX           Sep-17   Current

                                           12 Water Street, Suite 204
70 Bluestone 53, LLC                       White Plains, NY 10601     Real Estate                        Anthony Capeci               XX-XXXXXXX           Jan-15   Current

                                           12 Water Street, Suite 204
71 Bluestone 54 LLC                        White Plains, NY 10601     Real Estate                        Anthony Capeci               XX-XXXXXXX           Sep-14   Current

                                           12 Water Street, Suite 204
72 Bluestone 59 LLC                        White Plains, NY 10601     Real Estate                        Anthony Capeci               XX-XXXXXXX           Sep-14   Current

                                           12 Water Street, Suite 204
73 Bluestone 67 LLC                        White Plains, NY 10601     Real Estate                        Anthony Capeci               XX-XXXXXXX           Sep-14   Current

                                           12 Water Street, Suite 204
74 Bluestone 145 E 62 LLC                  White Plains, NY 10601     Real Estate                        Anthony Capeci               XX-XXXXXXX           Nov-17   Current

                                           12 Water Street, Suite 204
75 Bluestone 145-147 LLC                   White Plains, NY 10601     Real Estate                        Anthony Capeci               812988784            Jun-16   Current

                                           12 Water Street, Suite 204
76 Bluestone 161 -167 LLC                  White Plains, NY 10601     Real Estate                        Anthony Capeci               XX-XXXXXXX           Jul-15   Current

                                           12 Water Street, Suite 204
77 Bluestone 163 - 165 LLC                 White Plains, NY 10601     Real Estate                        Anthony Capeci               XX-XXXXXXX           May-15   Current



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                                             12 Water Street, Suite 204
78 Bluestone 184 LLC                         White Plains, NY 10601     Real Estate                        Anthony Capeci               XX-XXXXXXX           Apr-15   Current

                                             12 Water Street, Suite 204
79 Bluestone 3225, LLC                       White Plains, NY 10601     Real Estate                        Anthony Capeci               XX-XXXXXXX           May-18   Current

                                             12 Water Street, Suite 204
80 Bluestone Boca, LLC                       White Plains, NY 10601     Real Estate                        Anthony Capeci               XX-XXXXXXX           Mar-18   Current

                                             12 Water Street, Suite 204
81 Bluestone Capital LLC                     White Plains, NY 10601     Real Estate                        Anthony Capeci               XX-XXXXXXX           Apr-13   Current

                                             12 Water Street, Suite 204
82 Bluestone Equity Partners LLC             White Plains, NY 10601     Real Estate                        Anthony Capeci               XX-XXXXXXX           Jun-16   Current

                                             12 Water Street, Suite 204
83 Bluestone Little Neck LLC                 White Plains, NY 10601     Real Estate                        Anthony Capeci               XX-XXXXXXX           Apr-18   Current

                                             12 Water Street, Suite 204
84 Bluestone LRF LLC                         White Plains, NY 10601     Real Estate                        Anthony Capeci               XX-XXXXXXX           Apr-18   Current

                                             12 Water Street, Suite 204
85 Bluestone Sandpiper LLC                   White Plains, NY 10601     Real Estate                        Anthony Capeci               XX-XXXXXXX           Jun-16   Current

                                             12 Water Street, Suite 204
86 Boulevard MBI Associates LLC              White Plains, NY 10601     Real Estate                        Anthony Capeci               XX-XXXXXXX           Apr-18   Current

                                             12 Water Street, Suite 204
87 Bruckner East LLC                         White Plains, NY 10601     Real Estate                        Anthony Capeci               XX-XXXXXXX           May-03   Current

                                             12 Water Street, Suite 204
88 Bruckner Transport LLC                    White Plains, NY 10601     .                                  Anthony Capeci               XX-XXXXXXX           Aug-17   Current



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                                             12 Water Street, Suite 204
89 CMF Associates LLC                        White Plains, NY 10601     Real Estate                        Anthony Capeci               XX-XXXXXXX           Jul-17   Current

                                             12 Water Street, Suite 204
90 D'Alessio Enterprises LLC                 White Plains, NY 10601     General Contracting
                                                                                       Anthony Capeci                                   XX-XXXXXXX           Jul-99   Current

                                             12 Water Street, Suite 204
91 FCP 145 Holding LLC                       White Plains, NY 10601     Real Estate                        Daniel Rifkin                XX-XXXXXXX           Jul-18   Current

                                             12 Water Street, Suite 204
92 Grand Post Associates LLC                 White Plains, NY 10601     Real Estate                        Anthony Capeci               XX-XXXXXXX           May-18   Current

                                             12 Water Street, Suite 204
93 Halsey South Asociates, LLC               White Plains, NY 10601     Real Estate                        Anthony Capeci               XX-XXXXXXX           Mar-18   Current

                                             12 Water Street, Suite 204
94 Katsura Consulting Group LLC              White Plains, NY 10601     Real Estate                        Anthony Capeci               XX-XXXXXXX           Jul-15   Current

                                             12 Water Street, Suite 204
95 Lee Post Associates LLC                   White Plains, NY 10601     Real Estate                        Anthony Capeci               XX-XXXXXXX           May-17   Current

                                             12 Water Street, Suite 204
96 Lee Rd MBI Associates LLC                 White Plains, NY 10601     Real Estate                        Anthony Capeci               XX-XXXXXXX           Apr-18   Current

                                             12 Water Street, Suite 204
97 Little Rest Farm LLC                      White Plains, NY 10601     Real Estate                        Anthony Capeci               XX-XXXXXXX           Apr-18   Current

                                             12 Water Street, Suite 204
98 LRF Holding, LLC                          White Plains, NY 10601     Real Estate                        Anthony Capeci               XX-XXXXXXX           Apr-18   Current

                                             12 Water Street, Suite 204
99 LRF Services LLC                          White Plains, NY 10601     Real Estate                        Anthony Capeci               XX-XXXXXXX           Apr-18   Current



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                                             12 Water Street, Suite 204
100 Magnolia Consulting, LLC                 White Plains, NY 10601     Real Estate                        Anthony Capeci               XX-XXXXXXX           Mar-14   5/5/2017

                                             12 Water Street, Suite 204
101 MBI Partners LLC                         White Plains, NY 10601     Real Estate                        Anthony Capeci               XX-XXXXXXX           Feb-17   Current

                                             12 Water Street, Suite 204
102 Meeting House Associates, LLC            White Plains, NY 10601     Real Estate                        Anthony Capeci               XX-XXXXXXX           Jan-18   Current

                                             12 Water Street, Suite 204
103 Meeting House Holdings, LLC              White Plains, NY 10601     Real Estate                        Anthony Capeci               XX-XXXXXXX           Mar-18   Current

                                             12 Water Street, Suite 204
104 Michael Paul Enterprises, LLC            White Plains, NY 10601     General Contracting
                                                                                       Anthony Capeci                                   XX-XXXXXXX           Nov-06   Current

                                             12 Water Street, Suite 204
105 Office Suites NYC, LLC                   White Plains, NY 10601     Real Estate                        Anthony Capeci               XX-XXXXXXX           Jun-18   Current

                                             12 Water Street, Suite 204
106 Purchase Capital Partners LLC            White Plains, NY 10601     Real Estate                        Anthony Capeci               XX-XXXXXXX           Feb-17   Current

                                             12 Water Street, Suite 204
107 RDR Park Drive LLC                       White Plains, NY 10601     Real Estate                        Anthony Capeci               XX-XXXXXXX           Jan-18   Current

                                             12 Water Street, Suite 204
108 RMD Racing Stable LLC                    White Plains, NY 10601     Real Estate                        Anthony Capeci               XX-XXXXXXX           Jun-18   Current

                                             12 Water Street, Suite 204
109 Rose Hill Holding,, LLC                  White Plains, NY 10601     Real Estate                        Anthony Capeci               XX-XXXXXXX           May-18   Current

                                             12 Water Street, Suite 204
110 Saturn Equity Partners LLC               White Plains, NY 10601     Real Estate                        Anthony Capeci               XX-XXXXXXX           Jun-18   Current



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                                             12 Water Street, Suite 204
111 Schurz Avenue Development LLC            White Plains, NY 10601     Real Estate                        Anthony Capeci               XX-XXXXXXX           May-03   3/27/18

                                             12 Water Street, Suite 204
112 Schurz 9, LLC                            White Plains, NY 10601     Real Estate                        Anthony Capeci               XX-XXXXXXX                    3/27/18

                                             12 Water Street, Suite 204
113 Scott Consultants LLC                    White Plains, NY 10601     Real Estate                        Anthony Capeci               XX-XXXXXXX           Sep-16   Current

                                             12 Water Street, Suite 204
114 Sky Meadow Farm LLC                      White Plains, NY 10601     Real Estate                        Anthony Capeci               XX-XXXXXXX           Oct-18   Current

                                             12 Water Street, Suite 204
115 The Water Mill Club, LLC                 White Plains, NY 10601     Real Estate                        Anthony Capeci               XX-XXXXXXX           Sep-18   Current




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 Fill in this information to identify your case:

 Debtor 1                 Michael P. D'Alessio
                          First Name                        Middle Name              Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name              Last Name


 United States Bankruptcy Court for the:              SOUTHERN DISTRICT OF NEW YORK

 Case number           18-22552
 (if known)                                                                                                                       Check if this is an
                                                                                                                                  amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                     12/15


If you are an individual filing under chapter 7, you must fill out this form if:
    creditors have claims secured by your property, or
  you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
        on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
         sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
        write your name and case number (if known).

 Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral  What do you intend to do with the property that    Did you claim the property
                                                               secures a debt?                                    as exempt on Schedule C?



    Creditor's         Throgs Neck Debt LLC                                 Surrender the property.                              No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a                 Yes
    Description of       Stock certificates for 3100                        Reaffirmation Agreement.
    property             Tremont Associates & 3219                          Retain the property and [explain]:
    securing debt:       Tremont Corp.

 Part 2:   List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 Describe your unexpired personal property leases                                                                       Will the lease be assumed?

 Lessor's name:                                                                                                            No
 Description of leased
 Property:                                                                                                                 Yes

 Lessor's name:                                                                                                            No
 Description of leased
 Property:                                                                                                                 Yes

 Lessor's name:

Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                   page 1

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 Debtor 1      Michael P. D'Alessio                                                                  Case number (if known)   18-22552

 Description of leased                                                                                                         No
 Property:
                                                                                                                               Yes

 Lessor's name:                                                                                                                No
 Description of leased
 Property:                                                                                                                     Yes

 Lessor's name:                                                                                                                No
 Description of leased
 Property:                                                                                                                     Yes

 Lessor's name:                                                                                                                No
 Description of leased
 Property:                                                                                                                     Yes

 Lessor's name:                                                                                                                No
 Description of leased
 Property:                                                                                                                     Yes

 Part 3:      Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

 X     /s/ Michael P. D'Alessio                                                     X
       Michael P. D'Alessio                                                             Signature of Debtor 2
       Signature of Debtor 1

       Date        May 30, 2018                                                     Date




Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                               page 2

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B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                     Southern District of New York
 In re       Michael P. D'Alessio                                                                             Case No.      18-22552
                                                                                  Debtor(s)                   Chapter       7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                125,000.00
             Prior to the filing of this statement I have received                                        $                125,000.00
             Balance Due                                                                                  $                       0.00

2.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):

3.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   Representation of the debtor in adversary proceedings and other contested bankruptcy matters;
       e.   [Other provisions as needed]


6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               N/A
                                                                           CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     May 30, 2018                                                                /s/ Sanford P. Rosen
     Date                                                                        Sanford P. Rosen (SR-4966)
                                                                                 Signature of Attorney
                                                                                 Rosen & Associates, P.C.
                                                                                 747 Third Avenue
                                                                                 Floor 20
                                                                                 New York, NY 10017-2803
                                                                                 (212) 223-1100 Fax: (212) 223-1102
                                                                                 srosen@rosenpc.com
                                                                                 Name of law firm




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                                                               United States Bankruptcy Court
                                                                     Southern District of New York
 In re      Michael P. D'Alessio                                                                     Case No.    18-22552
                                                                                   Debtor(s)         Chapter     7




                                               VERIFICATION OF CREDITOR MATRIX


The above-named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.



 Date: May 30, 2018                                                     /s/ Michael P. D'Alessio
                                                                        Michael P. D'Alessio
                                                                        Signature of Debtor




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